     Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 1 of 126 Page ID #:1




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      Fax: (714) 242-9529
 7
 8    Attorneys for Defendant AMCO Insurance Company

 9                          UNITED STATES DISTRICT COURT
10
                          CENTRAL DISTRICT OF CALIFORNIA
11
12    PETER KIM, an individual; and               Case No.:
      HELEN KIM, an individual,
13                                                [Lower Court Case No.: 19STCV12211,
14                        Plaintiffs,             Superior Court for the County of Los
                                                  Angeles]
15    vs.
16                                                AMCO INSURANCE COMPANY’S
      AMCO INSURANCE COMPANY; an                  NOTICE OF REMOVAL AND
17    Iowa corporation; and DOES 1 through        DEMAND FOR JURY TRIAL
18    50, inclusive,
                                                  [28 U.S.C. §1441(b)]
19                        Defendants.             [DIVERSITY 28 U.S.C. §1332]
20
21    TO THE CLERK OF THE UNITED STATES DISTRICT COURT FOR THE
22    CENTRAL DISTRICT OF CALIFORNIA:
23          Defendant AMCO Insurance Company (“AMCO”) hereby gives notice of the
24    removal of this action to the United States District Court for the Central District of
25    California pursuant to 28 U.S.C. §§ 1332, 1441 and 1446. In support, AMCO states
26    as follows:
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                     AMCO INSURANCE COMPANY’S NOTICE OF REMOVAL
     Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 2 of 126 Page ID #:2




 1                                       INTRODUCTION
 2          1.      This action is a civil action on which this Court has original jurisdiction
 3    under 28 U.S.C. § 1332, and is one that AMCO may remove to this Court pursuant
 4    to the provisions of 28 U.S.C. § 1441(b) in that it is a civil action between citizens
 5    of different states and the matter in controversy exceeds the sum of $75,000,
 6    exclusive of interest and costs.
 7          2.      Plaintiffs Peter Kim and Helen Kim (“Plaintiffs”) filed a Complaint in
 8    this action on April 8, 2019 in the Superior Court of the State of California for the
 9    County of Los Angeles entitled Kim et al. v. AMCO Ins. Co., Case No.
10    19STCV12211 (the “State Court Action”).
11          3.      On April 11, 2019, Plaintiffs personally served AMCO’s registered
12    agent for service of process, Corporation Service Company (“CSC”), with a copy of
13    their Complaint and a Summons from the State Court Action.
14          4.      A copy of CSC’s Service of Process Transmittal reflecting the date that
15    the original complaint was served on AMCO is attached hereto as Exhibit A.
16          5.      Copies of the Summons and Complaint from the State Court Action
17    that Plaintiffs served AMCO with on April 11th are attached hereto as Exhibit B.
18          6.      On May 2, 2019, AMCO filed an Answer in the Superior Court in
19    response to Plaintiffs’ Complaint. A copy of the Answer is attached hereto as
20    Exhibit C.
21                              DIVERSITY OF CITIZENSHIP
22          7.      Complete diversity of citizenship exists among all Plaintiffs and all
23    Defendants.
24          8.      Plaintiffs specifically allege they are residents of Los Angeles County,
25    California. (See Exhibit B, Complaint, ¶ 1.) A party’s residence is “prima facie”
26    evidence of domicile. State Farm Mut. Auto. Ins. Co. v. Dyer, 19 F.3d 514, 520
27    (10th Cir. 1994). Accordingly, Plaintiffs’ own allegations establish they were, at all
28    material times, citizens of California.
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                      AMCO INSURANCE COMPANY’S NOTICE OF REMOVAL
     Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 3 of 126 Page ID #:3




 1          9.     AMCO is, and was when this action was filed, an Iowa insurance
 2    company incorporated, organized and existing under the laws of the State of Iowa.
 3    (See Exhibit B, Complaint, ¶ 3.) AMCO’s corporate headquarters and principal
 4    office is located at 1100 Locust Street in Des Moines, Iowa. All of AMCO’s
 5    directors are located in the State of Ohio. AMCO’s officers direct, control, and
 6    coordinate the corporation’s activities both from Ohio and Iowa. As a result,
 7    AMCO is a citizen of both Ohio and Iowa.
 8          10.    DOES 1 through 50 in the Complaint are named and sued fictitiously,
 9    and their citizenship should be disregarded as a matter of law for purposes of
10    removal on grounds of diversity jurisdiction under 28 U.S.C. §§ 1332 and 1441(a),
11    the latter of which provides that “citizenship of defendants sued under fictitious
12    names should be disregarded.” See also Bryant v. Ford Motor Co., 886 F2d 1526,
13    1528 (9th Cir. 1989).
14          11.    Accordingly, AMCO is informed and believes that complete diversity
15    of citizenship with Plaintiffs existed at the time Plaintiffs filed and served it with the
16    Summons and Complaint in the State Court Action, and exists at the present time.
17                              AMOUNT IN CONTROVERSY
18    A.    The Timing for Diversity Removal.
19          12.    Federal Diversity Jurisdiction exists only where the matter in
20    controversy exceeds the sum or value of $75,000, exclusive of interest and costs. 28
21    U.S.C. § 1332(a).
22          13.    A defendant generally must file a notice of removal within 30 days
23    after receipt of the first pleading in a state court action that sets forth a removable
24    claim. 28 U.S.C. § 1446(b)(1).
25    B.    Summary of Plaintiffs’ Allegations.
26          14.    This case stems from a lawsuit that was filed against Plaintiffs by two
27    people who purchased a home from them in 2017.
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                     AMCO INSURANCE COMPANY’S NOTICE OF REMOVAL
     Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 4 of 126 Page ID #:4




 1           15.   In September 2015, Plaintiffs purchased a home located at 1925
 2    Lombardy Drive in La Canada Flintridge (referred to herein as “the Property”).
 3    (See Exhibit B, Complaint, ¶ 8.)
 4           16.   After purchasing the Property, Plaintiffs purchased homeowners
 5    insurance for it from AMCO. (See Exhibit B, Complaint, ¶¶ 13-14.)
 6           17.   In November 2017, Plaintiffs sold the Property to Alan Jackson and
 7    Lisa Kassabian (referred to herein as “the Jacksons”). (See Exhibit B, Complaint, ¶
 8    12.)
 9           18.   In April 2018, the Jacksons made a claim against Plaintiffs, asserting
10    that they had sustained substantial damage to the Property for which Plaintiffs were
11    liable. (See Exhibit B, Complaint, ¶ 17.)
12           19.   In July 2018, the Jacksons filed suit against Plaintiffs in Los Angeles
13    County Superior Court asserting a cause of action for negligence (referred to herein
14    as “the Liability Claim.” (See Exhibit B, Complaint, ¶ 20.)
15           20.   Plaintiffs tendered the Liability Claim to AMCO for indemnity and
16    requested a defense. (See Exhibit B, Complaint, ¶ 23.)
17           21.   In September 2018, AMCO denied coverage for the Liability Claim,
18    including a defense. (See Exhibit B, Complaint, ¶ 25.)
19           22.   In February 2019, Plaintiffs participated in a mediation with the
20    Jacksons and settled the Liability Claim for the sum of $95,000. (See Exhibit B,
21    Complaint, ¶¶ 21-22.)
22           23.   In this action, Plaintiffs allege that AMCO wrongfully denied both a
23    defense and coverage for the Liability Action. (See Exhibit B, Complaint, ¶ 25.)
24           24.   Plaintiffs allege that as a result of AMCO’s denial of coverage they
25    were “forced to”: (A) incur defense fees and costs to defend the Liability Action;
26    and (B) settle the Liability Action for the sum of $95,000. (See Exhibit B,
27    Complaint, ¶¶ 29-30.)
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                     AMCO INSURANCE COMPANY’S NOTICE OF REMOVAL
     Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 5 of 126 Page ID #:5




 1          25.    Plaintiffs also allege that as a result of AMCO’s coverage denial they
 2    have endured substantial stress and have been “forced to retain counsel to obtain the
 3    insurance benefits to which [they] were and remain entitled.” (See Exhibit B,
 4    Complaint, ¶ 32.)
 5          26.    Plaintiffs’ Complaint pleads causes of action against AMCO for breach
 6    of contract, breach of the implied covenant of good faith and fair dealing based upon
 7    breach of the duty to defend, and breach of the implied covenant of good faith and
 8    fair dealing based upon breach of the duty to settle. (See Exhibit B, Complaint, ¶¶
 9    33-51.)
10          27.    Plaintiffs seek compensatory damages, attorneys’ fees incurred to
11    obtain the insurance benefits to which they claim they are entitled, punitive
12    damages, and the costs of suit. (See Exhibit B, Complaint, Prayer.)
13    C.    The Requisite Amount in Controversy is Satisfied.
14          28.    The amount in controversy, for purposes of diversity jurisdiction, is the
15    total “amount at stake in the underlying litigation.” Theis Research, Inc. v. Brown
16    & Bain, 400 F.3d 659, 662 (9th Cir. 2005). “[A] defendant’s notice of removal need
17    include only a plausible allegation that the amount in controversy exceeds the
18    jurisdictional threshold.” Dart Cherokee Basin Operating Co. v. Owens, --- U.S. ---,
19    ---, 135 S.Ct. 547, 554 (2014).
20          29.    The allegations set forth above in Paragraph 24 demonstrate that the
21    amount in controversy in this suit exceeds the sum or value of $75,000. Plaintiffs
22    are seeking recovery of the $95,000 that they claim to have paid to settle the
23    Liability Claim.
24    D.    Defendant’s Notice of Removal is Timely.
25          30.    In light of the fact that Plaintiffs’ didn’t serve AMCO with any papers
26    in this action until April 11, 2019, this Notice of Removal is timely.
27
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                     AMCO INSURANCE COMPANY’S NOTICE OF REMOVAL
     Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 6 of 126 Page ID #:6




 1                                      CONCLUSION
 2          31.    On this date AMCO will serve a true and correct copy of this Notice of
 3    Removal on Plaintiffs’ counsel, and will file a copy of such Notice with the Clerk of
 4    the Superior Court of California for the County of Los Angeles.
 5          32.    In addition, AMCO will also file a Notice of Stay of Proceedings on
 6    this date with the Clerk of the Superior Court of California for the County of Los
 7    Angeles, as a result of this Notice of Removal. A true and correct copy of the
 8    Notice of Stay of Proceedings is attached hereto as Exhibit D.
 9          33.    Based on the foregoing, AMCO removes the above action now pending
10    in the Superior Court for the State of California, in and for the County of Los
11    Angeles as Case No. 19STCV12211, to the United States District Court for the
12    Central District of California. Defendant demands a trial by jury.
13
14
      Dated: May 3, 2019                     HINES HAMPTON LLP
15
16                                    By:    /s/ Brian Pelanda
                                             Marc S. Hines
17                                           Brian Pelanda
18                                           Attorneys for Defendant
                                             AMCO INSURANCE COMPANY
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                     AMCO INSURANCE COMPANY’S NOTICE OF REMOVAL
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 7 of 126 Page ID #:7




               EXHIBIT A
      Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 8 of 126 Page ID #:8




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                                                                                                     Transmittal Number: 19640343
Notice of Service of Process                                                                            Date Processed: 04/12/2019

Primary Contact:           SOP Team nwsop@nationwide.com
                           Nationwide Mutual Insurance Company
                           Three Nationwide Plaza
                           Columbus, OH 43215

Electronic copy provided to:                   Ashley Roberts

Entity:                                       AMCO Insurance Company
                                              Entity ID Number 0115190
Entity Served:                                Amco Insurance Company
Title of Action:                              Peter Kim, Helen Kim vs. Amco Insurance Company
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Contract
Court/Agency:                                 Los Angeles County Superior Court, CA
Case/Reference No:                            19STCV12211
Jurisdiction Served:                          California
Date Served on CSC:                           04/11/2019
Answer or Appearance Due:                     30 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           George Chuang
                                              310-414-8888

Information contained on this transmittal form is for record keeping, notification and forwarding the attached document(s). It does not
constitute a legal opinion. The recipient is responsible for interpreting the documents and taking appropriate action.

                                   To avoid potential delay, please do not send your response to CSC
                    251 Little Falls Drive, Wilmington, Delaware 19808-1674 (888) 690-2882 | sop@cscglobal.com




                                                              Exhibit A
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 9 of 126 Page ID #:9




              EXHIBIT B
           Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 10 of 126 Page ID #:10



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                                                 :·. {CITACION JUDICIAL)
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          (AV/SO AL DEMANDADO):
           AMCO INSURANCE COMPANY, al).lowa corporation; and.DOES 1
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          YOU ARE BEING SUED BY PLAINTIFF:
          (LO ESTA DEMANDANDO EL DEMANDANTE):
           PETER KUvI, and individual; and HELEN KHvf,                                  an individual
            NOTICE I You have been Sl/ed. The court may declcie against you without your being heard unless you respond wiU1i11·30 days. Read the Information
            below.
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            referral service. if you cannot afford an attorney, you may be eligible for Cree legal services from a noripr'ofit legal serillces r1iogram. You can localQ
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           Tl1e name, address, ·and telephone number or plaintiffs attorney, or plaintiff without an allorney, is:
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            George Chuang, Esq. - S98 N. Sepulveda Blvd., #325, El Segundo, CA90245 - Tel: (310)414-8888
                   .·       Sherri R. Carter Executive Oirlcerr Clerk of Court .     . • • . • .
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           (Para pfueba de ontrega. clo eista cftaU6n u.se el fom},ulado Proof of Service of Summons; (P0S"01D)).
                        .           .                  NOTICE TO THE PE~SON SER'J.ED.: You are.serve(j                                      .
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                                                      .z. ·D       as the person sued under the nct1t1ous name of(speciry;:


                                                      3.   CXJ     011 behalf of   (->pec/fy):A1\tICO        Insurance Com1rnny\.a11 Im.va Corporation
                                                           undEir:   [X] CCP 416,10 (corporation)                                 D         CCP 416.60 (minor)
                                                                     CJ     CCP 416.20 (defunct corporatio,n)                     CJ        CCP 41.6.70 (cdriservateo)
                                                                     CJ     CCP 416.40 (association or partnership)               D         CCP 416'.90 (authorized person)
                                                               /D           other (specify):
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                                                                                     19STCV12211
                                       Assigned for all purposes to: Stanley Mask Courthouse, Judicial Officer: William Fahey
Electronically FILED by   perlor Court of California, County of Los Angeles on 04/09/2019 12:23 PM Sherri R. Carter, Executive Officer/Clerk of Court, by K. Vargas.Deputy Clerk

                      1   George Chuang, Esq., State Bar No. 119614
                          GEGRGE CHUANG & ASSOCIATES, APC
                      2   898 N. Pacific Coast Highway, Suite 325
                          El Segundo, California 90245
                      3   TeleJ?hone: (310) 414-8888
                          facs11nile: (310) 414-8890
                      4
                      5   Attorneys for Plaintiffs,
                          PETER KIM and HELEN KIM
                      6
                      7
                      8
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      "'             11                                SUPERIOR COURT OF THE STATE OF CALIFORNIA
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    ~.~              12                                             FOR THE COUNTY OF LOS ANGELES
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     g °'            13   PETER KIM, and individual; and HELEN                                          CaseNo.: 1 9STC\11 2211
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        ·u r.n 15                                Plaintiffs,                                            COMPLAINT FOR:
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    0 ;z;            16                                                                                        1.        Breach of Contract;
    Cj~                   vs.
          00

                     17                                                                                        2.        Breach of the Implied Covenant of
                                                                                                                         Good Faith and Fair Dealing- Duty
                     18   AMCO INSURANCE COMPANY, an                                                                     to Defend; and
                          Iowa corporation; and DOES 1 through 50,
                     19   inclusive,                                                                           3.        Breach of the Implied Covenant of
                                                                                                                         Good Faith and Fair Dealing - Duty
                     20                                                                                                  to Settle.
                                                -Defendants.
                     21
                     22
                     23
                     24               COMES NOW, plaintiffs PETER KIM and HELEN KIM, and upon information and
                     25   belief, allege for their complaint as follows:
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   Recycled Paper                                                                            COMPLAINT
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       Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 12 of 126 Page ID #:12




                     1                                                   COMMON ALLEGATIONS
                              ..          i.


                     2              1.         PETER KJM ("PETER") is now, and all times herein mentioned was, an
                     3   individual residing in the State of California, County of Los Angeles, and a prior owner of the
                    4    single family residence located at 1925 Lombardy Drive, La Canada Flintridge, California
                     5 91011 (the "Property").
                     6              2.         ·HELEN KIM ("HELEN") is PETER's spouse, and is now, and all times herein
                     7 mentioned was, an individual residing in the State of California, County of Los Angeles.
                     8             . 3.        Plaintiffs (collectively, the "KIM Plaintiffs") are informed and believe, and

                     9   based thereon allege that defendant AMCO INSURANCE COMPANY ("AMCO") is an Iowa
                    10   corporation engaged in the business of insurance and, inter alia, selling, issuing and/or

  "'                11   adjusting claims under policies of homeowners' insurance in the State of California, County
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~.~                 12   of Los Angeles.
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                    13              4.         The KIM Plaintiffs, at all relevant times herein, insured the Property with
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             d'     14   defendant AMCO and DOES 1 - 5 under one or more homeowners' insurance policies, which
e~~l.P .,~
       ·~   Cl'.l   15   protected plaintiffs against, inter alia, third party liability claims for property damage.
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 gZ                 16              5.         The IGM Plaintiffs are informed and believe, and based thereon allege that
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                    17   defendants DOES 1 through 50, and each of them, are coi·porations, partnerships, and/or other

                    18   business entities or individuals. The true names and/or identities of these fictitiously named

                    19   defendants are presently unknown to the KIM Plaintiffs, who therefore sue said defendants by

                    20   such fictitious names.
                    21              6.         The IGM Plaintiffs are infonned and believe, and based thereon allege that the
                    22   DOE defendants are principals, agents, servants and/or employees of the other defendants, and
                    23   that each was negligent, or in some other actionable manner responsible for the events,

                    24   happenings and damages alleged herein.
                    25              7.          At all times herein mentioned, each of the defendant was the agent, servant,

                    26   partner, employee and joint venturer of each of the remaining defendants, and was acting
                    27   within the com·se and scope of said agency, employment or joint venture.
                    28
                                                                                     -2-
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                  1             The,Property
                  2             8.         In or about September, 2015, the KIM Plaintiffs purchased the Property with the
                  3   intention of relocating from their the? residence to the larger home.
                  4             9.         The KIM Plaintiffs renovated portions of the Property in anticipating of moving
                  5   into the Property with HELEN's parents.
                  6             10.        PETER performed the renovation work as owner-builder, and perfonned,or
                  7   supervised and/or caused to be performed or supervised the work on the Property.
                  8             11.        Due to a change in plans and circumstances, the KIM Plaintiffs ultimately
                  9   decided to stay in their current home, and to sell the Property.
                 10             12.         On or about November 15, 2017, plaintiffs sold the Property.to Alan Jackson

  "'             11   and Lisa Kassabian (the "Liability Plaintiffs").
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 g "'            13             The Policy
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                 14              13.        The KIM Plaintiffs purchased insurance for Property through defendant AMCO.
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..<:l~..55       15              14.       Accordingly, the KIM Plaintiffs maintained at all times between August 25,
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       z         16   2015 through at least November 16, 2017, one or more homeowners' insurance policies with
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                 17   AMCO for the Property, including Policy No. ADP 0053823613 2 (the "Policy") (a true and
                 18   correct copy of which is attached as Exhibit "1" hereto).
                 19             ·15.        The Policy afforded, inter alia, liability coverage for claims involving the

                 20   Property for the policy period from August 25, 2017 through August 25; 2018, up to the policy.

                '21   limits of $500,000.
                 22              16.        The scope of the liability coverage afforded by Policy is set forth in the insuring
                 23   clause, which provides:
                 24                         We pay, up to our limit, all sums for which an insured is liable by

                 25                         law because of bodily injury or property damage caused by an
                 26                         occurrence arising out of an insured premises or its incidental
                 27                         operations. We will defend a suit seeking damages if the suit
                 28                         results from such bodily injury or property damage . ...
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                   1             fuLiability Plaintiffs' Claim
                   2              17.        On or about April 13, 2018, the Liability Plaintiffs made a claim against the KIM
                   3   Plaintiffs, asserting they had sustained substantial prop.erty damage for which plaintiffs were
                  .4   responsible (the "Liability Claim"). (A true and correct copy of the Liability Plaintiffs' April
                   5   13, 2018 claim is attached hereto as Exhibit "2. ")
                   6              18.        The Liability Plaintiffs alleged in their claim, among other things, that:
                   7                         (a)        PETER's actions in connection with the work on the Property caused the
                   8   property damage at issue;
                   9                         (b)        Material deficiencies existed in the Property's foundation system and
                  10   westerly slab;

   )()            11                         (c)        As a result of those deficiencies, there was water intrnsion into the
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 ~-~<Zl"'         12   Property causing damage to the strncture, ~uilding components and other property in the home;
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           13          and
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  bl)8 '8 14                                 (d)        As a further result of the deficiencies, the Liability Plaintiffs lost use of
  ~ .g ~o 15           some portions of the Property.
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 gZ               16             19.        Even though the KIM Plaintiffs disputed the above-referenced claim, the
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                  17   Liability Claim nevertheless asserted a claim against plaintiffs for property damage arising
                  18   from the property insured by defendant AMCO; as such, it asserted a claim within the scope
                  19   of the Policy.
                  20             20.         On or about July 3, 2018, the Liability Plaintiffs filed suit against the KIM
                  21   Plaintiffs styled, Alan Jackson; Lisa Kassabian v. Peter Kim (EC068617) (the "Liability
                  22   Action"), alleging a single cause of action for Negligence. (A trne and c01Tect copy of the
                  23   Complaint in the Liability Action is attached as Exhibit "3" hereto.)
                  24             21.         On or about February 22, 2019, as a result of AMCO's denial of coverage (as
                  25   alleged more fully hereinbelow), the KIM Plaintiffs participated in a mediation in the Liability
                  26   Action which defendant refused to even attend.
                  27             22.        At the mediation in the Liability Action, the KIM Plaintiffs settled the Liability
                  28   Claim and Action for the to_tal sum of $95,000 to protect their financial interests.
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                  1             AM~O's           Coverage Denial
                  2             23,         Shortly after receipt of the Liability Claim, the KIM Plaintiffs tendered said
                  3   claim to AMCO under the Policy for coverage, including defense, as the claim involved
                  4   property damage arising from the insured property within the scope of defendant's liability
                  5   coverage.
                  6             24.        AMCO knew or should have lmown that plaintiffs were entitled to a defense, not
                  7   only of claims actually covered, but of any claims that were merely potentially or possibly
                  8   covered under the Policy, of which the Liability Claim was one.
                  9             25.        Notwithstanding its coverage obligations under the Policy, defendant AMCO,
                10    on or about September 4, 2018, wrongfully denied plaintiffs coverage, including defense, for
     <n         11    the Liability Claim.
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 ~.~            12              26.        Following defendant's coverage denial, the KIM Plaintiffs requested defendant
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 0    to   0\   13    reconsider its wrongful coverage denial on no less than two occasions.
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 o'/J 1B   o"   14              27.        In response to each of plaintiffs' requests for reconsideration, defendant
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                15    continued to wrongfully deny and withhold from plaintiffs the coverage and defense to which
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                16    they were entitled.
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                17              28.        As a result of defendants' actions, the KIM Plaintiffs were forced to defend and
                18    settle the Liability Claim and Action on their own.
                19
                20              Plaintiffs' Damages
                21              29.        As a result of defendants' wrongful denial of coverage, the KIM Plaintiffs were
                22    forced to incur defense fees and costs in defending the Liability Action, all in an amount to be
                23    proven at trial.
                24              30,        As a further result of defendants' wrongful denial of coverage, the KIM
                25    Plaintiffs were forced to settle the Liability Action for the sum of $95,000 to avoid further
                26    costs and exposure, and to protect their personal interests.
                27
                28
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                  1             31. , As a further result of defendants' wrongful denial of coverage, the KIM
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                          ..
                      Plaintiffs have endured substantial stress, worry, anxiety, sleeplessness and other forms of
                  3   severe and enduring emotional distress, in an amount to be proven at trial.
                 4              32.        As a further result of defendants' wrongful denial of coverage, the KIM
                  5   Plaintiffs were forced to retain counsel to obtain the insurance coverage benefits to which
                  6   plaintiffs were and remain entitled.
                  7
                  8                                                               I.
                  9                                               FIRST CAUSE OF ACTION FOR
                 10                                                     BREACH OF CONTRACT
      l()        11                                       (Against Defendant AMCO and DOES 1 - 5)
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ec .{!           12             33.        Plaintiffs refer to and incorporate by reference Paragraphs 1 through 32 above,
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                 13   as if set forth in full herein.
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~ ~         o'   14             34.        Defendants issued to plaintiffs the Policy covering the Property, as more fully
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a~.,
    ·u r.n       15   alleged in Paragraphs (13) - (16) above.
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 2Z              16             35.        At all times herein mentioned, plaintiffs complied with all terms and conditions
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                 17   required of them under the Policy, and performed all obligations on their part to be performed,
                 18   except for such terms, conditions and/or obligations as were waived or excused by defendants
                 19   or their actions.
                 20             3 6.       The Liability Claim and Action involved claims against the plaintiffs that were
                 21   covered or potentially covered under the Policy, and as such, defendants were required (a) to

                 22   defend the KIM Plaintiffs, (b) to evaluate fairly and reasonably settlement opportunities in the
                 23   Liability Action, and (c) to participate in a reasonable settlement or resolution of the Liability
                 24   Action.
                 25             37.        Defendants breached their duties and obligations under the Policy by refusing to
                 26   defend the KIM Plaintiffs, to participate in the KIM Plaintiffs' defense of the Liability Action,
                 27   and to settle and/or to participate in the settlement of the Liability Action, or any portion
                 28   thereof.
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                         1          3 8. , As a proximate result of defendants' actions, plaintiffs have been damaged, in
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                                 .
                             that among other things, they were required to retain counsel to defend the Liability Claim and
                        3    Action at substantial personal cost and expense, as alleged in Paragraph (29) above, all in an
                        4    amount to be proven at trial.
                         5             39.        As a further direct and proximate result of defendants' actions, plaintiffs have
                         6   been damaged, in that among other things, they were forced to settle the Liability Claim and
                        7    Action at substantial cost and expense, as alleged more fully in Paragraphs (21) - (22) and
                         8   (30) above.
                         9
                        10                                                                 II.

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                        11                                SECOND CAUSE OF ACTION FOR BREACH OF
        ~j~             12                        THE IMPLIED COVENANT OF GOOD FAITH AND FAIR
        ~ r~
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        ·-  °'          13                   DEALING BASED UPON BREACH OF THE DUTY TO DEFEND
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        ~   o"          14                                                       (Against All Defendants)
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        u'O       rzl   15             40.        Plaintiffs refer to and incorporate by reference Paragraphs 1-32 above as if set
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         f'Jl .
         oZ             16   forth in full herein.
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                        17             41.        Defendants owed to plaintiffs, in addition to their express contractual obligations
                        18   under the Policy, an implied covenant of good faith and fair dealing which required defendants
                        19   to act reasonably and properly in the handling of the KIM Plaintiffs' claim for insurance
    '
(                       20   benefits, and prohibited defendants from, among other things, (a) engaging in conduct denying
                        21   plaintiffs the benefits bargained for in the Policy, (b) engaging in unreasonable conduct or
                        22   undertaking action without proper cause, and (c) placing defendants' own economic interests
                        23   ahead of their insureds' interests.
                        24             42.        Defendants breached the implied covenant of good faith and fair dealing in their
                        25   handling of the IUM Plaintiffs' claim by, inter alia, unreasonably and without proper cause:
                        26                        a.          Rejecting plaintiffs' tender of defense without a proper or sufficient
                        27   factual or other basis for said rejection;
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                   1                    . b.           Failing to promptly and properly investigate plaintiffs' tender of defense,
                           ·'
                  2    and the bases for the Liability Claim;
                  3                         c.         Refusing to defend or to participate in the defense of the Liability Claim
                  4    and Action despite not having a reasonable factual or other basis to support their position;
                  5                         d.         Failing to promptly and adequately communicate with plaintiffs with
                  6    respect to their requests for coverage;
                  7                         e.         Failing to consider and in fact ignoring the evidence available to them in
                   8   evaluating plaintiffs' requests for coverage, including but not limited to the documentation
                   9   provided to defendants;
                  10                         f.         Forcing plaintiffs to incur attorneys' fees and to institute litigation to
      I/)         11   obtain the benefits rightfully due and owing under the Policy; and
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        12                                   g.         Otherwise acting in a manner inconsistent with defendants' obligations
~ r;:!i
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            °'    13   tinder the Policy, and their insureds' interests.
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~ 0               14             43.         As a proximate result of defendants' breach of the implied covenant of good
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                  15   faith and fair dealing, plaintiffs have been (a) deprived of the, defense benefits to which they
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 2Z               16   were and are entitled under the Policy, (b) forced to incur attorneys' fees and costs in their
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                  17   defense of the Underlying Claims, and (c) forced to retain counsel and incur attorneys' fees
                  18   and other costs in order to obtain the insurance benefits to which they are entitled, all in an
                  19   amount to be proven at trial.
                  20             44.         As a further proximate result of defendants' breach of the implied covenant of
                  21   good faith and fair dealing, plaintiffs have endured substantial stress, worry, anxiety,
                  22   sleeplessness and other forms of severe and enduring emotional distress, in an amount to be
                  23   proven at trial.
                  24             45.         Plaintiffs are informed and believe, and based thereon allege, that defendant
                  25   AMCO, knowing full well that plaintiffs expected protection under the Policy for covered or
                  26   potentially covered claims such as the Liability Claim, lmowingly embarked on a malicious
                  27   and despicable scheme designed to deprive plaintiffs of the benefits to which they were and
                  28   are entitled by, among other things, falsely and improperly attempting to deny plaintiffs' claim
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                  1 for defenst\ benefits and refusing to meaningfully participate in the settlement of the Liability
                 2
                           •
                      Claim and Action, all of which were intended and designed to deprive plaintiffs of substantial'
                 3 rights and benefits to which they were entitled, and which did in fact deprive plaintiffs of
                  4 substantial rights and benefits. As such, plaintiffs allege that they are entitled to an award of
                  5   punitive and exemplary damages against defendants, in an amount sufficient to make an
                  6   example of, and to deter, defendants from similar conduct in the future.
                  7
                  8                                                                 III.
                  9                                 THIRD CAUSE OF ACTION FOR BREACH OF

                 10                             THE DUTY OF GOOD FAITH AND FAIR DEALING

                 11                             BASED UPON BREACH OF THE DUTY TO SETTLE
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                 12                                                       (Against All Defendants)
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'G  0\           13             46.       Plaintiffs refer to and incorporate by reference Paragraphs 1- 32 above as if set
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          14          forth in full herein.
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                                47.        Defendants, by reason of the Policy and at all times mentioned herein, owed
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 oZ              16   plaintiffs a duty to settle, including a duty to accept reasonable settlement offers or to
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                 17   participate in settlement opportunities up to the policy limits of the Policy, and to evaluate
                 18   such settlement offers and opportunities without regard to any perceiv~d coverage issues.
                 19             48.        Defendants breached their duty of settle by, inter alia, unreasonably and without
                 20   proper cause:
                 21                        a.         Refusing to settle or to participate in the settlement of the Liability Claim
                 22   or Action, or any portion thereof based upon a lmowingly erroneous coverage position;
                 23                        b.         Refusing to settle or to participate in the settlement of the Liability Claim
                 24   or Action, or any portion thereof without any consideration of merits of said claim, and their
                 25   insureds' financial exposure, thus placing defendants' economic interests ahead of their
                 26   insureds';
                 27                        c.         Refusing to attend or participate in the mediation in the Liability Action;
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                   1                        d.          Failing to promptly and adequately communicate with plaintiffs with
                          .   ,.
                  2    respect to settlement of the Underlying Claim and Action;
                   3                        e.          Failing to consider and in fact ignoring the evidence available to them in
                  4    evaluating coverage and settlement of the Liability Claim and Action;
                   5                        f.          Forcing plaintiffs to incur attorneys' fees and to institute litigation to .
                   6   obtain the benefits rightfully due and owing under the Policy; and
                   7                        g.          Otherwise acting in a mamJer inconsistent with defendants' obligations
                   8   under the Policy, and their insureds' interests.

                   9               49.      As a proximate result of defendants' breach of their duty to settle and the duty
                  10   of good faith and fair dealing associated therewith, plaintiffs were forced to (a) fund the

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                  11   settlement of the Underlying Claim and Action, as alleged more fully in Paragraphs (21)- (22)
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                  12   and (30) above, at substantial cost and expense, and (b) retain counsel and incur attorneys'
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      °'          13   fees and other costs in order to obtain the insurance benefits to which they are entitled, all in
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<Id~         o"   14   an amount to be proven at trial.
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                  15               50.      As a further proximate result of defendants' breach of the implied covenant of
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 e.ii .
 al   zg::        16   good faith and fair dealing, plaintiffs have endured substantial stress, worry, anxiety,
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                  17   sleeplessness and other forms of severe and enduring emotional distress, in an amount to be

                  18   proven at trial.

                  19               51.       Plaintiffs are informed and believe, and based thereon allege, that defendant

                  20   AMCO, knowing full well that plaintiffs expected protection under the Policy for covered or
                  21   potentially covered claims such as the Liability Claim, lmowingly embarked on a malicious
                  22   and despicable scheme designed to deprive plaintiffs of the benefits to which they were and

                  23   are entitled by, among other things, falsely and improperly attempting to deny plaintiffs' claim

                  24   for defense benefits and refusing to meaningfully participate in the settlement of the Liability
                  25   Claim and Action, all of which were intended and designed to deprive plaintiffs of substantial
                  26   rights and benefits to which they were entitled, and which did in fact deprive plaintiffs of

                  27   substantial rights and benefits. As such, plaintiffs allege that they are entitled to an award of
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                      punitive a~d exemplaiy damages against defendants, in an amount sufficient to make an
                  2   exainple of, and to deter, defendants from similar conduct in the futui·e.
                  3
                  4                                                             PRAYER OF RELIEF
                  5              WHEREFORE, plaintiffs PETER KIM and HELEN KIM pray for judgment as follows:
                  6               1.         For compensatory damages according to proof;
                  7              2.          For reasonable attomeys' fees incurred to obtain the insurance benefits to which
                                                                                                                          : .i
                  8   plaintiffs are entitled;

                  9              3.          For punitive and exemplary damages;
             10                  4.          For recoverable costs of suit; and

             11                  5.          For such other and further relief as this Court may deem just and proper.
             12
             13       Dated: April 9, 2019
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                                                          EXHIBIT 1
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               SUTHERLAND-SCHERFF & ASSOC INS                                 AMCO INSURANCE COMPANY
               LA CRESCENTA CA        91214-3412                              1100 LOCUST ST
               818-248-2860                                                   DES MOINES, IA
                                                                              50391-1100


                                                                                    DWELLING FIRE POLICY NUMBER
      087DF     KI MI PETER                                                           ADP 0053823613-2
                KIM, HELEN
                                                                                    ACCOUNT NUMBER
                2029 VERDUGO     BLVD PMB 253
                MONTROSE, CA      91020-1626                                          7295471866



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  •    Special Notices. These notices, when included, point out specific items concerning your policy.
  •    Coverage and Endorsement Forms. Provides policy and coverage information.
  •    Billing. Any premiums that are unpaid will be billed separately. Pay from that bill rather than this policy.




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DIRECT BILL     0000     17186                                                                     7295471866   47   25,038
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  Our privacy statement explains how we collect, use, share, and protect your personal information. So just how do
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  Confidentiality and security
  We follow all data security laws. We protect your information by using physical, tecl1nical, and procedural
  safeguards. We limit access to your information to those who need it to do their jobs. Our business partners are
  legally bound to use your information for permissible purposes.

  Collecting and using your personal Information
  We collect information about you when you ask about or buy one of our products or services. The information
  comes from your application, business transactions with us, consumer reports, and publicly available sources.
  Please know that we only use that information to sell, service, or market products to you.

  We may collect the following types of information:
  • Name, address, and Social Security number
  • Assets· and income
  • Property address and value
  • Account and policy Information
  • Credit reports and other consumer report information
  • Family member and beneficiary information
  • Public information

  Sharing your information tor business purposes
  We share your information witl1 other Nationwide companies and business partners. Wl1en you buy a product, we
  may share your personal Information for everyday business purposes. Some examples include mailing your
  statements or processing transactions that you request. You cannot opt out of these. We also share your
  information with your agent or producer. They use your personal information to manage your policy or account.
  We may also sl1are your personal information as federal and state law requires.

  Sharing your information for marketing purposes
  We don't sell your information to anyone - period. Because you are a customer of both us and an independent
  broker or agent, we have chosen not to share your personal information with anyone, except to service your         .
  product So there's no reason for you to opt out. If we change our policy, we'll tell you and give you the opportunity
  to opt out before we share your information.


  Using your medical information
  We sometimes collect medical information. We may use this medical information for a product or service you're
  interested in, to pay a claim, or to provide a service. We may sl1are this medical information for these business
  purposes if required or permitted by law. But we wont' use it for marl~eting purposes unless you give us
  permission.




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  Accessing your information
  You can always ask os for a copy of your personal information. Please send your privacy inquiry to the address
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  charge a fee for giving you a copy of your information now, but we may charge a small fee in the future.

  You can call your agent to change your personal information. But we can't update information that other
  companies, like credit agencies, provide to us. So ·you'll need to contact these otl1er companies to change and
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  know it, include your agent's name and number.

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                                            Attn: Customer Relations - Privacy
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  AMCO Insurance Company
  Depositors Insurance Company
  Nationwide Mutual Insurance Company
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  Colonial County Mutual Insurance Company
  Nationwide Insurance Company of America
  Nationwide Affinity Insurance Company of America
  Nationwide Sales Solution, Ina.
  Crestbrook Insurance Company
  Nationwide Insurance Company of Florida




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  Insurance Company. © 2015 Nationwide
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                                                                                                      IN 0100 (01-10)
                    ..
     *********                   IMPORTANT INSURANCE INFORMATION
                                                                                                 *******
                                              SUMMARY OF RIGHTS

  The laws of your state require that we provide you with this important notice regarding your rights In the event of
  an adverse underwriting decision.

                     YOUR RIGHTS FOLLOWING AN ADVERSE UNDERWRITING DECISION
  In the event of an adverse underwriting decision, you have certain rights available to you. An adverse
  underwriting decision may Include, but Is not limited to:
      • A declination of Insurance coverage;
      • -A termination of Insurance coverage;
      • Failure of an agent to apply for insurance coverage with a specific Insurance company which the agent
         represents and Is requested by you;
      •  Placement with a residual market mechanism, an unauthorized insurer, or an insurance Institution which
         specializes in substandard risks; or
      • The charging of a higher rate on the basis of information which differs from that which you furnished us.
  You have the right to: 1) request In writing the specific reason(s) for the adverse underwriting decision; 2) request
  access to your recorded personal information; and 3) request correction, amendment, or deletion of your
  recorded personal information.
                         YOUR RIGHT TO REQUEST THE SPECIFIC REASON(S) FOR AN ADVERSE
                                           UNDERWRITING DECISION
   You have the right to request in writing the specific reason(s) for an adverse underwriting decision. In addition,
   you have the right to request specific items of information that support the action and the right to request the
   names and addresses of the institutional sources that supplied the specific Information. However, this right does
  ·not extend to information i( we have a reasonable suspicion that criminal activity, fraud, material
   misrepresentation, or material nondisclosure is involved.
   To receive this Information, please submit a written request within ninety (90) business days from the receipt of
   this notice. We will respond within twenty-one (21) business days from the receipt of your request. At that time we
   will furnish you with:
         1. the specific reason(s) for the adverse underwriting decision in writing if such Information has not already
             been provided to you;
         2. the specific items of personal and privileged information that support the reasons; and
         3. the names and addresses of the institutional sources that supplied the specific Items of information
             specified.
             ·YOUR R!GHT TO REQUEST ACCESS TO YOUR RECORDED PERSONAL INFORMATION
   You also have the right to submit a written request for access to your recorded personal Information. We may
   charge a reasonable fee to cover the costs of providing you this information.
   Within thirty (30) days of the receipt of your request, we will Inform you of the nature and substance of the
   recorded personal Information provided that It is reasonably described and is reasonably locatable and
   retrievable. You have the right to see and copy the recorded personal Information in person or obtain a copy by .
   mail, whichever you prefer.
   We will also tell you the identity of the persons or organizations to whom we have disclosed the information in the
   preceding two (2) years and provide you with a summary of the procedures by which you may request correction,
   amendment, or deletion of recorded personal information.




   IN 0100 (01-10)                                                                                        Page 1of2
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  IN 0100 (01-10)
                      .
       YOUR RIGHT TO REQUEST CORRECTION, AMENDMENT, OR DELETION OF RECORDED PERSONAL
                                         INFORMATION
  If you disagree with our records, you have the right to request correction, amendment, or deletion of any recorded
  personal information.
  Within thirty (30) business days of receipt of your written request, we will either:
       1. correct, amend, or delete the portion of the recorded personal information in dispute; or
       2. notify you of our refusal to make the correction, amendment, or deletion, the reasons for the refusal, and
           your right to file a statement If you disagree.
  If we grant your request, we will notify you in writing and furnish the correction, amendment, or fact of deletion to:
       1. any person specifically designated by you who may have, within the preceding two (2) years, received the
           recorded personal information;
       2. any Insurance support organization if the Insurance support organization has systematically received
           such recorded personal Information from us within the preceding seven (7) years; provided, however, that
           the correction, amendment or fact of deletion need not be furnished If the Insurance support organization
           no longer maintains recorded personal Information about you; and
       3. any Insurance support organization that furnished the personal Information that has been corrected,
           amended or deleted.                                     ·
  If we refuse your request and you are not satisfied, you may send us a concise statement setting forth what you
  believe is the correct, relevant, or fair information and why you disagree with our refusal to correct, amend, or
  delete recorded personal information. Your statement will be included with the disputed personal information in
  our records.
          If you have questions regarding this notice, pfease contact your company representatfve or write us at:
                                                   Nationwide Insurance
                                     Attn: Customer Relations - Summary of Rights
                                             One Nationwide Plaza 3 - 4 - 101
                                                   Columbus, OH 43215




   Page 2 of 2                                                                                          IN 0100 (01-10)
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                                                                                                    IN 2499 (10-08)



                        *******              IMPORTANT NOTICE               *******
  The Coverage A Dwelling limit shown on your declarations page Is an estimated replacement cost based on
  general Information about your home. It Is developed from models that use cost of construction materials and
  labor rates for like homes In the area. The actual cost to replace your home may be significantly different. Allied
  does not guarantee that this figure will represent the actual cost to replace your home. You are responsible for
  selecting the appropriate amount of coverage and you may obtain an appraisal or contractor estimate, at your
  own expense, wlilch Allied will consider and accept, If reasonable. Higher coverage limits may be selected and
  will result In higher premiums.




   IN 2499 (10-08)                                                                                       Page 1 of 1
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                                                                                                       IN 3090 (01-16)


       ****•***                  IMPORTANT INSURANCE INFORMATION                                  *******
                              THIRD PARTY DESIGNATION NOTIFICATION
  Thank you for choosing us to help you protect what's Important to you.

  Gallfornia law allows you the right to designate an Individual to receive a notice of lapse, termination, expiration,
  nonrenewal, or cancellation of your policy for nonpayment of premium. An Individual designated by you to receive
  a notice of lapse, termination, expiration, nonrenewal, or cancellation of your policy for nonpayment of premium
  does not have any rights, whether as an additional Insured or otherwise, to any benefits under the policy, other
  than to receive such notice.

  If you have designated an Individual to receive such notice, the Individual and their address Is displayed below.




  What you need to do
  If you wish to add, change or delete a designated person to receive such notice, please contact your agent or
  member care representative. Contact Information can be found on your policy declarations page or cover letter.

  For help when you need it
  Your agent or member care representative can answer any questions you have about this notice or other
  additional coverage options available to you. We appreciate your business and look forward to continuing to serve
  you.




   IN 3090 (01-16)                                                                                          Page 1 of 1
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       Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 30 of 126 Page ID #:30


                                                             DWELLING POLICY


AMCOINSURANCECOMPANY                                                                             POLICY NUMBER:     ADP 0053823613                       2
1100 LOCUST ST                                                                                   ACCOUNT NUMBER: 7295471866
DES MOINES, IA 5o'391-1100                        800 282-1446
AGENCY            SUTHERLAND-SCHERFF & ASSOC INS                                                                     Polley Period
                                                                                                    From:    08/25/2017      To: 08/25/2018
29459             LA CRESCENTA CA
                                                                                                             12:01 A.M. Standard Time
                                                                  CONTINUATION DECLARATIONS
                           INSURED NAME AND ADDRESS                                   MORTGAGEE OR OTHER INTEREST
                                                                                      09150720       MORTGAGEE
                    KIM, PETER                                                        EAST WEST BANK, ITS SUCCESSORS
                    KIM, HELEN                                                        &/OR ASSIGNS, LOAN SUPPORT DEP
                    2029 VERDUGO BLVD PMB 253                                         PO BOX 60020
                    MONTROSE, CA                                  9102o.1626          CITY OF INDUSTRY, CA                             91716-0020

BILLING INFORMATION       TO BE PAID BY NAMED INSURED                                       !PREVIOUS POLICY NUMBER              ADP 0053823613 1
DEDUCTIBLE: In case of loss undor this policy, we cover only that part of the loss over the deductible of $2,500,



The described residence premises covered hereunder is located at the                 Location
above address, unless otherwise stated herein.                                                   1925 LOMBARDY DR
                                                                                         001     LA CANADA FLINTRIDGE CA                    91011-1530
This Insurance applies to the Described Location, Coverage for which a Limit of Llablllty Is shown and Perils Insured Against for which a Premium Is stated

                                               COVERAGE AND LIMITS OF LIABILITY
                                   B. OTHER STRUCTURES           C. PERSONAL                              D. FAIR RENTAL               E. ADDITIONAL
                            AMT INCL'D                            PROPERTY                                     VALUE                  LIVING EXPENSE
                            AT NO CHG
      A. DWELLING
$       512,100             $       51,210 $           $          $ NONE           $                                             $
                                                 PERILS INSURED AGAINST AND PREMIUMS
         Fire         Extended          Vandalism or        DP3
                      Coverage           Malicious
                                         Mischief
$         410.00 $              111.00 $INCL            $         116.00$                             $                          $
         ENDORSEMENT                                         DESCRIPTION                                                LIMIT              PREMIUM
                                           POLICY ENDORSEMENTS
DP3                    09/83          Special Form
DP300CA                10/14          Special Provisions - California                                                                         INCLUDED
INOOOO                 04/09          Privacy Stmt                                                                                            INCLUDED
IN3090                 01/16          Third Party Deslgnee                                                                                    INCLUDED
IN0100                 01/10          Important Notice                                                                                        INCLUDED
IN2004                 03/04          Important Notice                                                                                        INCLUDED
IN2499                 10/08          Important Notice                                                                                        INCLUDED
IN3001                 03/91          Important Notice                                                                                        INCLUDED
10783                  12/88          Amendment of Conditions                                                                                 INCLUDED
10940                  07/89          California Guarantee Association                                                                        INCLUDED
                                           TOTAL POLICY ENDORSEMENTS

    Not a bill. Your bill Is sent separately ,                              TOTAL PREMIUM THIS LOCATION                    $            766.00
 Effective Date of.Change:                                                     (continued)                                 $
                                                                        TOTAL PREMIUM ALL LOCATIONS                        $            766.00

                                                                        Additional Premium                                 $
                                                                        Return Premium                                     $
This Declarations page replaces all previous Declarations pages for this policy,          I     AMCO lf':!SURANCE COMPANY
                                                                                          I       Countersigned by - Authorized Representative



    DIRECT BILL     0000    17186                                   INSURED COPY                                   47    7295471866                  25045
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                                          ADDITIONAL DWELLING. ENDORSEMENTS


           Company: AMCO INSURANCE COMPANY                                                  I Policy No:         ADP 0053823613        2
                           DES MOINES, IA          50391-1100                      (800) 282-1446
                Agency: SUTHERLAND-SCHERFF & ASSOC INS
                29459      LA CRESCENTA CA
                Insured: KIM, PETER                                            KIM, HELEN
           Location ID           Described Location: 1925 LOMBARDY DR
                   001                                  LA CANADA FLINTRIDGE, CA                                   91011-1530


                    COVERAGES                                    DESCRIPTION                           LIMIT            PREMIUM

                                                     LOCATION ENDORSEMENTS
                12687            01/98          Addltlonal Insured-Liability                                           INCLUDED
                13432            01/98          Addltlonal Insured-Property                                            INCLUDED
                11796            08/11          Californla Res Prop Ins Dlsclosure                                     INCLUDED
                13447            03/93.         Lead Poisoning Excluslon·Llab Cov                                      INCLUDED
                13449            05/95          Inflation Protection                                                   INCLUDED
                438BFUNS         05/42          Lenders Loss Payable                                                   INCLUDED
                12680            01198          Personal Llabllity Schedule                           500,000           43.00
                H0277            01/79          Ordinance or Law Coverage                                               64.00
                12567P           01/07          Dwelling Replacement Cost                                                7.00
                DL2482           05/00          Personal Injury Endorsement                                             15.00
                13410            12/86          Dwelling Liability Coverage· OL&T                                      INCLUDED
                15363            12101          Fungi Property                                         5,000 .         INCLUDED
                15367            12/01          Fungi Exclusion • OL& T                                                INCLUDED
                                                     TOTAL LOCATION ENDORSEMENTS                                       129.00



                                            -




15070 (01-98)
 DIRECT BILL     0000    17186                                  INSURED COPY                                                    47   25,046
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      IN WITNESS WHEREOF, t11e company listed in t11e Declarations has caused this policy to be signed by its
      President and Secretary, and countersigned as may be required on the Declarations page by a duly authorized
      representative of t~e company.



      tn~~
      President - Mark Serven
      Nationwide Mutual Insurance Company
      Nationwide Mutual Fire Insurance Company
                                                                   President - Jeff Rommel


                                                                                                                                                 .
      Nationwide Insurance Company of America
      Nationwide Assurance Company                                 ALLIED Property and Casualty Insurance Company



                                                                        ~             [:i~                    .c·~·~·
      AMCO Insurance Company
      Depositors Insurance Company                                                                               .)~· . "
      Colonial County Mutual Insurance Company                     •   :~
                                                                            \        ..
                                                                            ...... \;~·.   ·,..4:11'(••'<>•
                                                                                                              C·L..,~...... :~~o1;.,. . ,,......i1~""'.f.ol'.I...~.
                                                                                                              • . •
                                                                                                                                                                  •



      Nationwide Lloyds by Lone Star General Agency,
      Inc., Attorney-in-Fact
                                                                   President - Andrew C. Dickinson
                                                                   Nationwide Insurance Company of Florida



      President - Amy Shore
      Nationwide Property and Casualty Insurance
      Company                                                      Secretary - Robert W. Horner, Ill
                                                                   ALLIED Property and Casualty Insurance Company
                                                                   AMCO Insurance Company
            //               .

       jfftl/1.;(11,;ft. -.. . .                                   Depositors Insurance Company
                                                                   Nationwide Affinity Insurance Company of America
                                                                   Nationwide Agribusiness Insurance Company
                      /,;f                                         Nationwide Assurance Company
      President - Brad Liggett                                     Nationwide General Insurance Company
      Nationwide Agribusiness Insurance Company
                                                                   Nationwide Insurance Company of America
                                                                   Nationwide Insurance Company of Florida
                                                                   Nationwide Mutual Fire Insurance Company
                                                                   Nationwide Mutual Insurance Company
                                                                   Nationwide Lloyds by Lone Star General Agency,
                                                                   Inc., Attorney-in-Fact
                                                                   Nationwide Property and Casualty Insurance
       President - Mark A. Pizzi                                   Company
     . Nationwide General Insurance Company                        Colonial County Mutual Insurance Company
       Nationwide Affinity' Insurance Company of America




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      Company.
      © 2011.Nati.onwide Mutual Insurance Company.




13402A (11-11) 01                                                                                                                                                      Page 1 of 1
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                                                                                                           11796 (08-11)

           Notice to Consumers • California Residential Property Insurance Disclosure
 This disclosure is required by Section 10102 of the California Insurance Code. This form provides general information
 related to residential property insurance and Is not part of your residential property insurance policy. Only the specific
 provisions of your policy will determine wl1ether a particular loss is covered and the amount payable. The Information
 provided does not preempt existing California law.

                             PRIMARY FORMS OF RESIDENTIAL DWELLING COVERAGE

 You have purchased the coverage(s) checked below. NOTE: Actual Cash Value Is the most limited level of
 coverage listed. Guaranteed Replacement Cost is the broadest level of- coverage.

 _     ACTUAL CASH VALUE COVERAGE pays the costs to repair the damaged dwelling minus a deduction for
 physical depreciation. If the dwelling is completely destroyed, this coverage pays the fair market value for the dwelling
 at time of loss. In either case, coverage only pays for costs up to the limits specified in your policy.

 _     REPLACEMENT COST COVERAGE is intended to provide for the cost to repair or replace the damaged or
 destroyed dwelling, without a deduction for physical depreciation. Many policies pay only the dwelling's actual cash
 value until the insured has actually begun or completed repairs or reconstruction on t11e dwelling. Coverage only pays
 for replacement costs up to the limits specified in your policy.

 _lL EXTENDED REPLACEMENT COST COVERAGE is intended to provide for the cost to repair or replace the
 damaged or destroyed dwelling without a deduction for physical depreciation. Many policies pay only the dwelling's
 actual cash value until the insured has actually begun or completed repairs or reconstruction on the dwellhig. Extended
 Replacement Cost provides additional coverage above the dwelling limits up to a stated percentage or specific dollar
 amount. .See your policy for the additional coverage that applies.

 -    GUARANTEED REPLACEMENT COST COVERAGE covers the full cost to repair or replace the damaged or
 destroyed dwelling for a covered peril regardless of the dwelling limits shown on the policy declarations page .

 .lL BUILDING    CODE UPGRADE COVERAGE, also called Ordinance and Law coverage, is an important option that
 covers additional costs to repair or replace a dwelling to comply with the building codes and zoning laws in effect at the
 time of loss or rebuilding. These costs may otherwise be excluded by your policy. Meeting current building code
 requirements can add significant costs to rebuilding your l1ome. Refer to your policy or endorsement for the specific
 coverage provided and coverage limits that apply.

 READ YOUR POLICY AND POLICY DECLARATIONS PAGE CAREFULLY: The polfcy declarations page shows the
 specific coverage limits you l1ave purcliased for your dwelling, personal property, separate structures such as detached
 garages, and additional living expenses. The actual policy and endorsements provide the details on extensions of
 coverage, limitations of coverage, and coverage conditions and exclusions. The amount of any claim payment made to
 you will be reduced by any applicable deductibles shown on your policy declarations page. It is important to take the
 time to consider whether the limits and limitations of your policy meet your needs. Contact your agent, broker, or
 insurance company.if you have questions about what is covered or if you want to discuss your coverage options.




 11796 (08·11)                                                                                                Page 1 of 3
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 11796 (08-11)

                 INFORMATION YOU SHOULD KNOW ABOUT RESIDENTIAL DWELLING INSURANCE

 AVOID BEING UNDERINSURED: Insuring your home for less than its replacement cost may result in your having to
 pay t11ousands of dollars out of your own pocket to rebuild your home if it is completely destroyed. Contact your agent,
 broker, or insurance company immediately if you believe your policy limits may be inadequate.

 THE RESIDENTIAL DWELLING COVERAGE LIMIT: The coverage limits on the dwelling structure should be high
 enough so you can rebuild your home if it is completely destroyed. Please note: .
    • The cost to rebuild your home is almost always different from the market value.
    • Dwelling coverage limits do not cover the value of your land.
        The estimate to rebuild your home should be based on construction costs in your area and should be adjusted
        to account for the features of your home. These features include but are not limited to the square footage, type
        of foundation, number of stories, and the quality of the materials used for items such as flooring, countertops,
        windows, cabinetry, lighting and plumbing.
    • The cost to rebuild your home should be adjusted each year to account for Inflation.
    • Coverage limits for contents, separate structures, additional living expenses and debris removal are usually
        based on a percentage of the limit for the dwelling. If your dwelling limit is too low, these coverage limits may
        also be too low.

 You are encouraged to obtain a current estimate of the cost to rebuild your home from your insurance agent, broker, or
 insurance company or an independent appraisal from a local contractor, architect, or real estate appraiser. If you do
 obtain an estimate of replacement value, and wish to change your policy limits, contact your insurance company. While
 not a guarantee, a current estimate can help protect you against being underinsured.

 DEMAND.SURGE: After a widespread disaster, the cost of construction can increase dramatically as a result of the
 unusually high demand for contractors, building supplies and construction labor. This effect is known as demand
 surge. Demand surge can increase the cost of rebullding your home. Consider increasing your coverage limits or
 purchasing Extended Replacement Cost coverage to prepare for this possibility.

 CHANGES TO PROPERTY: Changes to your property may increase its replacement cost. These changes may
 include tl1e building of additions, customizing your kitcl1en or bathrooms, or otherwise remodeling your home. Failure to
 advise your insurance company of any significant changes to your property may result in your home being
 underinsured.

 EXCLUSIONS: Not all causes of damage are covered by common homeowners or residential fire policies. You need
 to read your policy to see what causes of loss or perils are not covered. Coverage for landslide is typically excluded.
 Some excluded perils such as earthquake or flood can be purchased as an endorsement to your policy or as a
 separate policy. Contact your agent, broker, or insurance company if you have a concern about any of the exclusions
 in 'your policy.

 CONTENTS (PERSONAL PROPERTY.) COVERAGE DISCLOSURE: This disclosure form does not explain the types
 of contents coverage provided by your policy for items such as your furniture or clothing. Contents may be covered on
 either an actual cash value or replacement cost basis depending on tl1e contract. Almost all policies include specific
 dollar limitations on certain property that is particularly valuable such as jewelry, art, or silverware. Contact your agent,
 broker or insurance company if you have any questions about your contents coverage. You should create a list of .all
 personal property in and around your home. Pictures and video recordings also help you document your properiy. The
 list, pl1otos, and video should be stored away from your home.         ·

 CONSUMER ASSISTANCE: If you have any concerns or questions, contact your agent, broker or insurance company.
 You are also encouraged to contact the ·callfornla Depariment of Insurance consumer Information line at (800) 927-
 HELP (4357). or at www.insurance.ca.qov for free insurance assistance.




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                        ..                                                                                  11796 (08-11)
                       CALIFORNIA RESIDENTIAL PROPERTY INSURANCE BILL OF RIGHTS

 A consumer is entitled to receive information regarding homeowner's insurance. The following is a limited overview of
 information that your insurance company can provide:
      • The insurance company's customer service telephone number for underwriting, rating, and claims inquiries.
      B   A written explanation for any cancellation or non-renewal of your pollcy.
      • A copy of the insurance policy.
      • An explanation of how yqur policy limits were established.
      • In tl1e event of a claim, an itemized, written scope of loss report prepared by the Insurer or its adjustor within a
          reasonable time period.
      • In the event of a claim, a copy of the Unfair Practices Act and, if requested, a copy of the Fair Claims
          Settlement Practices Regulations.·
      • In the event of a claim, notification of a consumer's rights with respect to the appraisal process for resolving
          claims disputes.
      • An offer of coverage and premium quote for earthquake coverage, if eligible.

 A consumer is also entitled to select a licensed contractor or vendor to repair, replace, or rebuild damaged property
 covered by the insurance policy.

 Tile information provided l1erein is not all inclusive and does not negate or preempt existing California law. If you have
 any concerns or questions, contact your agent, broker, insurance company, or the California Department of Insurance
 consumer information line at (800) 927-HELP (4357), or at www.insurance.ca.gov for free insurance assistance.

 This Insurer reports claim information to one or more claims information databases. The claim information is used to
 furnish loss history reports to insurers. If you are interested in obtaining a report from a claims information database,
 you may do so by contacting:

 Lexis-Nexis Consumer Center
 (800) 456-6004
 www.consumerdisclosure.com




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                                                                                                          12680 (01-98)

                                    PERSONAL LIABILITY SCHEDULE

This endorsement Is made part of policy No. ----~A=D'-"P-~_0~0~5-'-38=2=3~6-'-13~-~2'--------- of the
 AMCOINSURANCECOMPANY

The Insurance afforded by this endorsement shall apply as indicated below, subject to the terms and conditions of the
policy that apply.

            Coverages                            Limit of Liability                              Premium

      L - Personal Liability              $    500,000         each occurrence          $_ _ _ _3_9_._o_o_

      M - Medical Payments                $       1 ODO        each person              $_ _ _ _-'4-'-.-"-0-"-0-

                                          $      10 00 0       each accident

      N - Physical Damage to Property     $                    each occurrence          $_ _ _ _ _ __

Insured locations: _0_01_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                                                       Total   $___4_3_._o_o_ __




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                                           Office, Inc. with its permission
                                   Copyright, Insurance Services Office, Inc., 1988
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            Nationwide•
              Is on your side




               AGENCY • CA • 29459
               SUTHERLAND-SCHERFF & ASSOC INS                                  AMCO INSURANCE COMPANY
               LA CRESCENTA CA        91214-3412                               1100 LOCUST ST
                818-248-2860                                                   DES MOINES, IA
                                                                               50391-1100


                                                                                      DWELLING FIRE POLICY NUMBER
      D87DF     KIM, PETER                                                              ADP 0053823613-1
                KIM, HELEN
                                                                                      ACCOUNT NUMBER
                2029 VERDUGO BLVD PMB 253
                MONTROSE, CA 91020-1626                                                  7295471866




  Thank you for continuing your policy with Allied Insurance! We are pleased to serve your Insurance needs and are
  committed to providing reliable, affordable insurance protection.

  For billing questions or to report a claim ... Call 1-800-282-9445trom anywhere in the U.S.
        •     Monday through Friday            8:00 a.m. - 5:30 p.m. (CST)
        •     To repor\ a claim, sin"lply call our toll-free number above any day, 24 hours a day.

  Information about your policy ..•
  •     PRIVACY STATEMENT PROCEDURES. We value you as a customer and respect your right to privacy. Please see
        the enclosed Privacy Statement and Procedures Notice directly following this page for additional information.
  •     Special Notices. These notices, when Included, point out specific Items concerning your policy.
  •     Coverage and Endorsement Forms. Provides policy and coverage Information.
  •     Billing. Any premiums that are unpaid will be billed separately. Pay from that bill rather than this policy.




   JL0303 (08-02)
DIRECT BILL     0000     16187                                                                        7295471866   47   23,787
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  Allied Insurance Privacy Statement
  Thank you for choosing Allied Insurance
  Our privacy statement explains how we collect, use, share, and protect your personal information. So just how do
  we protect your privacy? In a nutshell, we respect your right to privacy and promise to treat your personal
  information responsibly. It's as simple as that Here's how.

  Confidentiality and security
  We follow all data security laws. We protect your information by using physical, technical, and procedural
  safeguards. We limit access to your information to those who need it to do their jobs. Our business partners are
  legally bound to use your Information for permissible purposes.

  Collecting and using your personal information
  We collect information about you when you ask about or buy one of our products or services. The information
  comes from your application, business transactions with us, consumer reports, and publicly available sources.
  Please know that we only use that information to sell, service, or marl<et products to you.

  We may collect the following types of information:
  • Name, address, and Social Security number
  • Assets and income
  • Property address and value
  • Account and policy information
  • Credit reports and other consumer report information
  • Family member and beneficiary information
  • Public information

  Sharing your information tor business purposes
  We share your information with other Nationwide companies and business partners. Wl1en you buy a product, we
  may share your personal Information for everyday business purposes. Some examples Include mailing your
  statements or processing transactions tl1at you request. You cannot opt out of these. We also share your
  information with your agent or producer. They use your personal information to manage your policy or account.
  We may also share your personal information as federal and state law requires.

  Sharing your information tor marketing purposes
  We don't sell your information to anyone - period. Because you are a customer of botl1 us and an independent
  broker or agent, we 11ave chosen not to share your personal information with anyone, except to service your
  product. So there's no r·eason for you to opt out. If we change our policy, we'll tell you and give you the opportunity
  to opt out before we share your information.                                                                           ·

  Using your medical information
  We sometimes collect medical information. We may use this medical information for a product or service you're
  interested in, to pay a claim, or to provide a service. We may share this medical information for these business
  purposes if required or permitted by law. But we wont' use it for marketing purposes unless you give us
  permission.




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  Accessing your information
  You can always ask us for a copy of your personal information. Please send your privacy inquiry to the address
  below and have your signature notarized. This is for your protection so we may prove your identity. We don't
  charge a fee for giving you a copy of your information now, but we may charge a small fee in the future.

  You can call your agent to change your personal information. But we can't update information that other
  companies, like credit agencies, provide to us. So you'll need to contact these other companies to change and
  correct your information.

  send your privacy Inquiries to the address below. Please include your name, address, and policy number. If you
  know it, include your agent's name and number.

                                            Nationwide Insurance
                                            Attn: Customer Relations - Privacy
                                            One Nationwide Plaza, 3-04-i Oi
                                            Columbus, OH 432i 5

  A parting word ...
  These are our privacy practices. They apply to all current, joint, and former clients of Allied Insurance. They also
  apply to the affiliates and subsidiaries that offer auto, home, property, life insurance, banking services and
  investments. This includes the following companies:

  Allied Property and Casualty Insurance Company
  AMCO Insurance Company
  Depositors Insurance Company
  Nationwide Mutual Insurance Company
  Nationwide Agribusiness Insurance Company
  Colonial County Mutual Insurance Company
  Nationwide Insurance Company of America
  Nationwide Aftlnity Insurance Company of America
  Nationwide Sales Solution, Inc.
  Crestbrook Insurance Company
  Nationwide Insurance Company of Florida




  INOOOO (04-09)
  Effective Date: April 20, 2009
  Nationwide, the Nationwide N and Eagle and Nationwide is on your side are service marks of Nationwide Mutual
  Insurance Company.© 2015 Nationwide
 ADP 0053823613·1                                    INSURED COPY                 0000 16187                    47   23,788
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                                                                                                     IN 0100 (01·10)

     *********                 IMPORTANT INSURANCE INFORMATION
                                                                                                *******
                                              SUMMARY OF RIGHTS

  The laws of your state require that we provide you with this important notice regarding your rights in the event of
  an adverse underwriting decision.

                     YOUR RIGHTS FOLLOWING AN ADVERSE UNDERWRITING DECISION
  In the event of an adverse underwriting decision, you have certain rights available to you. An adverse
  underwriting decision may Include, but is not limited to:
      • A declination of insurance coverage;
      •   A termination of Insurance coverage;
      •   Failure of an agent to apply for insurance coverage with a specific insurance company which the agent
         ·represents and is requested by you;
      •   Placement with a residual market mechanism, an unauthorized insurer, or an insurance Institution which
          specializes In substandard risks; or                        .
      • The charging of a higher rate on the basis of information which differs from that which you furnished us.
  You have the right to: 1) request In writing the specific reason(s) for the adverse underwriting decision; 2) request
  access to your· recorded personal Information; and 3) request correction, amendment, or deletion cit your
  recorded personal Information.
                  YOUR RIGHT TO REQUEST THE SPECIFIC REASON(S) FOR AN ADVERSE
                                             UNDERWRITING DECISION
  You have the right to request in writing the specific reason(s) for an adverse underwriting decision. In addition,
  you have the right to request specific Items of information that support the action and the right to request the
  names and addresses of the Institutional sources that supplied the specific Information. However, this right does
  not· extend to information if we have a reasonable suspicion that criminal activity, fraud, material
  misrepresentation,
     \     .
                     or material nondisclosure is involved.
  To receive this Information, please submit a writteh request within ninety (90) business days from the receipt of
  this notice. We will respond within twenty-one (21) business days from the receipt of your request. At that time we
  will furnish you with:
        1. the specific reason(s) for the adverse underwriting decision in writing if such information has not already
            been provided to you;
        2. the specific Items of personal and privileged information that support the reasons; and
        3. the names and addresses of the institutional sources that supplied the specific items· of information
            specified.
              YOUR RIGHT TO REQUEST ACCESS TO YOUR RECORDED PERSONAL INFORMATION
   You also have the right to submit a written request for access to your recorded personal information. We may
   charge a reasonable fee to cover the costs of providing you this information.
   Within thirty (30) days of the receipt of your request, We will inform you of the nature and substance of the
   recorded personal information provided that it Is reasonably described and Is reasonably locatable and
   retrievable. You have the right to see and copy the recorded personal information in person or obtain a copy by
   mall, whichever you prefer.
   We will also tell you the identity of the persons or organizations to whom we have disclosed the information in the
   preceding two (2) years and provide you with a summary of the procedures by which you may request correctlor;i,
   amendment, or deletion of recorded personal information.




   IN 0100 (01-10)                                                                                        Page 1of2
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  IN 0100 (01·10)       ..
      YOUR RIGHT TO REQUEST CORRECTION, AMENDMENT, OR DELETION OF RECORDED PERSONAL
                                                       INFORMATION
  If you disagree with our records, you have the right to request correction, amendment, or deletion of any recorded
  personal information.
  Within thirty (30) business days of receipt of your written request, we will either:
       1. correct, amend, or delete the portion of the recorded personal information in dispute; or
       2. notify you of our refusal to make the correction, amendment, or deletion, the reasons for the refusal, and
           your right to file ~ statement if you disagree.
  If we grant your request, we will notify you in writing and furnish the correction, amendment, or fact of deletion to:
       1. any person specifically designated by you who may have, within the preceding two (2) years, received the
           recorded personal Information;
       2. any insurance support organization if the Insurance support organization has systematically received
           such recorded personal information from us within the preceding seven (7) years; provided, however, that
           the correction, amendment or fact of deletion need not be furnished if the insurance support organization
           no longer maintains recorded personal Information about you; and
       3. any insurance support organization that furnished the personal information that has been corrected,
           amended or deleted.
  If we refuse your request and you are not satisfied, you may send us a concise statement·setting forth what you
  believe is the correct, relevant, or fair Information and why you disagree with our refusal to correct, amend, or
  delete recorded personal information. Your statement will be included with the disputed personal information In
  our records.
         If you have questions regarding this notice, please contact your company representative or write us at:
                                                Nationwide Insurance
                                    Attn: Customer Relations - Summary of Rights
                                           One Nationwide Plaza 3 - 4 -101
                                                Columbus, OH 43215




   Page 2 of 2                                                                                          IN 0100 (01·10)
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                                                                                                    IN 2499 (10-08)



                        *******               IMPORTANT NOTICE              *******
  The Coverage A Dwelling limit shown on your declarations page is an estimated replacement cost based on
  general information about yoLir home. It Is developed from models that use cost of construction materials and
  labor rates for like homes in the area. The actual cost to replace your home may be significantly different. Allied
  does not guarantee t11at this figure will represent the actual cost to replace your home. You are responsible for
  selecting the appropriate amount of coverage and you may obtain an appraisal or contractor estimate, at your
  own expense, whlch Allied will consider and accept, If reasonable. Higher coverage limits may be selected and
  will result In higher premiums.




   IN 2499 (10-08)                                                                                       Page 1of1
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                                                                                                         IN 3026 (01-04)
               •.
     *******                    IMPORTANT INSURANCE INFORMATION                                     *******

                                           Special Provisions Revision



  Please be advised that on the Special Provisions endorsement, revisions have been made to the DP 2 and DP 3
  contracts, under COVERAGES, OTHER COVERAGES, Item 8. Lawns, Plants, Shrubs and Trees. These
  revisions clarify that we wlll pay up to 5% oft.he Coverage A limit of liablllty or $10,000, whichever Is less, for loss
  to lawns,. plants, shrubs or trees on the Described Location, and state that there Is no coverage for plants, shrubs
  or trees that are part of, or a continuation of, a forest including national forest or wildlife preserve.
  For all contracts, under CONDITIONS, Item 17. Cancellation b. 2) has been revised to state that we will not
  cancel this policy when It has been In effect for less than 60 days and Is not a renewal with us without giving you
  20 days notice.




   IN 3026 (01-04)                                                                                            Page 1 of 1
 ADP 0053823613·1                                  INSURED COPY                    0000 16167                     47   23,792
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                                                                                                       IN 3090 (01 ·16)



        ***'****                 IMPORTANT INSURANCE INFORMATION
                                                                                                  *******
                               THIRD PARTY DESIGNATION NOTIFICATION
  Thank you for choosing us to help you protect what's important to you.

  California law allows you the right to designate an individual to receive a notice of lapse, termination, expiration,
  nonrenewal, or cancellation of your policy for nonpayment of premium. An individual designated by you to receive
  a notice of lapse, termination, expiration, nonrenewal, or cancellation of your policy for nonpayment o(premium
  does not have any rights, whether as an additional insured or otherwise, to any benefits under the policy, other
  than to receive such notice.

  If you have designated an Individual to receive such notice, the lndlvldual and their address Is displayed below.




  What you need to do
   If you wish to add, change or delete a designated person to receive such notice, please contact your agent or
   member care representative. Contact information can be found on your policy declarations page or cover letter.

   For help when you need it
  Your agent or member care representative can answer any questions you have about this notice or other
  additional coverage options available to you. We appreciate your business and look forward to continuing to serve
  you.




   IN 3090 (01 ·16)                                                                                         Page 1 of 1
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                                                             DWELLING POLICY


AMCO INSURANCE COMPANY t                                                                         POLICY NUMBER: ·   ADP 0053823613
1100 LOCUST ST                                                                                   ACCOUNT NUMBER: 7295471866
DES MOINES, IA . S0391-1100                       (800) 282-1446
AGENCY          SUTHERLAND-SCHERFF & ASSOC INS                                                                       Policy Period
                                                                                                    From:    08/25/20_16     To: 08/25/2017
29459           LA CRESCENTA CA
                                                                                                             12:01 A.M. Standard Time
                                                                  CONTINUATION DECLARATIONS
                           INSURED NAME AND ADDRESS                                   MORTGAGEE OR OTHER INTEREST
                                                                                      09150720        MORTGAGEE
                   KIM, PETER                                                         EAST WEST BANK, ITS SUCCESSORS
                   KIM, HELEN                                                         &/OR ASSIGNS, LOAN SUPPORT DEP
                   2029 VERDUGO BLVD PMB 253                                          PO BOX 60020
                   MONTROSE, CA                                   91020-1626          CITY OF INDUSTRY, CA                             91716-0020


BILLING INFORMATION        TO BE PAID BY NAMED INSURED                                       [PREVIOUS POLICY NUMBER              ADP 0053823613 0
DEDUCTIBLE:  In case of loss under this policy, we cover only that part of the Joss over the deductible of $2,500.



The described residence premises covered hereunder Is located at the                  Location
above address, unless otherwise stated herein.                                                   1925 LOMBARDY DR
                                                                                         001     LA CANADA FLINTRIDGE CA                     91011-1530
This Insurance applies to the Described Location, Coverage for which a Limit of Liability Is shown and Perils Insured Against for which a Premium Is stated
                                               COVERAGE AND LIMITS OF LIABILITY
                                   B. OTHER STRUCTURES          C. PERSONAL                               D. FAIR RENTAL               E, ADDITIONAL
                            AMT INCL'D                            PROPERTY                                     VALUE                  LIVING EXPENSE
                            AT NO CHG
      A. DWELLING
$       504,800             $      50,480 $            $          $ NONE           $                                             $
                                                 PERILS INSURED AGAINST AND PREMIUMS
         Fire         Extended          Vandalism or        DP3
                      Coverage           Malicious
                                         Mischief
$         405.00 $              109.00 S INCL           $         114.00$                             $                          $
         ENDORSEMENT                                       DESCRIPTION                                                  LIMIT              PREMIUM
                                          POLICY ENDORSEMENTS
DP3                    09/83         Special Form
DP300CA                10/14         Special Provisions • California                                                                          INCLUDED
INOOOO                 04/09         Privacy Stmt                                                                                             INCLUDED
IN0100                 01i10         Important Notice                                                                                         INCLUDED
IN2004                 03/04         Important Notice                                                                                         INCLUDED
IN2499                 10/08         Important Notice                                                                                         INCLUDED
IN3001                 03/91         Important Notice                                                                                         INCLUDED
10783                  12/88         Amendment of Conditions                                                                                  INCLUDED
10940                  07/89         California Guarantee Association                                                                         INCLUDED
IN3026                 01/04         Important Notice                                                                                         INCLUDED
                                              (continued)

    Not a bill. Your bill Is sent separately •                              TOTAL PREMIUM THIS LOCATION                    $            756.00
 Effective Date of Change:                                                                                                 $
                                                                        TOTAL PREMIUM ALL LOCATIONS                        $            756.00

                                                                        Additional Premium                                 $
                                                                        Return Premium                                     $
This Declarations page replaces all previous Declarations pages for this policy.          I    AMCO INSURANCE CQMPANY
                                                                                          I      Countersigned by • Authorized Representative



    DIRECT BILL     0000   16187                                    INSURED COPY                                   47    7295471866                 23795
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                                               ADDITIONAL DWELLING ENDORSEMENTS


                Company: AMCO INSURANCE COMPANY                                              I Policy No:        ADP 0053823613     1
                         DES MOINES, IA  50391-1100                                 (800) 282-1446
                     Agency: SUTHERLAND:-SCHERFF & ASSOC INS
                     29459    LA CRESCENTA CA
                     Insured: KIM, PETER                                        KIM, HELEN
                Location ID           Described Location:   1925 LOMBARDY DR
                        001                                 LA CANADA FLINTRIDGE, CA                               91011-1530


                        .COVERAGES                                DESCRIPTION                           LIMIT           PREMIUM

                     IN3090           0116        Important Notice                                                     INCLUDED
!                                                    TOTAL POLICY ENDORSEMENTS

                                                       LOCATION ENDORSEMENTS

II                   12687
                     13432
                                      01/98
                                      01/98
                                                  Addltlonal lnsured·Llablllty
                                                  Additional Insured-Property
                                                                                                                       INCLUDED
                                                                                                                       INCLUDED
                     11796            08/11       California Res Prop Ins Disclosure                                   INCLUDED
I
I                    13447            03193       Lead Poisoning Excluslon-Llab Cov                                    INCLUDED
                     13449            05/95       Inflation Protection                                                 INCLUDED
                     438BFUNS         05/42       Lenders Loss Payable                                                 INCLUDED
                     12680            01/98       Personal Liability Schedule                          500,000          43.00
                     H0277            01/79       Ordinance or Law Coverage                                             63.00
                     12567P           01/07       Dwelllng Replacement Cost                                              7.00
                     DL2482           05/00       Personal Injury Endorsement                                           15.00
                     13410            12/86       Dwelling Llabillty Coverage • OL&T                                   INCLUDED
                     15363            12/01       Fungi Property                                        5,000          INCLUDED
                     15367            12/01       Fungi Exclusion - OL&T                                               INCLUDED
                                                       TOTAL LOCATION ENDORSEMENTS                                     128.00




                                                  I




     15070 (01-98)
      DIRECT BILL     0000    16187                              INSURED COPY                                               47    23,796
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      IN WITNESS WHEREOF, the company listed in the Declarations has caused this policy to be signed by its
      President and Secretary, and countersigned as may be required on the Declarations page by a duly authorized
      representative of the company.
                         ,


      tn~~
      President - Mark Serven
      Nationwide Mutual Insurance Company
      Nationwide Mutual Fire Insurance Company


                                                                                             .  .
      Nationwide Insurance Company of America                                    President - Jeff Rommel
      Nationwide Assurance Company                                               ALLIED Property and Casualty Insurance Company


                                                                                   f:\),, 1 {. 'i;..,.'"..;.'"·--:--..._~,.:
      AMCO Insurance Company                                                                         ~\.~
      Depositors Insurance Company                                                 :                         .    ..~       ...   '\
      Colonial County Mutual Insurance Company                                                .,_,,,.m,.,.   C..2.,.'-'w.
      Nationwide Lloyds by Lone Star General Agency,                             .»r.v-·"'·~:· ·. .          ..
      Inc., Attorney-in-Fact
                                                                                 President - Andrew C. Dickinson
                                                                                 Nationwide Insurance Company of Florida



      President - Amy Shore
      Nationwide Property and Casualty Insurance
      Company                                                                    Secretary - Robert W. Horner, Ill
                                                                                  ALLIED Property and Casualty Insurance Company
                                                                                  AMCO Insurance Company

       ~;(~#--
                                                                                  Depositors Insurance Company
                                                                                  Nationwide Affinity Insurance Company of America
                                                                                  Nationwide Agribusiness Insurance Company
                             !.//                                                 Nationwide Assurance Company
      President - Brad Liggett                                                    Nationwide General Insurance Company
      Nationwide Agribusiness Insurance Company
                                                                                  Nationwide Insurance Company of America
                                                                                  Nationwide Insurance Company of Florida
                                    .            r-··-)·..... '
           I·nJ.
                                                                                  Nationwide Mutual Fire Insurance Company
         /'     .        . ..   .            .   ·.· .
             · tfti, ·· O.~
           '        ':
               ~·                       .                                        ·Nationwide Mutual Insurance Company
                                                                                  Nationwide Lloyds by Lone Star General Agency,
                                                                                  Inc., Attorney-in-Fact
                                                                                  Nationwide Property and Casualty Insurance
      President - Mark A. Pizzi                                                   Company                  ·
      Nationwide General Insurance Company                                        Colonial County Mutual Insurance Company
      Nationwide Affinity Insurance Company of America




      Nationwide, the Nationwide framemark, and On Your Side are se1"Vice marks of Nationwide Mutual Insurance
      Company.
      © 2011 Nationwide Mutual Insurance Company.




13402A (11·11) 01                                                                                                                       Page 1 of 1
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                                                                                                            11796 (08-11)

           Notice to Consumers • California Residential Property Insurance bisclosure
 This disclosure is required by Section 10102 of the California Insurance Code. This form provides general Information
 related to residential property insurance and is not part of your residential property insurance policy. Only the specific
 provisions of your policy will determine whett1er a particular loss is covered and the amount payable. The information
 provided does not preempt existing California law.

                             PRIMARY FORMS OF RESIDENTIAL DWELLING COVERAGE

 You have purchased the coverage(s) checked below. NOTE: Actual Cash Value Is the most llmlted level of
 coverage llsted. Guaranteed Replacement Cost is the broadest level of coverage.

 _     ACTUAL CASH VALUE COVERAGE pays tl1e costs to repair the damaged dwelling minus a deduction for
 physical depreciation. If the dwelling ls completely destroyed, this coverage pays the fair market value for the dwelling
 at time of loss. in either case, coverage only pays for costs up to the limits specified in your policy.

 _     REPLACEMENT COST COVERAGE is intended to provide for the cost to repair or replace the damaged or
 destroyed dwelling, without a deduction for physical depreciation. Many policies pay only the dwelling's actual cash
 value until the insured !1as actually begun or completed repairs or reconstruction on the dwelling. Coverage only pays
 for replacement costs up to the limits specified In your policy.

 _lL_ EXTENDED REPLACEMENT COST COVERAGE is intended to provide for the cost to repair or replace the
 damaged or destroyed dwelling without a deduction for physical depreciation. Many policies pay only the dwelling's
 actual cash value until tl1e insured l1as actually begun or completed repairs or reconstruction on the dwelling. Extended
 Replacement Cost provides additional coverage above the dwelling limits up to a stated percentage or specific dollar
 amount See your policy for tl1e additional coverage that applies.

 -    GUARANTEED REPLACEMENT COST COVERAGE covers the full cost to repair or replace the damaged or
 destroyed dwelling for a covered peril regardless of the dwelling limits shown on 1he policy declara1ions page .

 .JL BUILDING    CODE UPGRADE COVERAGE, also called Ordinance and Law coverage, is an important option that
 covers additional costs to repair or replace a dwelling to comply witl1 the building codes and zoning laws in effect at the
 time of loss or rebuilding. These costs may otlierwise be excluded by your policy. Meeting current building code
 requirements can add significant costs to rebuilding your home. Refer to your policy or endorsement for the specific
 coverage provided and coverage limits that apply.

 READ YOUR POLICY AND POLICY DECLARATIONS PAGE CAREFULLY: The policy declarations page shows the
 specific coverage limits you have purchased for your dwelling, personal property, separate structures such as detached
 garages, and additional living expenses. The actual policy and endorsements provide the details on extensions of ,
 coverage, limitations of coverage, and coverage conditions and exclusions. The amount of any claim payment made to
 you will be reduced by any applicable deductibles shown on your policy declarations page. It is important to take the
 time to consider whether the limits and limitations of your policy meet your needs. Contact your agent, broker, or
 insurance company if you have questions about what is covered or if you want to discuss your coverage options.




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 11796 (08-11)

                 INFORMATION YOU SHOULD KNOW ABOUT RESIDENTIAL DWELLING INSURANCE

 AVOID BEING UNDERINSURED: Insuring your home for less than its replacement cost may result in your having to
 pay thousands of dollars out of your own pocket to rebuild your home if It is completely destroyed. Contact your agent,
 broker, or Insurance company Immediately if you believe your policy limits may be inadequate.

 THE RESIDENTIAL DWELLING COVERAGE LIMIT: The coverage limits on the dwelling structure should be high
 enough so you can rebuild your home if it is completely destroyed. Please note:
    • The cost to rebuild your home is almost always different from th_e market value.
        Dwelling coverage limits do not cover the value of your land.
    • The estimate to rebuild your home should be based on construction costs in your area and should be adjusted
        to account for the features of your home. These features include but are not limited to the square footage, type
        of foundation, number of stories, and the quality of the materials used for items sucl1 as flooring, countertops,
        windows, cabinetry, lighting and plumbing.
        The cost to rebuild your home should be adjusted each year to account for inflation.
    • Coverage limits for contents, separate structures, additional living expenses and debris removal are usually
        based on a percentage of the limit for the dwelling. If your dwelling limit is too low, these coverage limits may
        also be too low.

 You are encouraged to obtain a current estimate of the cost to rebuild your home from your Insurance agent, broker, or
 insurance company or an independent appraisal from a local contractor, architect, or real estate appraiser. If you do
 obtain an estimate of replacement value, and wish to change your policy limits, contact your insurance company. While
 not a guarantee, a current estimate can help protect you against being underinsured.

 DEMAND SURGE: After a widespread disaster, the cost of construction can increase dramatically as a result of the
 unusually high demand for contractors, building supplies and construction labor. This effect is known as demand
 surge. Demand surge can increase the cost of rebuilding your home. Consider increasing your coverage limits or
 purchasing Extended Replacement Cost coverage to prepare for this possibility.

 CHANGES TO PROPERTY: Changes to your property may increase its replacement cost. These changes may
 include the building of additions, customizing your kitchen or bathrooms, or otherwise remodeling your home. Failure to
 advise your insurance company of any significant cl1anges to your property may result in your home being
 underinsured.

 EXCLUSIONS: Not all causes of damage are covered by common homeowners or residential fire policies. You need
 to read your policy to see what causes of loss or perils are ·not covered. Coverage for landslide is typically excluded.
 Some excluded perils such as earthquake or flood can be purchased as an endorsement to your policy or as a
 separate policy. Contact your agent, broker, or insurance company if you have a concern about any of the exclusions
 in your policy.

 CONTENTS (PERSONAL PROPERTY) COVERAGE DISCLOSURE: This disclosure form does not explain the types
 of contents coverage provided by your policy for items such as your furniture or clothing. Contents may be covered on
 either an actual casl1 value or replacement cost basis depending on the contract. Almost all policies include specific
 dollar limitations on ce1iain property tl1at is particularly valuable such as jewelry, art, or silverware. Contact your agent,
 broi<er or insurance company if you have any questions about your contents coverage. You should create a list of all
 personal prope1iy in i:j.nd around your home. Pictures and video recordings also help you document your property. The
 list, pl1otos, and video should be stored away from your home.

 CONSUMER ASSISTANCE: If you have any concerns or questions, contact your agent, broker or insurance company.
 You are also encouraged to contact the California Department of Insurance consumer information line at (800) 927-
 HELP (4357), or at www.insurance.ca.gov for free insurance assistance.




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                                                                                                           11796 (08-11)
                       CALIFORNIA RESIDENTIAL PROPERTY INSURANCE BILL OF RIGHTS

 A consumer is entitled to receive information regarding homeowner's insurance. The following Is a llmlted overview of
 information that your insurance company can provide:
         The insurance company's customer service telephone number for underwriting, rating, and claims inquiries.
      • A written explanation for any cancellation or non-renewal of your policy.
      • A copy of the insurance policy.
      • An explanation of how your policy limits were established.
      • In the event of a claim, an itemized, written scope of loss report prepared by the insurer or its adjuster within a
          reasonable time period.
      • In the event of a claim, a copy of the Unfair Practices Act and, if requested, a copy of the Fair Claims
          Settlement Practices Regulations.
          In the event of a claim, notification of a consumer's rights with respect to tile appraisal process for resolving
          claims disputes.
      • An offer of coverage and premium quote for earthquake coverage, if eligible.

 A consumer is also entitled to select a licensed contractor or vendor to repair, replace, or rebuild damaged property
 covered by the insurance policy.

 The information provided herein is not all inclusive and does not negate or preempt existing California law. If you have
 any concerns or questions, contact your agent, broker, insurance company, or the California Department of Insurance
 consumer information line at (800) 927-HELP (4357), or at www.insurance.ca.qov for free insurance assistance.

 This insurer reports claim information to one or more claims information databases. The claim information is used to
 furnish loss history reports to insurers. If you are interested in obtaining a report from a claims information database,
 you may do so by contacting:

 Lexis-Nexis Consumer Center
 (800) 456-6004
 www.consumerdisclosure.com




 11796 (08-11)                                                                                                Page 3 of 3
 ADP 0053823613-1                                  INSURED COPY                    0000 16187                    47   23,799
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 51 of 126 Page ID #:51




                                                                                                        12680 (01 -98)

                                    PERSONAL LIABILITY SCHEDULE

This endorsement Is made part of pol Icy No. _ _ _ _ _A_D_P_ _ _0_0_5_38_2_3_6_13_ _ _ _ _ _ _ _ _ _ _ of the

 AMCO INSURANCE COMPANY

The Insurance afforded by this endorsement shall apply as Indicated below, subject to the terms and conditions of the
policy that apply.

            Coverages                             Limit of Liability                             Premium

      L - Personal Llablllty              $    500,000          each occurrence          $          39.00

      M - Medical Payments                $       1 000         each person              $            4.00

                                          $      10 000         each accident

      N - Physical Damage to Property     $                     each occurrence          $

Insured locations:   001




                                                                                        Total   $___4_3_._0_0_·_ _




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                                           Office, Inc. with its permission
                                   Copyright, Insurance Services Office, Inc., 1988
           0000   10187                            INSURED COPY                          47                          23,800
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 52 of 126 Page ID #:52




             39

         KIM, PETER
         KIM, HELEN
         2029 VERDUGO BLVD PMB 253
         MONTROSE, CA 91020-1626




Your. ow·elling Fire Insurance Policy
Courtesy of:
          SUTHERLAND-SCHERFF & ASSOC INS
          LA CRESCENTA CA        91214-3412
          818-248-2860
          AGENCY - 84 - 29459

          Policy# ADP 0053823613-0




  ADP 0053823613-0   15238            DIRECT BILL                      78   4972
  Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 53 of 126 Page ID #:53




              Allied
              Insurance·
  a Natlonwlda Insurance• company

                AGENCY • 84 • 29459
                SUTHERLAND-SCHERFF & ASSOC INS                             AMCO INSURANCE COMPANY
                LA CRESCENTA CA        91214-3412                          1100 LOCUST ST
                818-248-2860                                               DES MOINES, IA
                                                                           50391-1100

                                                                                     DWELLING FIRE POLICY NUMBER
       087DF    KIM, PETER                                                             ADP 0053823613-0
                KIM, HELEN
                                                                                     ACCOUNT NUMBER
                2029 VERDUGO BLVD PMB 253
                MONTROSE, CA 91020-1626



  Thank you for selecting Allied Insurance for your insurance needs!
  Allied Is committed to providing you high quality Insurance protection along with Premier Service - our pledge to
  provide superior customer service. You can also count on Allied for a full range of personal Insurance needs: auto-
  mobile, homeowners, recreational vehicles, rental properties, personal umbrella liability and boat Insurance.
  For more than 70 years, Allied has provided reliable, affordable personal Insurance protection. We have a long-
  standing history of excellent value and service - a tradition you can count on. Allied Is rated "A+" (Superior) by A.M.
  Best Company, an Independent Insurance rating organization.
  If you have any questions or changes regarding your policy or want to find out how we can further serve your personal
  insurance needs, contact your Allied agent.

  For billing questions or to report a claim .... Call   1·800-282-9445 from anywhere in the U.S.
        •      Monday through Friday 8:00 a.m. - 5:30 p.m. (CST)
        •      To report a claim, simply call our toll-free number above any day, 24 hours a day.

  Information about your policy.•..
  •     PRIVACY STATEMENT PROCEDURES. We value you as a customer and respect your right to privacy.
        Please see the enclosed Privacy Statement and Procedures Notice directly following this page for additional in·
        formation.
  11    Special Notices. These notices, when included, point out specific items concerning your policy.
  •     Coverage and Endorsement Forms. Provides policy and coverage Information.
  •     Billing. Any premiums that are unpaid will be billed separately. Pay from that bill rather than this policy.




   JL0302 (OB-02)

DIRECT BILL      19Z8   15238                                                                                     78        4,973
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 54 of 126 Page ID #:54




  Allied Insurance Privacy Statement
  Thank you for choosing Allied Insurance
  Our privacy statement explains how we collect, use, share, and protect your personal information. So
  just how do we protect your privacy? In a nutshell, we respect your right to privacy and promise to treat
  your personal information responsibly. It's as simple as that. Here's how.

  Confidentiality and security
  We follow all data security laws. We protect your information by using physical, technical, and
  procedural safeguards. We limit access to your information to those who need it to do their jobs. Our
  business. partners are legally bound to use your information for permissible purposes.

  Collecting and using your personal Information
  We collect information about you when you ask about or buy one of our products or services. The
  information comes from your application, business transactions with us, consumer reports, and publicly
  available sources. Please know that we only use that information to sell, service, or market products to
  you.

  We may collect the following types of information:
  • Name, address, and Social Security number
  • Assets and income
  " Property address and value
  .. Account and policy information
  " Credit reports and other consumer report information
  • Family member and beneficiary information
  Ill Public information

  Sharing your information for business purposes
  We share your information with other Nationwide companies and business partners. When you buy a
  product, we may share your personal information for everyday business purposes. Some examples
  Include mailing your statements or processing transactions that you request. You cannot opt out of
  these. We also share your information with your agent or producer. They use your personal information
  to manage your policy or account. We may also share your personal information as federal and state
  law requires.

  Sharing your information for marketing purposes
  We don't sell your information to anyone - period. Because you are a customer of both us and an
  independent broker or agent, we have chosen not to share your personal information with anyone,
  except to service your product. So there's no reason for you to opt out. If we change our policy, we'll tell
  you and give you the opportunity to opt out before we share your Information.

  Using your medical information
  We sometimes collect medical information. We may use this medical information for a product or service
  you're Interested in, to pay a claim, or to provide a service. We may share this medical Information for
  these business purposes if required or permitted by law. But we won't use it for marketing purposes
lllliiiii~rmisslon.




 ADP 0053823613·0                             INSURED COPY                 19Z8 15238                 78   4,971
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 55 of 126 Page ID #:55




  Accessing your information
  You can alwf}ys ask'us for a copy of your personal Information. Please send your privacy Inquiry to the
  address below and have your signature notarized. This is for your protection so we may prove your
  identity. We don't charge a fee for giving you a copy of your information now, but we may charge a small
  fee in the future.

  You can call your agent to change your personal Information. But we can't update Information that other
  companies, like credit agencies, provide to us. So you'll need to contact these other companies to
  change and correct your information.

  Send your privacy inquiries to the address below. Please include your name, address, and policy
  number. If you know it, include your agent's name and number.

                                            Nationwide Insurance
                                            Attn: Customer Relations - Privacy
                                            One Nationwide Plaza, 3-04-101
                                            Columbus, OH 43215


  A parting word ...
  These are our privacy practices. They apply to all current, joint, and former clients of Allied Insurance.
  They also apply to the affiliates and subsidiaries that offer auto, home, property, life insurance, banking
  services and investments. This includes the following companies:
  Allied Property and Casualty Insurance Company
  AMCO Insurance Company
  Depositors Insurance Company
  Nationwide Mutual Insurance Company
  Nationwide Agribusiness Insurance Company
  Colonial County Mutual Insurance Company
  Nationwide Insurance Company of America
  Nationwide Affinity Insurance Company of America
  Nationwide Sales Solution, Inc.
  Crestbrook Insurance Company
  Nationwide Insurance Company of Florida




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  INOOOO (04-09)
  Effective Date Aprll 20, 2009
 ADP 0053823613·0                                    INSURED COPY            l9Z8 15238                 78   4,974
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 56 of 126 Page ID #:56




                                                                                                       IN 0100 (01-10)

      *********                 IMPORTANT INSURANCE INFORMATION
                                                                                                  *******
                                                SUMMARY OF RIGHTS

   The laws of your state require that we provide you with this Important notice regarding your rights in the event of
   an adverse underwriting decision.

                       YOUR RIGHTS FOLLOWING AN ADVERSE UNDERWRITING DECISION
    In the· event of an adverse underwriting decision, you have certain rights available to you. An adverse
    underwriting decision may Include, but Is not limited to:
        • A declination of Insurance coverage;
        • A termination of insurance coverage;
        •   Failure of an agent to apply for insurance coverage with a specific insurance company which the agent
            represents and Is requested by you;
        •   Placement with a residual market mechanism, an unauthorized insurer, or an insurance institution which
            specializes in substandard risks; or
        • The charging of a higher rate on the basis of information which differs from that which you furnished us.
    You have the right to: 1) request In writing the specific reason(s) for the adverse underwriting decision; 2) request
    access to your recorded personal information; and 3) request correction, amendment, or deletion of your
    recorded personal information.
                    YOUR RIGHT TO REQUEST THE SPECIFIC REASON(S) FOR AN ADVERSE
                                               UNDERWRITING DECISION
    You have the right to request in writing the specific reason(s) for an adverse underwriting decision. In addition,
    you have the right to request specific items of Information that support the action and the right to request the
    names and addresses of the Institutional sources that supplied the specific information. However, this right does
    not extend to information if we have a reasonable suspicion that criminal activity, fraud, material
    misrepresentation, or material nondisclosure is involved.
    To receive this information, please submit a written request within ninety (90) business days from the receipt of
    this notice. We will respond within twenty-one (21) business days from the receipt of your request. At that time we
    will furnish you with:                                                                                         ·
          1. the specific reason(s) for the adverse underwriting decision In writing if such Information has not already
              been provided to you;
          2. the specific items of personal and privileged information that support the reasons; and
          3. the names and addresses of the institutional sources that supplied the specific Items of information
              specified.
               YOUR RIGHT TO REQUEST ACCESS TO YOUR RECORDED PERSONAL INFORMATION
    You also have the right to submit a written request for access to your recorded personal Information. We may
    charge a reasonable fee to cover the costs of providing you this information.
    Within thirty (30) days of the receipt of your request, we will inform you of the nature and substance of the
    recorded personal information provided that It Is reasonably described and Is reasonably locatable and
    retrievable. You have the right to see and copy the recorded personal information In person or obtain a copy by
    mall, whichever you prefer.
    We will also tell you the Identity of the persons or organizations to whom we have disclosed the information in the
    preceding two (2) years and provide you with a summary of the procedures by which you may request correction,
    amendment, or deletion of recorded personal information.                                                         ·




    IN 0100 (01-10)                                                                                         Page 1 of2
 . ADP 0053823613·0                                INSURED COPY                   l9Z8 15238                    78   4,97_5
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 57 of 126 Page ID #:57




   IN 0100 (01-10)

     YOUR RIGHT TO REQUEST CORRECTION, AMENDMENT, OR DELETION OF RECORDED PERSONAL
                                       INFORMATION                         .
  If you disagree with our records, you have the right to request correction, amendment, or deletion of any recorded
  personal lnformation.
  Within thirty (30) business days of receipt of your written request, we will either:
       1. correct, amend, or delete the portion of the recorded personal information In dispute; or        .
       2. notify you of our refusal to make the correction, amendment, or deletion, the reasons for the refusal, and
           your right to file a statement If you disagree.
  If we grant your request, we will notify you In writing and furnish the correction, amendment, or fact of deletion to:
       1. any person specifically designated by you who may have, within the preceding two (2) years, received the
           recorded personal information;
       2. any insurance support organization if the insurance support organization has systematically received
           such recorded personal information from us within the preceding seven (7) years; provided, however, that
           the correction, amendment or fact of deletion need not be furnished if the insurance support organization
           nq longer maintains recorded personal Information about you; and
       3. any'lnsurance support organization that furnished the personal information that has been corrected,
           amended or deleted.
  If we refuse your request and you are not satisfied, you may send us a concise statement setting forth what you
  believe Is the correct, relevant, or fair information and why you disagree with our refusal to correct, amend, or
  delete recorded personal Information. Your statement will be Included with the disputed personal information in
  our records.
         If you have questions regarding this notice, please contact your company representative or write us at:
                                                  Nationwide Insurance
                                    Attn: Customer Relations • Summary of Rights
                                            One Nationwide Plaza 3- 4 - 101
                                                  Columbus, OH 43215




   Page 2 of 2                                                                                          IN 0100 (01-10)
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                                                                             IN 2004 (03-04)

     ** ** * * *     CONSUMER COMPLAINTS AND INFORMATION
                       IMPORTANT INSURANCE INFORMATION
                                                                          * * * * ** *

   IF YOU SHOULD HAVE ANY QUESTIONS OR PROBLEMS WITH THIS POLICY PLEASE FIRST CONTACT .
   YOUR AGENT OR A COMPANY REPRESENTATIVE. TO CONTACT A COMPANY REPRESENTATIVE,
 , PLEASE CALL US AT 1-800-552-2437 OR WRITE TO:
  ALLIED INSURANCE
  2251 HARVARD STREET, SUITE #200
  SACRAMENTO, CA 95815-3333
  IF AFTER.DOING SO WE HAVE FAILED TO PRODUCE A SATISFACTORY SOLUTION TO YOUR PROBLEM
  YOU MAY CONTACT THE CALIFORNIA DEPARTMENT OF INSURANCE AT 1-800-927-HELP (4357), 1-800-
  482-4833 (TDD), OR WRITE THEM AT:
  CALIFORNIA DEPARTMENT OF INSURANCE
  CONSUMER COMMUNICATION BUREAU
  300 SOUTH SPRING ST., SOUTH TOWER
  LOS ANGELES, CA 90013
   IF YOUR POLICY PREMIUM CHANGED, YOU MAY REQUEST A WRITTEN              EXPLANATION BY
   CONTACTING YOUR AGENT OR US AT 1-866-544-5450




   IN 2004 (03-04)                                                               Page 1 of 1
 ADP 0053823613·0                    INSURED COPY            19Z8 15238              78   4,977
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 59 of 126 Page ID #:59




                                                                                                    IN 2499 (10-08)



                        *******              IMPORTANT NOTICE               *******
  The Coverage A Dwelllng limit shown on your declarations page Is an estimated replacement cost based on
  general Information aboL1t your home. It Is developed from models that use cost of construction materials and
  labor rates for like homes In the area. The actual cost to replace your home may be significantly different. Allied
  does not guarantee that this figure will represent the actual cost to replace your home. You are responsible for
  selecting the appropriate amount of coverage and you may obtain an appraisal or contractor estimate, at your
  own expense, which Al/led will consider and accept, If reasonable. Higher coverage llmlts may be selected and
  will result In higher premiums.




   IN 2499 (10-08)                                                                                       Page 1of1
 ADP 0053823613·0                               INSURED COPY                    l9Z8 15238                   78    4,978
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 60 of 126 Page ID #:60




           ********* '
                                     IMPORTANT INSURANCE INFORMATION
                                                                                          *********




As a reminder, California Law requires you to have an operable smoke detector in each rental property that you own.
Please check to be certain that the dwelllng(s) Insured under this policy comply with this law.          ·




IN 3001 (03-91)
  ADP 0053823613-0                             INSURED COPY                  19Z8 15238                 78   4,979
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                                                                  DWELLING POLICY


AMCO INSURANCE COMPANY,                                                                            POLICY NUMBER:                ADP     0053823613     0
1100 LOCUST ST                                                                                     ACCOUNT NUMBER:
DES MOINES, IA  S0391-1100                           (800) 282-1446
AGENCY          SUTHERLAND-SCHERFF & ASSOC INS                                                                       Polley Period
                                                                                                     From:   OB/25/2015      To: 08/25/2016.
29459           LA CRESCENTA CA
                                                                                                             12:01 A.M. Standard Time
                                                                          DECLARATIONS
                            INSURED NAME AND ADDRESS                                    MORTGAGEE OR OTHER INTEREST
                                                                                        09150720       MORTGAGEE
                    KIM, PETER                                                          EAST WEST BANK, ITS SUCCESSORS
                    KIM, HELEN                                                          &/OR ASSIGNS, LOAN SUPPORT DEP
                    2029 VERDUGO BL.VD PMB 253                                          PO BOX 60020
                    MONTROSE, CA                                       91020-1626       CITY OF INDUSTRY, CA                           91716-0020
                                                         -


BILLING INFORMATION       TO BE PAID BY NAMED INSURED                                      !PREVIOUS POLICY NUMBER
DEDUCTIBLE: In case of Joss under this policy, we cover only that part of the loss over the deductible of $2,500.



The described residence premises covered hereunder ls located at the                    Location
above address, unless otherwise stated herein.                                                     1925 LOMBARDY DR
                                                                                           001     LA CANADA FLINTRIDGE CA                   91011-1530
This Insurance applies to the Described Location, Coverage for which a Limit of Liability Is shown and Perils Insured Against for which a Premium Is stated
                                                        COVERAGE AND LIMITS OF LIABILITY
                                       B. OTHER STRUCTURES                          C. PERSONAL           D. FAIR RENTAL              E. ADDITIONAL
                             AMT INCL'D                                              PROPERTY                 VALUE                  LIVING EXPENSE
                             AT NO CHG
      A. DWELLING
$       500,000              $       50,000 $             $          $ NONE           $                                          $
                                                    PERILS INSURED AGAINST AND PREMIUMS
         Fire          Extended          Vandalism or            DP3
                       Coverage          ·Malicious
                                           Mischief
$         401.00 $               109.00 $INCL                $         113.00$                        $                          $
         ENDORSEMENT                                          DESCRIPTION                                               LIMIT              PREMIUM
                                            POLICY ENDORSEMENTS
DP3                    09/83           Special Form
DP300CA                10/14           Special Provisions • California                                                                        INCLUDED
INOOOO                 04/09           Privacy Stmt                                                                                           INCLUDED
IN0100                 01/10           Important Notice                                                                                       INCLUDED
IN2004                 03/04           Important Notice                                                                                       INCLUDED
IN2499                 10108           Important Notice                                                                                       INCLUDED
IN3001                 03/91           Important Notice                                                                                       INCLUDED
10783                  12/88           Amendment of Conditions                                                                                INCLUDED
10940                  07/89           California Guarantee Association                                                                       INCLUDED
                                            TOTAL POLICY ENDORSEMENTS

                                                 (continued)
    Not a bill. Your bill ls sent separately ,                                  TOTAL PREMIUM THIS LOCATION                $            750.00

 Effective Date of Change:                                                                                                 $

                                                                             TOTAL PREMIUM ALL LOCATIONS                   $            750.00

                                                                             Additional Premium                            $

                                                                             Return Premium                                $
This Declarations page replaces all previous Declarations pages for this policy.              I   AMCOINSURANCECOMPA~Y
                                                                                              I    Countersigned by - Authorized Representative



    DIRECT BILL      19Z8    15238                                       INSURED COPY                              78                                 4981
    Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 62 of 126 Page ID #:62




                                          ADDITIONAL DWELLING ENDORSEMENTS


            Company: AMCO INSURANCE COMPANY                                              I Polley No:        ADP 0053823613    0
                     DES MOINES, IA  50391-1100                                 {800) 282-1446
                 Agency: SUTHERLAND-SCHERFF & ASSOC INS
                 29459    LA CRESCENTA CA
                 Insured: KIM, PETER                                        KIM, HELEN
            Location ID          Described Location:   1925 LOMBARDY DR
                   001                                 LA CANADA FLINTRIDGE, CA                                91011-1530



                     COVERAGES                                DESCRIPTION                           LIMIT           PREMIUM

                                                  LOCATION ENDORSEMENTS
                 12687           01/98       Additional Insured-Liability                                          INCLUDED
                 13432           01/98       Additional Insured-Property                                           INCLUDED
                 11796           08/11       California Res Prop Ins Disclosure                                    INCLUDED
                 13447           03/Q3       Lead Poisoning Excluslon·Llab Cov                                     INCLUDED
                 13449           05/95       Inflation Protection                                                  INCLUDED
                 438BFUNS        05/42       Lenders Loss Payable                                                  INCLUDED
                 12680           01/98       Personal Liability Schedule                           500,000          43,00
                 H0277           01/79       Ordinance or Law Coverage                                              62.00
                 12567P          01/07       Dwelling Replacement Cost                                               7.00
                 DL2482          05/00       Personal Injury Endorsement                                            15.00
                 13410           12/86       Dwelling Liability Coverage· OL&T                                     INCLUDED
                 15363           12/01       Fungi Property                                         5,000          INCLUDED
                 15367           12/01       Fungi Exclusion • OL& T                                               INCLUDED
                                                  TOTAL LOCATION ENDORSEMENTS                                      127.00




15070 (01 ·98)
 DIRECT BILL      l9Z8   15238                              INSURED COPY                                                78    4,982
 Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 63 of 126 Page ID #:63




      IN WITNESS WHEREOF, the company listed in the Declarations has caused this policy to be signed by its
      President and Secretary, and countersigned as may be required on the Declarations page by a duly authorized
      representative of th,e company.




      President - Gary A. Douglas                                President- David G. Arango
      Nationwide Agribusiness Insurance Company                  Nationwide Assurance Company




      President - Mark A. Pizzi                                  President- W. Kim Austen
      Nationwide Affinity Insurance Company of America           ALLIED Property and Casualty Insurance Company
      Nationwide General Insurance Company                       AMCO Insurance Company
      Nationwide Mutual Fire Insurance Company                   Crestbrook Insurance Company
      Nationwide Mutual Insurance Company                        Depositors Insurance Company
      Nationwide Prope1iy and Casualty Insurance                 Nationwide Insurance Company of America
      Company




       President - Lisa E. Gobber                                Secretary - Robert W. Horner, Ill
       Nationwide Insurance Company of Florida                   ALLIED Property and Casualty Insurance Company
                                                                 AMCO Insurance Company
                                                                 Crestbrook Insurance Company
                                                                 Depositors Insurance Company
                                                                 Nationwide Affinity Insurance Company of America
                                                                 Nationwide Agribusiness Insurance Company
                                                                 Nationwide Assurance Company
                                                                 Nationwide General Insurance Company
       President - David A. Bano                                 Nationwide Indemnity Company
       Nationwide Indemnity Company                              Nationwide Insurance Company of America
                                                                 Nationwide Insurance Company of Florida
                                                                 Nationwide Mutual Fire Insurance Company
                                                                 Nationwide Mutual Insurance Company
                                                                 Nationwide Property and Casualty Insurance
                                                                 Company




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13402A (11 ·11)                                                                                               Page 1 of 1
   ADP 0053823613·0     l9Z8   15238              INSURED COPY                                               78   04983
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                                                                                      DPQR3 (5-98)

                                 YOUR DWELLING POLICY QUICK REFERENCE


DECLARATIONS PAGE
   Your Name .
   Location of Your Residence
   Polley Period
   Coverages

   Amounts of Insurance

   Deductible

                                                            Beginning On Page
AGREEMENT                                                            1

DEFINITIONS

COVERAGES
   Property Coverages

   Fair Rental Value
   Additional Living Expense (Forms DP-2 and DP-3)

        Other Structures

        Debris Removal
        Improvements, Alterations and Additions

        World-Wide Coverage
        Rental Value
        Reasonable Repairs
        Property Removed
        Plants, Shrubs and Trees (Forms DP-2 and DP-3)

PERILS INSURE[? AGAINST                                          3

EXCLUSIONS                                                       5

CONDITIONS                                                       7
    Insurable Interest

    Duties After Loss

    Loss Settlement
    Mortgage Clause
    Cancellation
    Non renewal




DPQR3 (5-98)
 ADP 0053823613-0                            INSURED COPY                19Z8 15238     78   4,984
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                                                                                                    Dwelling Property· 3
                                                                                                          Special Form
                                                                                                                (09-83)


                                                       AGREEMENT

We will provide the Insurance described In this policy in return for the premium and compliance with all applicable
provisions of this policy.


                                                       DEFINITIONS

Throughout this policy "you" and "your" refer to the "named Insured" shown in the Declarations. "We", "us" and "our"
refer to the Company providing this Insurance.


                                                       COVERAGES


This insurance applies to the Described Location, Coverages for which a Limit of Llablllty Is shown and Perils Insured
Against for which a Premium Is stated.


                                                 COVERAGE A • DWELLING

We cover:

a.     the dwelling on the Described Location, used principally for dwelling purposesj

b.     structures attached to the dwelling;

c.     materials and supplies on or adjacent to the Described Location for use In the construction, alteration or repair
       of the dwelling or other structures on this location; and

d.     If not otherwise covered in this policy, building equipment and outdoor equipment used for'the service of and
       located on the Described Location.


                                              COVERAGE B • OTHER STRUCTURES

We cover other structures on the Described Location, separated from the dwelling by clear space. Structures con-
nected to the dwelling by only a fence, utility line or similar connection are considered to be other structures.

We do not cover other structures:

a. used in whole or in part for commercial, manufacturihg or farming purposes; or

b. rented or held for rental to any person not a tenant of the dwelling, unless used solely as a private
   garage.


                                          COVERAGE C • PERSONAL PROPERTY

We cover personal property, usual to the occupancy as a dwelling and owned or used by you or members of your
family residing with you while it Is on the Described Location. We will cover, at your request, personal property owned
by a guest or servant while the property is on the Described Location.

We do not cover:
1.·    accounts, bills, bullion, currency, deeds, evidences of debt, manuscripts, money or securities;

DP 3 (09-83)                                                                                                Page 1 of 10
     ADP 0053823613·0                               INSURED COPY                 19Z8 15238                  78   4,985
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 66 of 126 Page ID #:66




                                                                                                       Dwelling Property 3
                                                                                                             Special Form
                                                                                                                      (09-83)

2.     animals, birds or fish;

3.     aircraft and parts;

4.     motor vehicles, other than motorized equipment used to service the Described Location; or

5.     boats, other than rowboats and canoes.

If you remove personal property from the Described Location to a newly acquired principal residence, the Coverage
C limit of liability shall apply at each residence for the 30 days immediately after you begin to move the property there.
This time period shall not extend beyond the termination of this policy. Our liability is limited to the proportion of the
limit of liability that the value at each residence bears to the total value of all personal property covered by this policy.


                                           COVERAGE D ·FAIR RENTAL VALUE

We cover the fair rental value If a loss to property described in Coverage A, B or C by a Peril Insured Against under
this policy makes that part of the Described Location rented to others or held for rental by you unfit for Its normal use.
Payment shall be for the shortest time required to repair or replace the part of the Described Location rented or held
for rental. This period of time is not limited by expiration of this policy.

Fair rental value shall not Include any expense that does not continue while that part of the Described Location rented
or held for rental is unfit for its normal use. If a civil authority prohibits you from use of the Described Location as a
result of direct damage to a neighboring location by a Peril Insured Against in this policy, we cover any resulting fair
rental value loss for a period not exceeding two weeks during which use is prohibited.

We do not cover loss or expense due to cancellation of a lease or agreement.



                                      COVERAGE E ·ADDITIONAL LIVING EXPENSE

We cover the necessary increase in living expense incurred by you so that your household can maintain Its normal
standard of living If a loss to property described In Coverage A, B, or C by a Peril Insured Against under this policy
makes the Described Location unfit for its normal use. Payment shall be for the shortest time required to repair or
replace the Described Location or, if you permanently relocate the shortest time required for your household to settle
elsewhere. This period of time is not limited by the expiration of this policy.

If a civil authority prohibits you from use of the Described Location as a result of direct damage to a neighboring lo-
cation by a Peril Insured Against In this policy, we cover any resulting additional living expense for a period not ex-
ceeding two weeks during which use is prohibited.

We do not cover loss or expense_ due to cancellation of a lease or agreement.



                                                   OTHER COVERAGES

1.     Other Structures· You may use up to 10% of the Coverage A limit of liability for loss by a Rerll Insured Against
       to other structures described In Coverage B. Use of this coverage does not reduce the Coverage A limit of llablllty
       for the same loss.

2.     Debris Removal- We will pay the reasonable expense Incurred by you for the removal of debris from a property
       loss covered by this policy. Debris removal expense Is Included In the limit of liability applying to the damaged
       property.

3.     Improvements, Alterations and Additions- If you are a tenant of the Described Location, you may use up to 10%
       of the Coverage C limit of liability for loss by a Peril Insured Against to improvements, alterations and additions
       made at your expense to that part of the Described Location used only by you. Use of this coverage does not
       reduce the Coverage C limit of liability for the same loss.

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4.     World-Wide Coverage- You may use up to 10% of the Coverage C limit of liability for loss by a Peril Insured
       Against to property covered under Coverage C except rowboats and canoes, while anywhere In the world. Use
       of this coverage reduces the coverage C limit of liability for the same loss.

5.     Rental Value and Additional Living Expense- You may use up to 10% of the Coverage A limit of liability for loss
       of both fair rental value, as described In Coverage D, and additional living expense as described in Coverage E.

       Use of this coverage does not reduce the Coverage A limit of liability for the same loss.

6,     Reasonable Repairs- We will pay the reasonable cost Incurred by you for necessary repairs made solely to pro-
       tect the property covered by this policy from further damage If there Is coverage for the peril causing the loss.
       Use of this coverage Is Included In the limit of llablllty that applies to the property being repaired.

7.     Property Removed- Covered property while being removed from a premises endangered by a Peril Insured
       Against and for not more than 30 days while removed, Is covered for direct loss from any cause. This coverage
       does not change the limit of liability that applies to the property being removed.

8.     Lawns, Plants, Shrubs and Trees- You may apply up to 5% of the Coverage A limit of liability for loss to lawns,
       plants, shrubs, or trees on the Described Location by fire, lightning, smoke, explosion, riot or civil commotion,
       aircraft, vehicles, except vehicles owned or operated by you or a resident of the Described Location, collapse of
       a building, and vandalism or malicious mischief, including damage during a burglary or attempted burglary, but
       not the theft of property. We shall not be liable for more than our proportion of $250 on any one plant, shrub or
       tree including expense incurred for removing debris thereof. We do not cover property grown for commercial
       purposes. Payment under this coverage reduces the Coverage A limit of liability by the amount paid.

9.     Collapse. We Insure for risk of direct physical loss to covered property involving collapse of a building or any
       part of a building caused only by one or more of the following:

       a.   Perils Insured Against In Coverage C - Personal Property. These perils apply to covered building and per-
            sonal property for loss insured by this other coverage;

       b.   hidden decay;

       c.   hidden Insect or vermin damage;

       d.   weight of contents, equipment, animals or people;

       e.   weight of rain which collects on a roof;

       f.   use of defective material or methods in construction, remodeling or renovation if the collapse occurs during
            the course of the co.nstruction, remodeling or renovation.

Loss to an awning, fence, patio, pavement, swimming pool, underground pipe, flue, drain, cesspool, septic tank,
foundation, retaining wall, bulkhead, pier, wharf or dock is not included under items b, c, d, e and f unless the loss is
a direct result of the collapse of a building.

Collapse does not include settling, cracking, shrinking, bulging or expansion.

This coverage does not Increase the limit of liability applying to the .damaged covered property.



                                                 PERILS INSURED AGAINST

                            COVERAGE A DWELLING and COVERAGE 8 OTHER STRUCTURES

We insure for ·risk of direct physical loss to the property described in Coverages A and B except:

1.     collapse, other than as provided in Other Coverage 9;

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2.     freezing of a plumbing, heating or air conditioning system or of a household appliance, or by discharge, leakage
       or overflow from within the system or appliance caused by freezing, while the dwelling Is vacant, unoccupied or
       being constructed unless you have used reasonable care to:
       a.   maintain heat In the building, or
       b.   shut off the water supply and drain the system and appliances of water;

3.     freezing, thawing, pressure or weight of water or Jee, whether driven by wind or not, to a fence, pavement, patio,
       swimming pool, foundation, retaining wall, bulkhead, pier, wharf or dock;

4.     theft of any property which is not actually part of any building or structure covered;

5.     theft in or to a dwelling or structure under construction;

6.     wind, hail, ice, snow or sleet to outdoor radio and television antennas and aerials including their lead-In wiring,
       masts or towers, or to lawns, trees, shrubs or plants;

7.     vandalism and malicious mischief, theft or attempted theft or breakage of glass and safety glazing materials If the
       dwelling has been vacant for more than 30 consecutive days Immediately before the loss. A dwelling being con-
       structed Is not considered vacant;

8.     continuous or repeated seepage or leakage of water or steam over a period of time from within a plumbing,
       heating or air conditioning system or from within a household appliance;

9.     wear and tear; marring; deterioration; inherent vice; latent defect; mechanical breakdown; rust; mold; wet or dry
       rot; contamination; smog; smoke from agricultural smudging or industrial operations; settling, cracking, shrinking,
       bulglng,.or expansion of pavements, patios, foundations, walls, floors, roofs or ceilings; birds, vermin, rodents,
       insects or domestic animals. If any of these cause water to escape from a plumbing, heating or air conditioning
       system or household appliance, we cover loss caused by the water. We also cover the cost of tearing out and
       replacing any part of a building necessary to repair the system or appliance. We do not cover loss to the system
       or appliance from which this water escaped.
10. losses excluded under General Exclusions.

Under Items 1 through 9, any ensuing loss to property described In Coverages A and B not excluded or excepted In
this policy is covered.


                                            COVERAGE C PERSONAL PROPERTY

We Insure for risk of direct physical loss to property described in Coverage C caused by a peril listed below unless
the loss Is excluded in General Exclusions.

1.     Fire or lightning.
2.     Windstorm or hall.

       This peril does not Include loss to the property contained In a building caused by rain, snow, sleet, sand or dust
       unless the direct force· of wind or hail damages the building causing an opening in a roof or wall and the rain,
       snow, sleet, sand or dust enters through this opening, or
       a.   plants, shrubs or trees;
       b.   canoes or rowboats.

3.     Explosion.
4.     Riot or civil commotion.
5.     Aircraft, Including self-propelled missiles and spacecraft.

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6.     Vehicles.
7.     Smoke, meaning sudden and accidental damage from smoke.

8.     Vandalism or malicious mischief.

       This peril does not include loss by pilferage, theft, burglary or larceny.

9.     Damage by Burglars, meaning damage to covered property caused,by burglars.

       This peril does not Lnciude:

       a.   theft of property; or

       b.   damage caused by burglars to property on the Described Location if the dwelling has been vacant for more
            than 30 consecutive days immediately before the damage occurs.

1O. Falling Objects.

       This peril does not Include loss to property contained in the building unless the roof or an exterior wall of the
       building Is first damaged by a falling object. Damage to the falling object itself is not covered.

11. Weight of Ice, snow or sleet which causes damage to property contained in the building.
12. Accidental discharge or overflow of water or steam from within a plumbing, heating, or air conditioning system,
       or from within a household appliance.                                                      ·

       This peril does not include loss:

       a.   to the appliance from which the water or steam esc?ped;
       b.   caused by or resulting from freezing; or

       c.   on the described location caused by accidental discharge or overflow which occurs off the described location.

13. Sudden and accidental tearing apart, cracking, burning or bulging of a steam or hot water heating system, an air
       conditioning system, or an appliance for heating water.

       We do not cover loss caused by or resulting from freezing under this peril.

14. Freezing of a plumbing, heating or air conditioning system or of a household appliance.

       This peril does not include loss on the described location while the dwelling is unoccupied or being constructed,
       unless you have used reasonable care to:

       a.   maintain heat In the building; or

       b.   shut off the water supply and drain the system and appliances of water.

15. Sudden and accidental damage from artificially generated electrical current.

This peril does not Include loss to a tube, transistor or similar electronic components.


                                                   GENERAL .EXCLUSIONS

1.      We do not insure for loss caused directly or Indirectly by any of the following. Such loss Is excluded regardless
       of any other cause or event contributing concurrently or In any sequence to tile loss.

       a.   Ordinance or Law, meaning enforcement of any ordinance or law regulating the use, construction, repair,
            or demolition of property unless specifically provided under this policy.

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       b.   Earth Movement, meaning any loss caused by, resulting from, contributed to or aggravated by earthquake;
            landslide; mudflow; earth sinking, rising or shifting; volcanic eruption meaning· the eruption, explosion or
            effusion of a _volcano; unless direct loss by:
            1)   fire;
            2)   explosion other than the explosion of a volcano; or
            3)   if an insured peril, breakage of glass or safety glazing material;
            ensues and then we will pay only for the ensuing loss.

            The peril volcanic action as defined In this policy Is not considered within the term earth movement.
       c.   Water Damage, meaning:
            1)   flood, surface water, waves, tidal water, overflow of a body of water, or spray from any of these, whether
                 or not driven by wind;
            2)   water which backs up through sewers or drains; or
            3)   water below the surface of the ground, including water which, exerts pressure on, or seeps or leaks
                 through a building, sidewalk, driveway, foundation, swimming pool or other structure.
            Direct loss by fire or explosion resulting from water damage is covered.
       d.   Power Interruption, meaning the interruption of power or other utility service if the Interruption takes place
            away from the Described Location. If a Peril Insured Against ensues on the Described Location, we will pay
            only for loss caused by the ensuing peril.
       e.   Neglect, meaning your neglect to use all reasonable means to save and preserve property at and after the
            time of a loss, or when property is endangered by a Peril Insured Against.
       f.   War, including undeclared war, civil war, Insurrection, rebellion, revolution, warlike act by a military fo.rce
            or military personnel, destruction or seizure or use for a military purpose, and Including any consequence
            of any of these. Discharge of a nuclear weapon shall be deemed a warlike act even If accidental.
       g.   Nuclear Hazard, to the extent   ~etforth   in the Nuclear Hazard Clause of the Conditions.
2.     We do not Insure for loss to property described In Coverages A and B caused by any of the following. However,
       any ensuing loss to property described In Coverages A and B not excluded or excepted in this policy Is covered.
       a.   Weather conditions. However, this exclusion only applies if weather conditions contribute in any way with a
            cause or event excluded In paragraph 1. above to produce the loss;
       b.   Acts or decisions, including the failure to act or decide, of any person, group, organization or governmental
            body;
       c.   Faulty, Inadequate or Defective:
            1)   planning, zoning, development, surveying, siting;
            2)   design, specifications, workmanship, repair, construction, renovation, remodeling, grading, compaction;
            3)   materials used In repair, construction, renovation or remodeling; or
            4)   maintenance;

            of part or all of any property whether on or off the Described Location.




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                                                           CONDITIONS

1.     Policy Period. This policy applies only to loss which occurs during the policy period.

2.     Insurable Interest and Limit of Liability. Even if more than one person has an insurable Interest In the property
       covered, we shall not be liable:
       a.   for an amount greater than the interest of a person insured under this policy; or
       b.   for more than the limit of llablllty that applies.

3.     Concealment or Fraud. We do not provide coverage if you have intentionally concealed or misrepresented any
       material fact or circumstance relating to this insurance.
4.     Your Duties After Loss. In case of a loss to which this Insurance may apply, you shall see that the following duties
       are performed:
       a.   give immediate notice to us or our agent;
       b.   protect the property from further damage, make reasonable and necessary repairs required to protect the
            property, and keep an accurate record of repair expenditures;
       c.   prepare an inventory of damaged personal property showing In detail, the quantity", description, actual cash
            value and amount of loss. Attach to the Inventory all bills, receipts and related documents that substantiate
            the figures in the Inventory;
       d.   exhibit the damaged property as often as we reasonably require and submit to examination under oath;
       e.   submit to us, within 60 days after we request, your signed sworn statement of Joss which sets forth, to the
            best of your knowledge and belief:

            1)   the time and cause of loss;

            2)   the Interest of you and all others In the property Involved and all encumbrances on the property;

            3)   other Insurance which may cover the loss;

            4)   changes In title or occupancy of the property during the term of the policy;

            5)   specifications of any damaged building and detailed estimates for repair of the damage;

            6) . an inventory of damaged personal property described In 4c;

            7)   receipts for additional living expenses incurred and records supporting the fair rental value loss.

5.     Loss Settlement. Covered property losses are settled as follows:

       a.   Personal property and structures that are not buildings at actual cash value at the time of loss but not ex-
            ceeding the amount necessary to repair or replace;

       b.   Carpeting, domestic appliances, awnings, outdoor antennas and outdoor equipment, whether or not attached
            to buildings, at actual cash value at the time of loss but not exceeding the amount necessary to repair or
            replace;
       c.   Buildings under Coverage A or B at replacement cost without deduction for depreciation, subject to the fol-
            lowing:
            1)   If at the time of loss the amount of insurance in this policy on the damaged building is 80% or more of
                 the full replacement cost of the building Immediately prior to the loss, we will pay the cost of repair or
                 replacement, without deduction for depreciation, but not exceeding the smallest of the following
                 amounts:

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                 a)     the limit of liability under this policy applying to the building;
                 b)     the replacement cost of that part of the building damaged for equivalent construction and use on the
                        same premises; or
                 c)     the amount actually and necessarily spent to repair or replace the damaged building.
            2)   If at the time of loss the amount of insurance in this policy on the damaged building is less than 80%
                 of the full replacement cost of the building Immediately prior to the loss, we will pay the larger of the
                 following amounts, but not exceeding the limit of liability under this policy applying to the building:
                 a)     the actual cash value of that part of the building damaged; or
                 b)     that proportion of the cost to repair or replace, without deduction for depreciation, of that part of the
                        building damaged, which the total amount of Insurance In this policy on the damaged building bears
                        to 80% of the replacement cost of the building.

            3)     In determining the amount of Insurance required to equal 80% of the full replacement cost of the building
                 . immediately prior to the loss, you shall disregard the value of excavations, foundations, piers and other
                   supports which are below the undersurface of the lowest basement floor or, where there Is no basement,
                  which are below the surface of the ground Inside the foundation walls, and underground flues, pipes,
                  wiring and drains.
            4)   When the cost to repair or replace the damage is mpre than $1000 or more than 5% of the amount of
                 Insurance In this policy on the building, whichever Is less, we will pay no more than the actual cash value
                 of the damage until actual repair or replacement is completed.
            5)   You may disregard the replacement cost loss settlement provisions and make claim under this policy for
                 loss or damage to buildings on an actual cash value basis and then make claim within 180 days after
                 loss for any additional liability on a replacement cost basis.
6.     Loss to a Pair or Set. In case of loss to a pair or set we may elect to:
       a.   repair or replace any part to restore the pair or set to Its value before the loss; or·
       b.   pay the difference between actual cash value of the property before and after the loss.
7.     Glass Replacement. Covered loss to glass shall be settled on the basis of replacement with safety glazing ma-
       terials when required by ordinance or law.
8.     Appraisal. If you and we fail to agree on the amount of loss, either can demand that the amount of the loss be
       set by appraisal. If either makes a written demand for appraisal, each shall select a competent, Independent
       appraiser and notify the other of the appraiser's identity within 20 days of receipt of the written demand. The two
       appraisers shall then select a competent, impartial umpire. If the two appraisers are unable to agree upon an
       umpire within 15 days, you or we can ask a judge of a court of record in the state of the Described Location to
       select an umpire. The appraisers shall then set the amount of the loss. If the appraisers submit a written report
       of agreement to us, the amount agreed upon shall be the amount of the loss. If the appraisers fail to agree within
       a reasonable time, they shall submit their differences to the umpire. Written agreement signed by any two of
       these three shall set the amount of the loss. Each appraiser shall be paid by the party selecting that appraiser.
       Other expenses of the appraisal and the compensation of the umpire shall be paid equally by you and us.
9.     Other Insurance. If a loss covered by this policy is also covered by other Insurance, we will pay only the pro-
       portion of the loss that the limit of liability that applies under this policy bears to the total amount of insurance
       covering the loss.
10. Subrogation. You may waive in writing before a loss all rights of recovery against any person. If not waived, we
    may require an assignment of rights of recovery for a loss to the extent that payment Is made by us. If an as-
    signment Is sought, the person insured shall sign and deliver all related papers and cooperate with us in any
    reasonable manner.
11. Suit Against Us. No action shall be brought unless there has been compliance with the policy provisions and the
    action is started within one year after the loss.

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12. Our Option. If we give you written notice within 30 days after we receive your signed, sworn statement of loss,
    we may repair or replace any part of the property damaged with equivalent property.
13. Loss Payment. We will adjust all losses with you. We will pay you unless some other person is named in the
    policy to receive payment. Payment for loss will be made within 30 days after we reach agreement with you, entry
    of a final judgment, or the filing of an appraisal award with us.
14. Abandonment of Property. We need not accept any property abandoned by you.
15. Mortgage Clause.

    The word "mortgagee" Includes trustee.

    If a mortgagee Is named in this policy, any loss payable under Coverage A or B shall be paid to the mortgagee
    and you, as interests appear. If more than one mortgagee is named, the order of payment shall be the same as
    the order or precedence of the mortgages.

    If we deny your claim, that denial shall not apply to a valid claim of the mortgagee, If the mortgagee:
    a.   notifies us of any change in ownership, occupancy or substantial change in risk of which the mortgagee is
         aware;
    b.   pays any premium due under this policy on demand if you have neglected to pay the premium;
    c.   submits a signed, sworn statement of loss within 60 days after receiving notice from us of your failure to do
         so. Policy conditions relating to Appraisal, Suit Against Us and Loss Payment apply to the mortgagee.
    If the policy is cancelled by us, the mortgagee shall be notified at least 10 days before the date cancellation takes
    effect.

    If we pay the mortgagee for any loss and deny payment to you:
    a.   we are subrogated to all the rights of the mortgagee granted under the mortgage on the property; or
    b.   at our option, we may pay to the mortgagee the whole principal on the mortgage plus any accrued interest.
         In this event, we shall receive a full assignment and transfer of the mortgage and all securities held as
         collateral to the mortgage debt.
    Subrogation shall not impair the right of the mortgagee to recover the full amount of the mortgagee's claim.
16. No Benefit to Bailee. We will not recognize any assignment or grant any coverage for the benefit of any person
    or organization holding, storing or transporting property for a fee regardless of any other provision of this policy.
17. Cancellation.
    a.   You may cancel this policy at any time by returning it to us or by notifying us In writing of the date cancel-
         lation is to take effect.
    b.   We may cancel this policy only for the reasons stated in this condition by notifying you In writing of the date
         cancellation takes effect. This cancellation notice may be delivered to you, or mailed to you at your malling
         address shown In the Declarations. Proof of malling shall be sufficient proof of notice.
         1)    When you have not paid the premium, whether payable to us or to our agent or under any finance or
               credit plan, we may cancel at any time by notifying you at least 10 days. before the date cancellation
               takes effect.
         2)    When this policy has been in effect for less than 60 days and is not a renewal with us, we may cancel
               for any reason by notifying you at least 10 days before the date cancellation takes effect.
         3)    When this policy has been in effect for 60 days or more, or at any time if it is a renewal with us, we may
               cancel if there has been a material misrepresentation of fact which if known to us would have caused
               us not to issue the policy or if the risk has changed substantially since the policy was issued. This can
               be done by notifying you at least 30 days before the date cancellation takes effect.

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         4)    When this policy Is written for a period longer than one year, we may cancel for any reason at anniver·
               sary by notifying you at least. 30 days before the date cancellation takes effect.                  ·
    c.   When this policy is cancelled, the premium for the period from the date of cancellation to the expiration date
         will be refunded. When you request cancellation, the return premium will be based on our short rate rules.
         When we cancel, the return premium will be pro rata.
    d.   If the return premium is not refunded with the notice of cancellation or when this policy Is returned to us,
         we will refund it within a reasonable time after the date cancellation takes effect.
18. Non-Renewal. We may elect not to renew this policy. We may do so by delivery to you or malling to you at your
    mailing address shown in the Declarations, written notice at least 30 days before the expiration date of this policy.
    Proof of malling shall be sufficient proof of notice.
19. Liberalization Clause. which would broaden the coverage under this policy without additional premium within 60
    days prior to or during the policy period, the broadened coverage will Immediately apply to this policy.
20. Waiver or Change of Policy Provisions. A waiver or change of any provision of this policy must be in writing by
    us to be valid. Our request for an appraisal or examination shall not waive any of our rights.
21. Assignment. Assignment of this policy shall not be valid unless we give our written consent.
22. Death. If you die, we Insure:
    a.   your legal representatives but only with respect to the property covered under the policy at the time of death;
    b.   with respect to your property, the person having proper temporary custody of the property until appointment
         and qualification of a legal representative.
23. Nuclear Hazard Clause.
    a.   "Nuclear Hazard" means any nuclear reaction, radiation, or radioactive contamination, all whether controlled
         or uncontrolled or however caused, or any consequence of any of these.
    b.   Loss caused by the nuclear hazard shall not be considered loss caused by fire, explosion, or smoke, whether
         these perils are specifically named in or otherwise Included within the Perils Insured Against.
    c.   This policy does not apply to Joss caused directly or indirectly by nuclear hazard, except that direct loss by
         fire resulting from the nuclear hazard is covered.


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                                                                                                     DP 300CA (10·14)

                                                  SPECIAL PROVISIONS

   DEFINITIONS
   In Forms DP1, DP2 and DP3, the DEFINITIONS section Is replaced by the following:
  Throughout this policy, "you" and "your" refer to the "named insured" shown in the Declarations and the spouse if
  a resident of the same household.
  The term spouse includes a:
   1.   Husband or wife; or
   2. If unmarried, a:
        a.   Civil partner by Civil Union or Registered Domestic Partnership filed and recognized by the state; or
        b. "Domestic partner".
   "We", "us" and "our" refer to the Company providing this insurance.
   In Forms DP1, DP2 and DP3, the following definition is added:
   "Domestic partner" means a person living with you and sharing a common domestic life and whose relationship
   resembles a mutually exclusive partnership such as that of a marriage, and:                        ·
       a. is at least 18 years of age and capable of entering Into a legal contract; ·
        b. Is not a relative; and
        c. shares with you financial interdependence and a common residence.
        Evidence of such includes, but Is not limited to:
             1) Joint domestic responsibility for the maintenance of the household.
             2) Having joint financial obligations, resources, or assets.
             3) Documents such as a driver's license, tax returns, or bills showing a common address for both
                parties.
             4) Both parties receiving mall at the same address.
             5) A declaration of domestic partnership with that person or similar declaration about that person with an
                employer or government entity.
   A "domestic partner" does not include more than one person, a roommate or housemate whether sharing
   expenses equally or not, or one who pays rent to the named insured.
   COVERAGES
   Under COVERAGE A· DWELLING, the following paragraph is added:
   This coverage does not apply to land, including land on which the dwelling Is located.
   Under COVERAGE B ·OTHER STRUCTURES, the following paragraph is added:
   This coverage does not apply to land, including land on which the other structures are located.
   Under COVERAGE C ·PERSONAL PROPERTY, Item 4. Is deleted and the following substituted:
   4.   motor vehicles or motorized bicycles, other than motorized equipment used to service the Described Location:
        or
   In Forms DP 2 and DP 3, under OTHER COVERAGES, item 8. Lawns, Plants, Shrubs and Trees is deleted
   and the following substituted:
   8.   Lawns, Plants, Shrubs and Trees - You may apply up to 5% of the Coverage A limit of liability or $10,000,
        whichever is less, for loss to lawns, plants, shrubs, or trees on the Described Location by fire, lightning,
        smoke, explosion, riot or civil commotion, aircraft, vehicles, except vehicles owned or operated by you or a
        resident of the Described Location, collapse of a building, and vandalism or malicious mischief, including
        damage during a burglary or attempted burglary, but not the theft of property. We shall not be liable for more
        than our proportion of $250 on any one plant, shrub or tree including expense incurred for removing debris
        thereof. We do not cover plants, shrubs or trees grown for commercial purposes. We do not cover plants,

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  DP 300CA (10-14) , ·
                 l

        shrubs or trees that are part of, or a continuation of, a forest including a national forest or wildlife preserve.
        Payment under this coverage reduces the Coverage A limit of liability by the amount.
  PERILS INSURED AGAINST
  In DP-1, 2, 3: Any reference to:
      "vacant for more than 30 consecutive days Immediately before the loss".
  under Perils Insured Against, concerning vandalism and malicious mischief, glass breakage, or accidental
  discharge or overflow of water or steam, Is revised to state:
      "vacant for more than 60 consecutive days immediately before the loss".
  The following peril is added:
  Volcanic Action. Meaning only direct loss to a building or property contained In. a building resulting from the
  eruption of a volcano when the direct loss Is caused by:
        a.   volcanic blast or airborne shock waves; or
        b.   ash, dust or particulate matter; or
        c.   lava flow.
  Cost of Removal
  We will pay for the removal of only the ash, dust or particulate matter which has caused direct loss to a building or
  property contained in a building.
  One or more· volcanic eruptions that occur within a 72-hour period shall be considered as one volcanic eruption.
  Form DP-2
   Item 1O. Damage by Burglars is deleted and the following substituted:
  10. Damage by Burglars, meaning damage to covered property caused by burglars.
        This peril does not include:
        a. theft of property; or
        b. damage caused by burglars to property on the Described Location if the dwelling has been vacant for
            more than 60 consecutive days Immediately before the damage occurs.
   COVERAGE C PERSONAL PROPERTY
   Form DP-3
   Item 9. Damage by Burglars is deleted and the following substituted:
   9. Damage by Burglars, meaning damage to covered property caused by burglars.
       This peril does not Include:
       a. theft of property; or
       b. damage caused by burglars to property on the Described Location If the dwelling has been vacant for
           more than 60 consecutive days Immediately before the damage occurs.
   GENERAL EXCLUSIONS
   Forms DP-1 and DP-2
   Item 2. Earth Movement is deleted and the following substituted:
   2.  Earth Movement. Meaning any loss caused by, resulting from, contributed to or aggravated by earthquake;
       landslide; mudflow; earth sinking, rising or shifting; volcanic eruption meaning the eruption, explosion or
       effusion of a volcano, unless direct loss by:
       a. fire;
       q. explosion other than the explosion of a volcano; or
       c. if an insured peril, breakage of glass or safety glazing material;
       ensues and then we will pay only for the ensuing loss.

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                                                                                                            DP 300CA (10-14)
          The peril _volcanic action as defined in this policy is not considered within the term earth movement.
   CONDITIONS
   Item 3. Concealment or Fraud Is deleted and the following substituted.
   3. Concealment or Fraud. We do not provide coverage for the individual named insured who has Intentionally
       concealed or misrepresented any material fact or circumstance relating to this insurance.
   4. Your Duties After Loss. Paragraphs d. and e. are deleted and the following substituted:
          d.    as   often as we reasonably require:
                1)    exhibit the damaged property:
                2)    provide us with records and documents we request and permit us to make copies; and
                3)    submit to examination under oath and subscribe the same.
          e.    s_ubmit to us, within 60 days after we request your signed, sworn proof of loss which sets forth, to the best
                of your knowledge and belief:
                1) the time and cause of loss;
                2)    interest of you and all others in the property involved and all encumbrances on the property;
                3)    other insurance which may cover the loss;
                4)    changes In title or occupancy of the property during the term of the policy;
                5)    specifications of any damaged building and detailed estimates for repair of the damage;
                6)    an Inventory of damaged personal property described in 4.c.;
                7)    receipts for additional living expenses incurred and records supporting the fair rental value loss.
   Item 5. Loss Settlement c. 5) is deleted and the following substituted.
   c.5)We must be notified within:
     a) 24 months after our payment for actual cash value if the loss or damage relates to a state of emergency
        under California law; or
     b)        12 months after our payment for actual cash value in all other cases;
   that you Intend to repair or replace the damaged property.
   Item 9. Other Insurance is deleted and the following substituted:
   9. Othe·r Insurance. If the property covered by this pollcy is also covered by other fire Insurance, we will pay
       only the proportion of a loss caused by any peril insured against under this pol!cy that the limit of liability
       applying under this pollcy bears to the total amount of fire insurence covering the property.
   Item 13. Loss Payment Is deleted and the following substituted:
   13. Loss Payment. We will adjust al! losses with you. We will pay you unless some other person is named in the
       policy or Is legally entitled to receive payment. Loss will be payable 30 days after we receive your proof of
       loss and:
       a. reach agreement with you; or
       b. there Is an entry of a final judgment; or
       c. there is a filing of an appraisal award with us.
   17. Cancellation. Paragraphs b.2), b.3), b.4), c. and d. are deleted and the following substituted:
          b.     2) When this policy has been in effect for less than 60 days and is not a renewal with us, we may not
                    cancel this policy solely because you have accepted our offer of earthquake coverage. However, we
                    may cancel for any other reason by letting you know at least 20 days before the date cancellation
                    takes effect.
                       However, in the event of a total loss to the dwelling, we will not cancel while any structure at the
                     . described location is being rebuilt except for reasons llsted In 17. Cancellation b. 1 and b.3.



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  DP 300CA
         , (10-14)
            3) When this policy has been In· effect for 60 days or more, or at any time if It is a renewal with us, we
               may only cancel if there has been:
               a) Conviction of a crime having as one of its necessary elements an act increasing the hazard
                   Insured against; or
               b) Discovery of fraud or material misrepresentation; or
               c) Discovery of grossly negligent acts or omissions substantially increasing any of the hazards
                   insured against; or
               d) Physical changes in the property insured against which results In the property becoming
                   uninsurable. However, we may not cancel this policy solely because of physical changes that
                   occur due to a total loss.
               This can be done by notifying you at least 30 days before the date cancellation takes effect.
            4) When this policy is written for a period longer than one year, we may cancel for any reason at
               anniversary by notifying you at least 45 days before the date cancellation takes effect.
       c.  When this policy is cancelled, the premium for the period from the date of cancellation to the expiration
           date will be refunded. When the policy is cancelled, the return premium will be pro rata.
       d. If, when we cancel this policy, the return premium Is not refundep with the notice of cancellation, we will
           refund It within 25 days after we send the cancellation notice to you. If, when you cancel this policy, the
           return premium is not refunded when this policy is returned to us, we will refund it within 25 days of the
         · date when we receive your notice of cancellation.
   Item 18. Non-Renewal is deleted and the following substituted:
   18. Non-Renewal
       a. We may elect not to renew this policy, subject to the provisions of b. below. We may do so by delivering
           to you, or mailing to you at your mailing address shown In the Declarations, written notice at least 45 days
           before the expiration date of this policy. Proof of mailing will be sufficient proof of notice.
       b. We will not refuse to renew this policy solely because you have accepted our offer of earthquake
           coverage.
       c. We will not refuse to renew this policy solely on the grounds that a claim is pending under the policy
           unless such a claim is made under coverage for loss caused by an earthquake.
       d. We will not refuse to renew this policy solely on the basis of an "insured's" age.
       e. If this policy Is written for a period of less than, one year, we agree not to refuse to renew except at the
           end of an annual period commencing with the original or renewal effective date.
   The following Is added:
   24. Dividends.
       The first named Insured is entitled to any dividends which are declared by the Board of Directors and are
       applicable to coverages in this policy.
   All other provisions of this policy apply.


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                                                                                                        10783 (12-88)

                                              AMENDMENT OF CONDITIONS


    Number 13. Loss Payment

    The following is added to the Loss Payment provision:

    If we have paid a loss for damage to your real or personal property, we will take appropriate deductions from any
    payment due for any subsequent loss for damage to the same covered real or personal property, unless you furnish
    us with proof that the prior damage has been repaired.                    ·




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                                                                                                         10940 (07·89)

                               CALIFORNIA INSURANCE GUARANTEE ASSOCIATION

                          IMPORTANT INFORMATION FOR CALIFORNIA POLICYHOLDERS


Companies writing property and casualty insurance business in California are required to participate in the California
Insurance Guarantee Association. If a company becomes insolvent the California Insurance Guarantee Association
settles unpaid claims and assesses.each insurance company for its fair share.

California law requires all companies to surcharge policies to recover these assessments.       If your policy is su.r-
charged, "CA Surcharge" with an amount will be displayed on your premium notice.




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                                                                                                       12687 (01-98)

                                          ADDITIONAL INSURED • LIABILITY


Named and Address of Person or Organization
   PETER & HELEN KIM LIVING TRUST

   2029 VERDUGO BLVD PMB 253

   MONTROSE, CA 91020·1626


Residence Premises
   1925 LOMBARDY DR

   LA CANADA FLINTRIDGE, CA 91011·1530


lntere'st
   TRUST



The definition of INSURED in this policy includes the person or organization named above with respect to Coverage
L • Personal Liability and Coverage M - Medical Payments to Others.

This coverage does not apply to "bodily Injury" to any employee arising out of or In the course of the employee's
employment by the person or organization.

If this policy is cancelled or not renewed by us, the party named above will be notified In writing.



                                    Copyright, Insurance Services Office, Inc., 1988




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                                                                                                       .13432 (01 •98)

                                         ADDITIONAL INSURED - PROPERTY


Name and Address of Person or Organization
  PETER & HELEN KIM LIVING TRUST

  2029 VERDUGO BLVD PMB 253

  MONTROSE, CA 91020-1626


Residence Premises
  1925 LOMBARDY DR

  LA CANADA FLINTRIDGE, CA 91011-1530


Interest
   TRUST




The definition of INSURED In this policy includes the person or organization named above with respect h Coverage
A - Dwell.Ing, Coverage B - Appurtenant Structures.                        ·

If this policy Is cancelled or not renewed by us, the party named above will be notified In writing.




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                                                                                                           11796 (08-11)

            Notice to Consumers· California Residential Property Insurance Disclosure
 This disclosure is required by Section 10102 of the California Insurance Code. This form provides general information
 related to residential property insurance and is not part of your residential property insurance policy. Only the specific
 provisions of your policy will determine whether a particular loss is covered and tl1e amount payable. The information
 provided does not preempt existing California law.

                             PRIMARY FORMS OF RESIDENTIAL DWELLING COVERAGE

 You have purchased the coverage(s) checked below. NOTE: Actual Cash Value is the most limited level of
 coverage listed. Guaranteed. Replacement Cost Is the broadest level of coverage.

 _     ACTUAL CASH VALUE COVERAGE pays tl1e costs to repair the damaged dwelling minus a deduction for
 physical depreciation. If the dwelling is completely destroyed, this coverage pays tl1e fair market value for the dwelling
 at time of loss. In eitl1er case, coverage only pays for costs up to the limits specified in your policy.

 _     REPLACEMENT COST COVERAGE is intended to provide for tl1e cost to repair or replace the damaged or
 destroyed dwelling, without a deduction for physical depreciation. Many policies pay only tl1e dwelling's actual cash
 value until the insured has actually begun or completed repairs or reconstruction on the dwelling. Coverage only pays
 for replacement costs up to the limits specified in your policy.

 _x__ EXTENDED REPLACEMENT COST COVERAGE is intended to provide for the cost to repair or replace the
 damaged or destroyed dwelling without a deduction for physical depreciation. Many policies pay only the dwelling's
 actual cash value until the insured has actually begun or completed repairs or reconstruction on the dwelling. Extended
 Replacement Cost provides additional coverage above the dwelling limits up to a stated percentage or specific dollar
 amount See your policy for tl1e additional coverage that applies.

 _    GUARANTEED REPLACEMENT COST COVERAGE covers the full cost to repair or replace the damaged or
 destroyed dwelling for a covered peril regardless of the dwelling limits shown on the policy declarations page.

 __x_BUILDING CODE UPGRADE COVERAGE, also called Ordinance and Law coverage, is an important option that
 covers additional costs to repair or replace a dwelling to comply with the building codes and zoning laws in effect at the
 time of loss or rebuilding. These costs may otherwise be excluded by your policy, Meeting current building code
 requirements can add significant costs to rebuilding your home. Refer to your policy or endorsement for the specific
 coverage provided and coverage limits that apply.

  READ YOUR POLICY AND POLICY DECLARATIONS PAGE CAREFULLY: The policy declarations page shows the
  specific coverage limits you have purchased for your dwelling, personal property, separate structures sucl1 as detached
. garages, and additional living expenses. The actual policy and endorsements provide the details on extensions of
  coverage, limitations of coverage, and coverage conditions and exclusions. The amount of any claim payment made to
  you will be reduced by any applicable deductibles shown on your policy declarations page. It is important to take the
  time to consider whether the limits and limitations of your policy meet your needs. Contact your agent, broker, or
  insurance company If you have questions about what is covered or if you want to discuss your coverage options.




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 11796 (08-11)

                 INFORMATION YOU SHOULD KNOW .ABOUT RESIDENTIAL DWELLING INSURANCE

 AVOID BEI°NG UNDERINSURED: Insuring your home for less than its replacement cost may result in your having to
 pay tl1ousands of dollars out of your own pocket to rebuild your home if it is completely destroyed. Contact your agent,
 broker, or insurance company immediately if you believe your policy limits may be inadequate.

 THE RESIDENTIAL DWELLING COVERAGE LIMIT: The coverage limits on the dwelling structure should be high
 enough so you can rebuild your home if it is completely destroyed. Please note:
    • The cost to rebuild your home is almost always different from the market value.
    • Dwelling coverage limits do not cover the value of your land.
        The estimate to rebuild your home should be based on construction costs in your area and should be adjusted
        to account for the features of your home. These features include but are not limited to the square footage, type
        of foundation, number of stories, and the quality of the materials used for items such as flooring, countertops,
        windows, cabinetry, lighting and plumbing.
     • The cost to rebuild your home should be adjusted each year to account for inflation.
     • Coverage limits for contents, separate structures, additional living expenses and debris removal are usually
        based on a percentage of the limit for the dwelling. If your dwelling limit is too low, these coverage limits may
        also be too low.

 You are encouraged to obtain a current estimate of the cost to rebuild your home from your insurance agent. broker, or
 insurance company or an independent appraisal from a local contractor, arcl1itect, or real estate appraiser. If you do
 obtain an estimate of replacement value, and wish to change your policy limits, contact your insurance company. While
 not a guarantee, a current estimate can help protect you against being underinsured.

 DEMAND SURGE: After a widespread disaster, the cost of construction can increase dramatically as a result of the
 unusually high demand for contractors, building supplies and construction labor. This effect is known as demand
 surge. Demand surge can increase the cost of rebuilding your home. Consider increasing your coverage limits or
 purchasing Extended Replacement Cost coverage to prepare for this possibility.

 CHANGES TO PROPERTY: Changes to your property may increase its replacement cost. These changes may
 include the building of additions, customizing your kitchen or bathrooms, or otherwise remodeling your home. Failure to
 advise your Insurance company of any significant changes to your property may result in your home being
 underinsured.

 EXCLUSIONS: Not all causes of damage are covered by common homeowners or residential fire policies. You need
 to read your policy to see what causes of loss or perils are not covered. Coverage for landslide is typically excluded.
 Some excluded perils such as earthquake or flood can be purchased as an endorsement to your policy or as a
 separate policy. Contact your agent, broker, or insurance company if you have a concern about any of the exclusions.
 in your policy.                          ·                                                                    · ·

 CONTENTS (PERSONAL PROPERTY) COVERAGE DISCLOSURE: This disclosure form does not explain the types
 of contents coverage provided by your policy for items such as your furniture or clothing. Contents may be covered on
 either an actual casl1 value or replacement cost basis depending on the contract. Almost all policies include specific
 dollar limitations on certain property that is particularly valuable such as jewelry, art, or silverware. Contact your agent,
 broker or insurance company if you have any questions about your contents coverage. You should create a list of all
 personal property in and around your home. Pictures and video recordings also help you document your property. The
 list, photos, and video should be stored away from your home.

 CONSUMER ASSISTANCE: If you have any concerns or questions, contact your agent, broker or insurance company.
 You are also encouraged to contact t11e California Department of Insurance consumer information line at (800) 927-
 HELP (4357), or at www.insurance.ca.qov for free insurance assistance.




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                                                                                                           11796 (08-11)
                       CALIFORNIA RESIDENTIAL PROPERTY INSURANCE BILL OF RIGHTS

 A consumer is entitled to receive information regarding homeowner's insurance. The following Is a limited overview of
 information that your insurance company can provide:
      • The insurance company's customer service telephone number for underwriting, rating, and claims inquiries.
      • A written explanation for any cancellation or non-renewal of your policy.
      • A copy of the insurance policy.
      • An explanation of how your policy limits were established.
      • In the event of a claim, an itemized, written scope of loss report prepared by the insurer or its adjuster within a
         reasonable time period.
      • In the event of a claim, a copy of the Unfair Practices Act and, if requested, a copy of the Fair Claims
          Settlement Practices Regulations.
      • In the event of a claim, notification of a consumer's rights with respect to the appraisal process for resolving
          claims disputes.
      • An offer of coverage and premium quote for earthquake coverage, if eligible.

 A consumer is also entitled to select a licensed contractor or vendor to repair, replace, or rebuild damaged property
 covered by the insurance policy.

 The information provided herein is not all inclusive and does not.negate or preempt existing California law. ·If you have
 any concerns or questions, contact your agent, broker, insurance company, or the California Department of Insurance
 consumer information line at (800) 927-HELP (4357), or at www.insurance.ca.qov for free insurance assistance.

 This insurer reports claim information to one or more claims information databases. The claim information is used to
 furnish loss history reports to insurers. If you are interested in obtaining a report from a claims information database,
 you may do' so by contacting:

 Lexis-Nexis Consumer Center
 (800) 456-6004
 www.consumerdisclosure.com




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                                                                                                         13447 (03-93)

                           LEAD PAINT EXCLUSION • DWELLING LIABILITY COVERAGE


Under EXCLUSIONS, 16 has been added.
16. We do not pay for bodily Injury or property damage that arises out of lead, the use of lead, any exposure to lead
    (Including, but not limited to, lead paint, lead soldering, lead leaching, lead products, products containing lead)
    and/or any other lead related bodily Injury or property damage of any type or form Including, but not limited to,
    any bodily Injury or property damage arising out of or alleged to have arisen out of any act, error, omission,
    failure to warn, or other alleged duty involving, but not limited to, lead use, exposure, existence, detection, re-
    moval, ellmlnatlon or avoidance.




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                                                                                                            13449 (5-95)


                                      INFLATION PROTECTION ENDORSEMENT
                                                 DWELLING FIRE


The following Additional Policy Provision is hereby added to the policy:

INFLATION PROTECTION--The company may Increase the limits of liability for Coverage A at the beginning of each
policy period, based upon reports of recognized appraisal agencies, reflecting cost changes in construction. Payment
of the continuation premium will constitute the insured's acceptance of the r,evlsed limits of liability as shown on. the
Continuation Declarations.




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                                                                                                           43BBFU NS (05-42)

                                         LENDER'S LOSS PAYABLE ENDORSEMENT



1.     Loss or damage, if any, under this policy, shall be paid to the Payee named on the first page of this policy, its
       successors and assigns, hereinafter referred to as "the Lender", In whatever form or capacity Its interests may
       appear and whether said interest be· vested in said Lender In Its Individual or in Its disclosed or undisclosed
       fiduciary or representative capacity, or otherwise, or vested in a nominee or trustee of said Lender.

2.     The Insurance under this policy, or any rider or endorsement attached thereto, as to the interest only of the
       Lender, its successors and assigns, shall not be invalidated nor suspended: (a) by any error, omission, or change
       respecting the ownership, description, possession, or location of the subject of the insurance or the Interest
       therein, or the title thereto; (b) by the commencement of foreclosure proceedings or the giving of notice of sale·
       of. any of the property covered by this policy by virtue of any mortgage or trust deed; (c) by any breach of war-
       ranty, act, omission, neglect, or non-compliance with any of the provisions of this policy, including any and. all
       riders now or hereafter attached thereto, by the named insured, the borrower, mortgagor, trustor, vendee, owner;
       tenant, warehouseman, custodian, occupant, or by the agents of either or any of them or by the happening of any
       event permitted by them or either ot"them, or their agents, or which they failed to prevent, whether occurring
       before or after the attachment of this endorsement, or whether before or after a loss, which under the provisions
       of this policy of insurance or of any rider or endorsement attached thereto would Invalidate or suspend the In-
       surance as to the named insured, excluding herefrom, however, any acts or omissions of the Lender while ex-
       ercising active control and management of the property.

3.     In the event of failure of the Insured to pay any premium or additional premium which shall be or become due
       under the terms of this policy or on account of any change in occupancy- or increase in hazard not permitted by
       this policy, this Company agrees to give written notice to the Lender of such non-payment of premium after sixty
       (60) days from and within one hundred and twenty (120) days after due date of such premium and It is a condition
       of the continuance of the rights of the Lender hereunder that the Lender when so notified In writing by this
       Company of the failure of the insured to pay such premium shall pay or cause to be paid the premium due within
       ten (1 O) days following receipt of the Company's demand in writing therefor. If the Lender shall decline to pay said
       premium or additional premium, the rights of the Lender under this Lender's Loss Payable Endorsement shall
       not be terminated before ten (10) days after receipt of said written notice by the Lender.

4.     Whenever this Company shall pay to the Lender any sum for loss or damage under this policy and shall claim that
       as to the Insured no liability therefor exists, this Company, at its option, may pay to the Lender the whole principal
       sum and interest and other indebtedness due or to become due from the insured, whether secured or unsecured,
       (with refund of ail interest not accrued), and this Company, to the extent of such payment, shall thereupon receive
       a full assignment and transfer, without recourse, of the debt and all rights and securities held as collateral
       thereto.

5.     If there be any other insurance upon the within described property, this Company shall be liable under this policy
       as to the Lender for the proportion of such loss or damage that the sum hereby insured bears to the entire in-
       surance of similar character on said property under policies held by, payable to and expressly consented to by
       the Lender. Any Contribution Clause Included in any Fallen Building Clause Waiver or any Extended Coverage
       Endorsement attached to this contract of insurance is hereby nulllfled, and also any Contribution Clause In any
       other endorsement or rider attached to this contract of Insurance is hereby nullified except Contribution Clauses
       for the compliance with which the insured has received reduction in the rate charged or has received extension
       of the coverage to include hazards other than fire and compliance with such Contribution Clause is made a part
       of the consideration for insuring such other hazards. The Lender upon the payment to it of the full amount of Its
       claim, will subrogate this Company (pro rata with all other insurers contributing to said payment) to all of the
       Lender's rights of contribution under said other insurance.

6.     This Company reserves the right to cancel this policy at any time, as provided by Its terms, but In such case this
       pol Icy shall continue In force for the benefit of the Lender for ten (10) days after written notice of such cancellation
       Is received by the Lender and shall then cease.

7.     This pol Icy shall remain in full force and effect as to the interest of the Lender for a period of ten (10) days after
       its expiration unless an acceptable policy In renewal thereof with loss thereunder payable to the Lender In ac-
       cordance with the terms of this Lender's Loss Payable Endorsement, shall have been Issued by some Insurance
       company and accepted by the Lender.

438BFU NS (05-42)                                                                                                   Page 1 of 2
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                                                                                                     438BFU NS (05-42)

B.     Should legal title to and beneficial ownership of any of the property covered under this policy become vested In
       the Lender or its agents, Insurance under this policy shall continue for the term thereof for the benefit of the
       Lender but, in such event, any privileges granted by this Lender's Loss Payable Endorsement which are not also
       granted the insured under the terms and conditions of this policy and/or under other riders or endorsements at-
       tached thereto shall not apply to the insurance hereunder as respects .such property.
9.     All notices herein provided to be given by the Company to the Lender in connection with this policy and this
       Lender's Loss Payable Endorsement shall be mailed to or delivered to the Lender at Its office or branch described
       on the first page of the policy.

Approved:
  Board of Fire Underwriters of the Pacific,
  California Bankers' Association,
                Committee on Insurance.




438BFU NS (05-42)                                                                                            Page 2 of 2
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                                                                                                 HO 277 (01-79)

                                             Building Ordinance or Law Coverage   .


For an additional premium, loss for damage by a Peril Insured Against to the dwelling under Coverage A shall be
settled on the basis of any ordinance or law regulating the construction, repair or demolition of the dwelling.


All other provisions of this policy apply.


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HO 277 (01-79)
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                                                                                                     12567P (01-07)

          THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                      DWELLING REPLACEMENT COST




   In return for your having:
   1) furnished us accurate information for replacement cost estimation,
   2) paid the additional premium, and
   3) agreed to notify us within 90 days of the start of any alterations which Increase the replacement cost of your
        dwelling more than $5,000, and pay any resulting additional premium;
   We will settle covered losses to the dwelling under Coverage A, up to 125% of the limit of liability shown In the
   Declarations for Coverage A as follows:
   1) we will pay the cost of repair or replacement, but not exceeding the replacement cost of that part of the build-
      ing damaged, for like construction and use on the same premises;
   2) we will pay the actual cash value of the damage until actual repair or replacement is completed;
   3) We must be notified within 12 months after our payment for actual cash value that you Intend to repair or
       replace the damaged property. 12 months Is extended to 24 months if the loss or damage relates to a state of
       emergency under California law.


   Th ls endorsement does not increase the coverage limits of Coverage B, C, Dor any additional coverages or sub-
   limits of the attached policy.




   12567P (01-07)                                                                                         Page 1of1
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                                                                                                                       DL2482 (05·00)


                                                      PERSONAL INJURY


               THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

For an additional premium, under COVERAGE L •                             The policy exclusions do not apply to personal In-
PERSONAL LIABILITY, the definition bodily Injury Is                       jury. Personal Injury insur-ance does not apply to:
amended to include personal injury.
                                                                          1.   Llablllty assumed by the Insured under any
Personal injury means injury arising out of one or                             contract or agreement except any Indemnity
more of the following offenses:                                                obligation assumed by the Insured under a
                                                                               written contract directly relating to the owner-
1.     False arrest, detention or Imprisonment, or ma-                         ship, maintenance or use of the premises;
       licious prosecution;                                               2.   Injury caused by a Violation of a penal law or·
                                                                               ordinance committed by or with the knowledge
2.     Libel, slander or defamation of character; or                           or consent of an Insured;
3.     Invasion of privacy,         wrongful    eviction    or            3.   Injury sustained by any person as a result of an
       wrongful entry.                                                         offense directly or Indirectly related to the em-
                                                                               ployment of this person by the Insured;
Business me.ans:
                                                                          4.   Injury arising out of or in connection with a
1.     A trade, profession or occupation engaged in                            business engaged In by an insured. This ex-
       on a full-time, part-tlmE:J or occasional basis; or                     clusion applies but is not limited to an act or
                                                                               omission, regardless of Its nature or circum-
2.     Any other activity engaged in for money or
                                                                               stances, involving a service or duty rendered,
       other compensation, except the following;
                                                                               promised, owed, or implied to be provided be-
       a.   Volunteer activities for which no money is                         cause of the nature of the business;
            received other than payment for expenses                      5.   Civic or public activities performed for pay by
            Incurred to perform the activity;                                  an Insured; or
       b.   Providing home day care services for which                    6.   Injury to you or an Insured within the meaning
            no compensation Is received, other than                            of insured as defined In Comprehensive Per-
            the mutual exchange of such services; or                           sonal Liability Endorsement (13412) or Dwelling
                                                                               Liability Coverage (13410).
       c.   The rendering of home day care services
            to a relative of an insured.                                  All other provisions of this policy apply.


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DL24B2 (05·00)
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                                                                                                               13410 (12-86)

                                              DWELLING LIABILITY COVERAGE


This coverage is subject to the terms shown below. Policy terms that relate to cancellation, changes made to the
policy, examination of books and records, inspections and surveys, and assignment or transfer of rights or duties also
apply.

DEFINITIONS

1.     Auto· This means a land motor vehicle, a trailer or a semi-trailer which is designed for use on public roads. Auto
       Includes attached machinery and equipment.
2.     Bodily Injury ·This means bodily harm, sickness or disease to a person which occurs during the policy period.
       Bodily Injury Includes death resulting therefrom.
3.     Business ·This means a trade, profession or occupation, whether full or part time. Business does not include:
       a.   an incidental office, professional, private school or studio occupancy on the Insured premises.
       b.   rental of the insured premises to others for rooming or boarding use.
       c.   rental of car space at the insured premises.
4.     Incidental Contract ·This means a written:
       a.   lease of premises.
       b.   easement agreement.
       c.   promise to Indemnify a municipality for a loss if It is required by an ordinance, exc.ept if the work is d~ne for
            the municipality.
5.     Insured • If shown on the declarations as:
       a.   an "individual", insured means you, your spouse and relatives If residents of your household, and persons
            under the age of 21 in your care or In the care of your spouse or resident relatives.
       b.   a "partnership" or a "joint venture", insured means you, all partners and members, and spouses, but only
            with respect to their liability as such.
       c.   an "organization" (other than a "partnership" or a "joint venture"), insured means the organization and all
            of its executive officers, directors or stockholders, but only with respect to their liability as such.
       Insured includes:

       ®    an organization or a person, other than your employee, while acting as your real estate manager.

       ®    your legal representative If you die while Insured by this policy, but only while acting within the scope of
            duties as such. Insured also Includes a person who has custody of your property untll your legal represen-
            tative is appointed, but only with respect to your property.

6.     Insured Premises ·This means:

       a.   the one-to four-family dwelling shown on the declarations, and the grounds at that location.
       b.   an Incidental garage or stable.
       c.   an incidental garden on land not owned by you.
       d.   your cemetery lots and your burial vaults.
       e.   all access ways adjoining the insured premises.

13410 (12-86)                                                                                                    Page 1 of 5
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                                                                                                          13410 (12-86)

7.     Limit. This means the limit of liability that applies for the coverage.
8.     Occummce - This means an accident and includes loss from repeated exposure to similar conditions.

9.     Property Damage ·This means:
       a.   physical injury or destruction of tangible property.
       b.   the loss of use of tangible property.
10. Recreational Motor Vehicle ·This means a self-propelled land vehicle (regardless of the method of surface con-
    tact), Including Its trailer and all parts and equipment, that is designed or is used for leisure time activities.
    Recreational Motor Vehicle does not Include a vehicle:

       a.   if it is subject to motor vehicle registration.

       b.   if it was originally designed for use on public roads.
11. Terms • This means all provisions, limitations, exclusions, conditions and definitions of this coverage.
12. We, Us, Our· These words mean the company providing this coverage.
13. You, Your • These words mean the persons or organizations named on the declarations.
PRINCIPAL COVERAGES

COVERAGE L • Bodily Injury or Property Damage

We pay, up to our limit, all sums for which an insured is liable by law because of bodily injury or property damage
caused by·an occurrence arising out of an insured premises or its incidental operations. We will defend a suit seeking
damages if the suit results from such bodily injury or property damage. We may make Investigations or settle claims
or suits that we decide are appropriate. We do not have to provide a defense after we have paid an amount equal to
our limit as a result of a judgement or a written settlement.

Coverage M • Medical Payments to Others

We pay the necessary medical expenses if they are Incurred or medically determined within one year from the date
of an accident causing covered bodily injury. Medical expenses means the reasonable charges for medical, surgical,
x-ray, dental, ambulance, hospital, professional nursing, funeral services, prosthetic devices, and eyeglasses, In-
cluding contact lenses.                         ·

INCIDENTAL· COVERAGES

These are additional coverages and are subject to all the terms of the Principal Coverages.

1.     Claims and Defense Expense Coverage - If we defend a suit, we pay:

       a.   the costs taxed to an insured.

       b.   the costs Incurred by us.
       c.   the actual loss of earnings by an insured for time spent away from work at our request. We pay up to $100
            per day.
       d.   the necessary costs Incurred by you at our request.
       e.   the Interest which accrues after the entry of a judgment, but ending when we tender or pay up to our limit.
       f.   the cost of appeal bonds or bonds for the release of attachments for bond amounts up to our limit. We are
            not required to apply for or furnish bonds.

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                                                                                                                 13410 (12-86)

           g.   the cost, up to $500, for ball bonds required of an Insured because of an accident or traffic violation arising
                out of the use of a vehicle to which this coverage applies. We are not required to apply for or furnish bonds.
    2.     First Aid Expense Coverage - We pay the costs Incurred by an Insured for first aid to persons, other than insureds,
           for covered bodily Injury.
    EXCLUSIONS
    1.     We do not pay for bodily Injury or property damage which is expected by, directed by, Intended by or arises out
           of an act of force by an Insured. An act of force does not Include the use of reasonable force to protect persons
           or property from an act of crime.
    2.     We do not pay for bodily Injury or property damage llablllty which is assumed under a contract or an agreement.
           This exclusion does not apply to an Incidental contract.
    3.     We do not pay for bodily injury or property damage which arises out of the ownership, operation, maintenance,
           use, occupancy, renting, loaning, entrusting, supervision, loading or unloading of:
           a.   an aircraft.
           b.   an auto.
           c.   a recreational motor vehicle while It Is off the insured premises.
           d.   a watercraft while it is not ashore on the Insured premises. This exclusion does not apply if the watercraft:
                1)   Is not owned by you;
                2)   is less than 26 feet in length; and
                3)   is not being used to carry persons or property for a charge.
    4.     We do not pay for bodily injury or property damage which arises out of the use of a recreational motor vehicle In,
           or In the practice or the preparation for, racing, speed, pulling or pushing, demolition or stunt activities or con-
           tests.
    5.     We do not pay for bodily Injury or property damage which arises out of war. War includes undeclared war, civil
           war, insurrection, rebellion, revolution or an act or a condition of war. This exclusion applies only with respect
           to:
           a.   liability assumed by an insured under an Incidental contract.
           b.   expenses for first aid as provided under the Incidental Coverages.
\
    6.     We do not pay for bodily Injury or property damage arising out of the conduct of a partnership or a joint venture
           that is not shown on the declarations.
    7.     We do not pay for bodily injury or property damage that arises out of an occurrence for which an insured is also
           an Insured under a nuclear energy liability policy or would be an insured but for the exhaustion of Its limits. (A
           nuclear energy liability policy is a policy issued by the Nuclear Energy Liability Insurance Association, Mutual
           Atomic Energy Liability of Underwriters, Nuclear Insurance Association of Canada, or their successors.)
    8.     We do not pay for bodily injury or property damage that arises out of a business activity conducted on the insured
           premises
    9,     We do not pay for bodily Injury or property damage that arises out of work being performed by you or on your
           behalf to change the use of the insured premises to other than that of a residence.
    10. We do not pay for bodily injury or property damage that arises out of the rendering of or the falling to render a
        professional service.
    11. We do not pay for bodily injury or property damage that results from an animal of an insured while it Is away from
        the Insured premises.

    13410 (12-86)'                                                                                                  Page 3 of 5
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                                                                                                               13410 (12-86)

12. We do not pay for bodily Injury or property damage which arises out of the discharge, dispersal, release or the
    escape of smoke, vapors, soot, fumes, acids, alkalis, toxic chemicals, liquids or gases, waste materials or other.
    Irritants, contaminants or pollutants Into or upon land, the atmosphere or a water course, body of water, ·bog,·
    marsh, swamp or wetland, except if such Bischarge, dispersal, release or escape Is sudden and accidental.
13. We do not pay for bodily injury provided or are required to be provided by an Insured under a worker's com-
    pensation, non-occupational disability, occupational disease or like law.
14. We do not pay for:
       a.   bodily injury to an employee of an insured If It occurs in the course of employment.
       b.   consequential injuries to a spouse, child, parent, brother or.sister ot'such injured employee.
       This exclusion applies to an obligation of an insured to pay another because of damages arising out of the injury.
       This exclusion does not apply to liability assumed by an insured under an Incidental contract.
15. We do not pay for property damage to property owned by, occupied by, rented to, used by, or In the care, custody
    or control of an insured.
WHAT YOU MUST DO IN CASE OF LOSS

1.     NOTICE·
       a.   In the case of an occurrence, or in an insured becomes aware of anything that Indicates that there might be
            a claim under this coverage, the insured must promptly give us or our agent notice. The notice must be in
            writing if requested.
       b.   The notice to us must state:
            1)   the insured's name;
            2)   the policy number;
            3)   the time, the place and the circumstances of the occurrence; and
            4)   the names and addresses of all known potential claimants and witnesses.
2.     Cooperation - The Insured must cooperate with us
3.     Vo.lunteer Payments - An Insured must not make payment or assume obligations or other costs except at the
       lnsured's own cost. This does not apply to first aid to others at the time of bodily Injury.

4.     Other Duties -
       a.   If a claim Is made or a suit Is brought, the insured must:
            1)   promptly send to us copies of all legal papers, demands us copies of all legal papers, demands and
                 notices; and
            2)   at our request, assist In:

                 a)     a settlement;
                 'b)    the conduct of suits. This includes the attendance at trials or hearings;
                 c)     the enforcing of rights against all parties who may be liable to an Insured for the Injury or damage;
                 d)     the securing of and giving of evidence; and
                 e)     obtaining the attendance of all witnesses.
       b.   In the case of a medical payments loss:

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                                                                                                             13410 (12-86)

            1)   the injured person (or one acting on such person's behalf) must:
                 a)     give us written proof of claim (under oath If requested) as soon as practical; and
                 b)     give us permission to get copies of the medical records.
            2)   the Injured person must submit to physical exams by doctors chosen by us when and as often as we
                 may reasonably require.
HOW MUCH WE PAY
1.     Limits ·The limits stated on the declarations are the most that we pay for a single occurrence regardless of the
       number of:
       a.   persons who are insured by this coverage;
       b.   persons or organizations who sustain Injury or damage; and
       c.   claims made or suits brought.
       If the limit shown on the declarations is a combined single limit for bodily Injury and property damage, such
       amount is our total limit for a single occurrence.

       The payment of a claim made under Coverage M does not mean that we are liable under Coverage L.
2.     Other Insurance • Coverage L • Bodily Injury and Property Damage

       This insurance is excess over other valid and collectible insurance except insurance written specifically to cover
       as excess over the limits of liability that apply in this policy.                                      ·
WHEN LOSS OR CLAIM IS PAYABLE

A person or organization is entitled to recover under this coverage to the extent of coverage provided If:
1.     a judgment is secured against an Insured for an Insured loss; or
2.     liability Is established by a written agreement between the claimant, an Insured and us.
CONDITIONS
1.     Bankruptcy - Bankruptcy or insolvency of an Insured does not relieve us of our obligations for this coverage.
2.     Suit Against Us - No suit may be brought against us unless:
       a.   all the terms of this coverage have been compiled with; and
       b.   the amount of an lnsured's liability has been fixed by:
            1)   a final judgment against an Insured as a result of a trial; or
            2)   a written agreement by an Insured, the claimant and us
       No person has a right under this coverage to join us or impead us in actions that are brought fo fix an insured's
       liability.
3.     Subrogation - If we pay under this coverage, we may require from an insured an assignment of the rights of re-
       covery. We are not liable for an occurrence If an insured impairs our right to recover. You may waive your right
       to recover, in writing, before an occurrence takes place, without voiding coverage,


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                                                                                                               15363 (12-01)

                 THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                        FUNGI OR BACTERIA ENDORSEMENT
                                                 FOR USE WITH ALL FORMS

                                                         SCHEDULE*
The llmlt of llabillty applies to the total of all loss payable under this endorsement, regardless of the number of "oc-
currences", the number of claims made, or the number of locations Insured under this endorsement and listed in this
Schedule.

Property Coverage Limit of Liability for the Other Coverage "Fungi" Or Bacteria                   $       . 5,000


*Entries may be left blank if shown elsewhere in this policy for this coverage.

DEFINITIONS
The following definition Is added:
"Fungi" means any type or form of fungus, including mold or mildew, and any mycotoxins, spores, scents or by-
products produced or released by fungi.

OTHER COVERAGES
Under OTHER COVERAGES, 9. is added:
9.     "Fungi" or Bacteria
       a.   The amount shown in the Schedule above is the most we will pay for:
            1) . The total of all loss payable under COVERAGE A • DWELLING, COVERAGE B • OTHER STRUCTURES,
                 COVERAGE C ·PERSONAL PROPERTY, COVERAGE D ·FAIR RENTAL VALUE and COVERAGE E ·AD·
                 DITIONAL LIVING EXPENSE caused by "fungi" or bacteria;
            2)   The cost to remove "fungi" or bacteria from property covered under COVERAGE A - DWELLING, COV-
                 ERAGE B ·OTHER STRUCTURES, COVERAGE C ·PERSONAL PROPERTY, COVERAGE D ·FAIR RENTAL
                 VALUE and COVERAGE E ·ADDITIONAL LIVING EXPENSE;
            3)   The cost to tear out and replace any part of the building or other covered property as needed to gain
                 access to the "fungi" or bacteria; and
            4)   The cost of testing of air or property to confirm the absence, presence or level of "fungi" or bacteria
                 whether performed prior to, during or after removal, repair, restoration or replacement. The cost of such
                 testing wil I be provided only to the extent that there is a reason to believe that there Is the presence of
                 "fungi" or bacteria.

       b.   The coverage described In 9. a. only applies when such loss or costs are a result of a Perils Insured Against
            that occurs during the policy period and only if all reasonable means were used to save and preserve the
            property from further damage at and after the time the Perils Insured Against occurred.
       c.   The amount shown in the Schedule for this coverage is the most we will pay for the total of all loss or costs
            payable under this Other Coverage regardless of the:
            1) .Number of locations insured under this endorsement; or
            2)    Number of claims made.
       This coverage does not Increase the limit of liability applying to the damaged covered property.
       (This Is Other Coverage 8. In Form DP 1)

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                                                                                                             15363 (12-01)

PERILS INSURED AGAINST

In form DP3 and endorsement DP65:

COVERAGE A • DWELLING and COVERAGE 8 ·OTHER STRUCTURES

9, is deleted and replaced by the following:
9.     wear and tear; marring; deterioration; inherent vice; latent defect; mechanical breakdown; rust; wet or dry rot;
       contamination; smog; smoke from agricultural smudging or industrial operations; settling, cracking, shrinking,
       bulging or expansion of pavements, patios, foundations, walls, flobrs, roofs or ceilings; birds, vermin, rodents,
       insects or domestic animals. If any of these cause water to escape from a plumbing, heating or air conditioning
       system or household appliance, we cover loss caused by the water. We also cover the cost of tearing out and
       replacing any part of a building necessary to repair the system or appliance. We do not cover loss to the system
       or appliance from which this water escaped.
GENERAL EXCLUSIONS

The following Exclusion is added:

We will not pay for loss or damage caused directly or Indirectly by or resulting from "fungi" or bacteria of any type
regardless of the cause of the growth, proliferation or accretion except as provided by Other Coverage 9. (8., in DP
1) "Fungi" or Bacteria.

The provisions of the policy apply unless modified by this endorsement.


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                 .   '




                                                                                                            15367 (12-01)

             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                                       OWNER, LANDLORD AND TENANT
                                       FUNGI OR BACTERIA EXCLUSION

 DEFINITIONS

 The following definition Is added:
 Fungi
 Fungi means any type or form of fungus, Including mold or mildew, and any mycotoxins, spores, scents or by-products
 produced or released by fungi.

 EXCLUSIONS

 The following exclusion Is added:
 16. We do not pay for bodily injury or property damage or where added by endorsement, personal Injury which would
     not have occurred in whole or in part but for: ·
     Fungi or bacteria injury or damage including, but not limited to, any Injury or damage arising out of or alleged to
     have arisen out of any act, error, omission, failing to warn or other duty involving fungi or bacteria, its exposure,
     existence, detection, removal, elimination or avoidance or actions arising from a failure to disclose the presence
     of fungi or bacteria.                               ·
 The provisions of the policy apply unless modified by this endorsement.




 15367 (12-01)
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                                                                                                               12680 (01-98)

                                     PERSONAL LIABILITY SCHEDULE

 This endorsement Is made part of policy No. _ _ _ _ _A_D~P_ _ _0~0_5~3_82_3_6~13~_ _o________ of the

  AMCO INSURANCE COMPANY

 The Insurance afforded by this endorsement shall apply as Indicated below, subject to the terms and conditions of the
 policy that apply.

             Coverages                             Limit of Liability                               Premium

       L - Personal Liability              $    500,000          each occurrence         $_ _ _----"3_9--"-."'-0"'-0-

       M - Medical Payments                $       1 000         each person             $_ _ _ _ _4_.~o~o-

                                           $      10 000         each accident

       N - Physical Damage to Property     $                     each occurrence         $_ _ _ _ _ _ _


 Insured locations: _00_1_ _ _ _ _ _ _ _ _ _ _- ' - - - - - - - - - - - - - - - - - - - - -




                                                                                         Total         43.00
                                                                                                  $- - - ----




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                                                     EXHIBIT 2
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   DAILYIALJIAN

                      April 13, 2018

                     VIA CERTIFIED AND ELECTRONIC MAIL
                     Peter and Helen Kim
                     5129 Caroli Ln.
                     La Canada Flintridge, CA 91011

                     Re:      1925 Lombal'dy Drive, La Canada Flintridge; CA 91011

                     Dear Mr. and Mrs. Kim:

                     We are legal counsel for Alan Jackson and Lisa Kassabian (collectively, "Claimants")
                     regarding the recent water damage at the property located at 1925 Lombardy Drive, La
                     Canada Flintridge, California 91011 (the "Property"). We write to provide notice of
                     Claimants' claim as required under Civil Code section 895, et seq., commonly known
                     as the Right To Repair Act (the "Act").

                     Claimants' names are Alan Jackson and Lisa Kassabian. Their address is 1925
                     Lombardy Drive, La Canada Flintridge, California 91011. Claimants' preferred method
                     of contact is to contact me at my offices. Claimants allege a violation of Civil Code
                     section 896(a), subsections 7-13. Specifically, Claimants understand that you sold the
                     Property in November 2017 with material deficiencies in the residential construction,
                     design, specifications, surveying, planning, supervision, testing and observation of
                     construction, including, without limitation, the following: foundation system and slab
                     on the westerly portion of the property that allowed water and water vapor to enter into
                     the structure causing damage to other building components, including intel'ior walls,
                     flooring and other structui:al and cosmetic compone11ts; foundation system and slab on
                     the westerly p01tion of the Property that allowed water ru1d water vapor to enter into the
                     structure that now limits the installation of the type of flooring materials typically used
                     for a finished home theater and bar, which is how the area in question was advertised
                     and sold; landscaping systems and drainage systems that were installed as part of the
                     construction, which wel'e installed in such a defective way as to cause water and water
                     vapor and soil erosion to enter into and come in contact whh the structure, which caused
                     severe damage to other building components, including interior walls, flooring and other
                     strnctural and cosmetic components; exterior westerly-facing walls, framing and wall
                     finishes and fixtures, and the systems of those .components, which allowed unintended
                     water to pass into the strncture and to pass beyond, around and through the designed 01'
                     actual moisture barriers of the system (note that for purposes of this description,
                     "systems" include, without limitation, framing, si1bstrate, flashings, trim, wall
                     assemblies, and internal wall cavities to the extent they exist), which caused severe
                     damage to other building components, including interior walls, flooring and other
                     structural and cosmetic components; exterior westerly-facing walls and siding that
                     allowed excessive condensation to enter the structure, which caused severe damage to


  100 Bayview Circle, Suite 5500 Newport Beach, CA 92660 p.949.861 .2524 f.949.269.6364
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              other building components, including interior walls, flooring and othet stmctural and
              cosmetic components; retaining walls and their associated drainage systems on the
              westerly and southerly po1iion of the Property that allowed unintended water to pass
              beyond, around and through their designed or actual moisture batTiers including,
              without limitation, any internal barriers, which caused severe damage to other building
              components, including interior walls, flooring and other structural and cosmetic
              components; retaining walls and their associated dr~inage systems on the westerly and
              southerly portion of the property that allowed water fo flow beyond, around and through
              the area designated by design, which caused severe damage to other building
              components, including interior walls, flooring and other structural and cosmetic
              components (the "Defect"). You did not disclose this Defect to Claimants. And,
              Claimants were not otherwise aware of the Defect at or before the time of the sale.

              Because of the severity of the Defect, in order to facilitate the removal of water, water
              damage, moisture and mold, the entire home theater and bar area was torn almost
              completely out, including the destruction and removal of drywall, plumbing and
              plumbing fixtures, custom hardwood flooring, custom cabinet1·y, counter tops, bar tops,
              back splashes, sinks and vanities, door framing, custom molding, kick plates, and other
              structural and cosmetic components.

              Claimants hired Servpro Restoration Services ("Servpro") to perform these mitigation
              services. I have attached selected photographs of the work performed by Servpro for
              ym~r review and the invoice for the services rendered, totaling $3,920.06. Although the
              damages have been mitigated, at least in paii, the Defect has not been repaired.
              Claimants hereby request reimbursement of the $3,920.06 paid to Servpro and your
              agreement to repair the Defect. If we do not hear from you within the statutory time
              period and/or you otherwise fail to follow the provisions of the Act, we have been
              ii'lstructed to file an action to recover Claimants' damages, including the cost of the
              repairn, as well as their attorneys' fees, costs, and expenses.

              In addition, as per the Act, Claimants hereby request copies of the following documents:
              (1) all plans, specifications, mass or rough grading plans, final soils reports, and any
              available engineering calculations used to construct the Property (this request is made
              relative to the structural provisions of the Right To Repair Act); (2) all maintenai1ce and
              preventative maintenance 1·ecommendations relating to the Propedy; and (3) all
              contractual warranties relating to your construction and/or sale of the Property.
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              If you have any questions or concerns, please feel free to contact me;


              V e1'ylntly yoi1rs,

              DAILY ALJIAN LLP

              b.:rx-J
              ReedAlJ.iU
              Encl.

              cc:     Ala11 Ja.tksbti
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 106 of 126 Page ID #:106




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                  Nla1·auise,. 111.c~                                                                                             Invoice#
           Sccvpto on-Iot!y,vood Ftijt~/Lqs flcfh-,
          ·Sct'1;prn-of H1incock lfarli/Hoi'li•,v1icitl
       Phone: (323jil/iMJOO .Fax: :(323)6:67~260.0                                                                                5(93468


     Sill To                                                                       Job Location
   Alm1 Jackson                                                                   Alan Jackson
   1925 LombardyDrlve                                                             1925 Lo•11bardy»Drive:.
   La Canada Flintridge, CA 9i Ol l                                               La Caffada Fltnfridge, CA 91011
   ~ 10-927-0555                                                                  310-927-0555




                                                                                  Joh Date              Rep:                      fer ms
                                                                                  4f12/20l8


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                                                                                       Total                                       $3;920.0.6
                                                                                       Pc:tymentsfCredlts                                $0.00


   Ench SE;JWI'R0ilJ:> Fri.rncliise lsindependent!y Owned nndOpel'~ted                 Balance Due                                 $3,no.oo
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 107 of 126 Page ID #:107
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 108 of 126 Page ID #:108
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                                                      SUMMONS                                                                        FOR OOURT USE ONLY
                                                                                                                                 (SOLO PARA IJSO 011 lA CORTS)
                                              (CtrAC/ON JUDICIAL)
           NOTICE TO DSFENDANT:                                                                                                 CONP.Gi'tM!iiP. ~Q~¥,
           (AV/SO AL DEMANDADO):                                                                                                  OMICUNAL. FIL.El:>
            Peter Khn, an individual, and DOES 1 through 50, inclusive 1                                                       Superior Q()urt o'f Oullfornln
                                                                                                                                 County ,of LCl$ Ang ales

           YOU ARE BEING SUED BY PLAlNTIFF:                                                                                             JU~     O'S gom
           (LO ESTA IJ!;MANDANDO EL DEMANDANTE):
                                                                                                                       . Sl1en•i1~.Corlo3 a~ojtlV~ Dflloor/Cler 1
            Alan Jackson, an incJlvldttal, and Lisa Kassabian, an indlvldua1 1
                                                                                                                        Dy: _"If~~' Oeput
                                                                                                                           '            Kim E. OIIJ,rk
            NOTICE:! You have been sued. The court may decide against you wllhout your being haafd unless you respond within 30 days, Read the Information
            below,
               You have 30 CALENDAR DAYS alter this summons and legal papers are served on you lo file aWfltten response al this court and have a copy
            served on the plaintiff. A letter or phone call will nol protect you. Your written response must be In proper legal fo1m If you want lhe court lo hear your ·
            case. There may be a court fofm that you oan use for your response. You can find these court forms and more lnformalion at Iha Califoriila Courts
            Online Self· Help Cenler (www.courtlnfo.ca,gov/s&lfhe/p), your county law library, or the courthouse nearest you. If you cannot pay the flllng fee, ask
            the court clerk for a fee waiver form. If you do not flle your response on time, you may rose the case by default, and your wages, money, and property
            may be t.aken wllhoul further warning from lhe court,                                                     .
                There are other legal requirements. You may wan\ to call an a!lorney right away. If you do not know an attorney, you may wan! to oall an attorney
            referral service. If you oannot afford an allorney, you may be eligible for free legal services from a nonproflt legal services program. You can locate
            these nonprofit groups al the Callforn\a Legal services Web slle (www.lawhelpc11//forn/a.org), Iha California courts Onllne Se\f·Help Center
            (www.courtlnfo,ca.govlsel{/)e/p), or by conlaotlng your local court or county bar association. NOl5i The oourt has a statutory lien for waived fees and
            costs on any settlement or arbitration award ot $10,000 or more In a clvll case, lhe court's llen must be paid before the court wlll dismiss the case.
            1AVISOi Lohan demandado. S/ no respande rientro de 30 d/as, la oorte pued11 riec/dlren su oonlra $/n ascuohar su version. Lea la lnformaclon a
            oonf/nuac/~n.
                T/Me 30 DIAS OE CA LENDARIO despu~s de qua le entreguen este cllac/6n y papeles lege/es para pre sen tar una resp11esla por ascr/lo en esta
            aorta yhacer que se entregue una cop/a al demandante. Una carla o una /lamada te/efonloa no lo protegen. su respuesta por escrl/o t/ano que estflr
            en rormeto legs/ correcto sl desaa que proousen su caso en la oorlfl. Es pos/ble qua /Mya un formularlo qua usted puadq 11s1u pare su respuesta.
            Puede enoontrar es/as formularlos de la corte y mas /nformao/Qn en el Centro de AY11da de las Cort11s de Ca/lfomta (www.eucorte,ca.gov), rm la
            blblloleoa de !eyes de su condado o en ff! co1te que le q11ede mils oerca. SI no puede pagar la ouota de presenfaof6n, plda al secreterro de la Corle
            qua le de im formu/ar/o de exenc/6n de pago de ouotas, SI no presimta i;u respuesra e l/empo, puede perder fll oaso por /noump/lmlen/o y la carte le
            por;lr~ qu/lar su sue/do, dlnero y blenes sin mas 8dvertenc/a.                       ·
              Hay otros requ/sltos legs/es, es reoomendsble que flame a un abogado lnmedlelsmen/e, SI no canooe B un ebogado, puede /lamar a un seN/oio de
            rem/slon a abogados, SI no puede pagar a un ebogsdo, es p0,slb/e qua cumpla con los requlsltos para ol;ltener scN/olos /ega/es gralultos de un
            programs de servio/os /egales sin fines dB /ucro. Pt1ede enconlror estos grupos sin fines de luoro en el sl//o web de Cal/fornla Legal SeTY/oe•,
            (Www,Jawhelpoallfornla,org), en el Centro de Ay11da de /as Cortes de Cal/lorn/a, (www.suoorte.oa.gov) o pon/Ondose en contacto oon Is corte o el
            ooleglo de sbogados locales. A VISO: Por /ey, la 001te tlane derecho a reclamar las ouoiss y los costos exentos por /mponsr un gravami:m sobre
            oualqu/er reoupersclon rie $10,000 6 mtls rJe wlor recloldfl med/ante 1.1n aouerdo o una aonoeslon de arbltreje en un oaso de derecho clV!f. Tiana que
            pager a/ gravamen de la oort& antes de q1.1e la carte p1,1eda deseoharel oaso.


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           The name and addfess of the court Is:                                                                     OASe NUM~:Jr-1
           (El nombre yd/reooi6n dei la oorte es):        Glendale Courthouse                                        rNOmarocJe,(;;sQ

           600 East Broadway
           Glendale, CA 91206
           The name, address, and telephoQe number of plaintiff's attorn(iiy,
                                                                           Of plaintiff without an attorney, Is:
           (El nombre, la dlrecc/6n y el numero de le/Mono de/ abogado de/ demandanle, ode/ demandanle que no tlene abogado, es):
            Reed Aljian: Daily Aljlan LLP; I 00 Bayview Cil'cle Suite 5500, Newpo1t Beach, CA.92660; 949-861-2524

           DATE: 1111 n
           (Pecha) ~u
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                                                                                 Clerk, by
                                                                                 (Seoretar/o) KIM CLARI<
                                                                                                                                                                  , Deputy
                                                                                                                                                                   (Ad) unto)
           (For proof of selY/oe of this summons, use Proof of Service of summons (form POS·010).)
           (Para prueba de entrega de esta ollat/6n use el form!llarlo Proof of Service of Summons, (POS·010)).
                                                 NOTICE TO THE PERSON SERVED: You are served
            rseALJ                               1. D as an Individual defendant.
                                                 2. D   as the person sued under \he rlctltlol.ls name of (speo(fy):


                                                 3,   D     on behalf of (specify):
                                                      under:   D      CCP 416.10 (oorporellon)                        D         CCP 416.60 (minor)
                                                               D      COP 416.20 (defunct corporation)                D         CCP 416.70 (conse1Vatee)
                                                               D      COP 416.40 (association or partnership)         D         CCP 416.90 (authorized person)
                                                               D    other (specify):
                                                 4.   D     by personal dellvery on (date);
                                                                                                                                                                             of1
            fo1m Acloptod for Mandalo<y U•e                                        SUMMONS                                                 Code of Clvll Proce<l~e §§ 412 20, 46~
               Judicial councn olCelllornla                                                                                                                 Wl>W.COV~lnlo.oa,gov
              SUM·100 (Rev, July1, 2009)
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                       l  DAILY ALJIAN LLP                                           CONFORMED COPY
                                                                                       ORIGINAi.. FILED
                       2. Reed Aijian (State Bar No. 211010)
                                                                                    Superior Court of Callfornla
                                                                                      County of Los Angeles
                           ra@clallp, com
                       3 100 Bayview Circle, Suite 5500                                   JUL ·O 3.~016
                         Newpmt Beach, CA 92660
                       4 Telephone: 949.861.25f4                              Sherry.    Car!    cXAOU11Ve   Olfloer/Clerk
                                                                              By:   ~       G.   fl/~ ,Deputy
                       5 Facsimile:     949.269,6364                                      Kimi;, Clark
                      6 Attorneys for Plaintiffs
                        ALAN JACKSON and LISA KASSABIAN
                       7
                     .8                 SUPERIOR COURT OF THE STATE OF CAf.JFORNIA
                      9                                  COUNTY   OF LOS.ANGELES
                     10
                           ALAN JACKSON, an individual, and          CASE NO.:        Eco 68 617
                     11    LISA KASSABIAN, an individual,
          ~
          ~<fa
                e
          p.. ·"'
                                                                     COMPLAINT OF PLAINTIFFS ALAN
                     12                   .r1aintiff~,
          ~~                                                         JACKSON AND LISA KASSABIAN
          5 fl       13
                                v.
                                                                     AGAINST DEFENDANT PETER KIM
          <C ~
          ~ t:!      14                                              JURY TRIAL REQUESTED
          :;;: ~           PETER KIM, an individual, and DOES .
          az         15    1 through 50, inclusive,
                                                                                     S\~WIMO~~ \SSU£.\)
                     16                   I>efendants.                                                                       .   !



                     17
                                                                                                 By Fax.
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                                                                  COMPLAINT
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 113 of 126 Page ID #:113




                           Plaintiffs ALAN JACK.SON and LISA KASSABIAN ("Plaintiffs") hereby
                2   complain agahtst Defendant PETER KIM ("Mr. Kim"), and DOES 1 through 50, as
                3   fol19ws:
                4                                   BRIEF SUMMARY OF CASE
                5           l, ·    Plaintirfs'ALAN JACKSON and LISA KASSABIAN are husband and wife
                6   and am the owners and residents of the real prope11:y located at 1925 Lombardy Drive, La
                7   Canada Flintridge, CA 91011 (the "Property.")
                8          2.       Plaintiffs are informed, believe, and base'd thereon allege that, at all times
                9   relevant, Mr. Khn was and is a resident of La Canada Flintridge, California.
               10          3 .:..   P;QES 1 through 50, inclusive, are fictitlous names of defendants whose true
  ~ .~         11   names.and capacities are, at this time, unknown to Plaintiffs. Plaintiff~ are informed,
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               12 . ·believe, ahd based there.on ·allege that each of the defendants designated herein as a DOE

               13

               14
                    are in some manne1· legally responsible for the damages and injuries as are alleged 'in this
                    complalrtt. The DOE defendants include; among other parties, investors; members
               15   builders, developers, contractors, subcontractm·s, rr:-aterial suppliers, design professionals,
               16   product manufactui·ers, and vendors involved in the construction and sale of the Property.
               17   Plaintiffs sue those defendants by such fictitious names pursuant to Civil Prncedure Code
               18   section 474 and will amend this complaint to show their true names and capacities when
               19   they have been ascertained.
               20          4.       Plaintiffs are informed, believe and based thereon allege that Mr. Kim
               21   originally acquired the Pl'Operty in or about September 2015.
               22           S.      Plaintiffs are informed, believe and based thereon allege that Mr. Kim
               23   purchased the Property with the intention of remodeling the Property and then placing the
               24   Property on the market for sale at a profit (the '~Prqjece~).
               25          6.       Plaintiffs are informed, believe and based thereon allege that Mr. K.,im
               26   designed and managed the hoject, including acting as the owner, builder, and general
               27   contractor for the Project.
               28

                                                                COMPLAINT
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                                                       7.                Plaintiffs are informed, believe and based thereon allege that, unbeknownst
                           2          to Plaintiffs, Mr. Kim and DOES 1-50 failed to exercise reasonable care in the Property's
                           3          design and construction and used substandard workmanship and materials, resulting in
                           4          defective construction (the "Defects").
                           5                           8.                Plaintiffs are informed, believe and based thereon allege that, as a result of
                           6          these Defects, Plaintiffs have suffered actual damages.
                           7                                                                                    JURISDICTION AND YENUE
                           8                           9.               This Court has jurisdiction over the defendimts _because they are either
                           9          individuals residing in the State of California, corporations or associations organized
                        10            under the ·laws of the State of California, corporations or associations authorized to do
 0..      .!!!           11           business in _California and registered with the Callfornia Secretary of State, or they do
 ....:l    s
 .....l   .a
 ~-a                    12            sufficient business in California, have sufficient minimum contacts with California or
 5 '5                                 otherwise intentionally avail themselves of the laws and markets of California, through
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                         14           the .promotion, sale, marketing and distribution of their products in California, to render
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                         15           the exercise of jurisdiction by the California courts permissible.
                         16                            10.               Venue is proper in this Court pursuant'to Civil Procedure Code section 392.
                         17           The property that is i:he subject matter of this action is commonly described as 1925
                         18           Lombardy Drive, La Canada Flintridge, California 91011 and legally described as Parcel
                         19           No. LAl 762621, with the following legal description: '~THAT PORTION OF LOT(S) 21
                                                                                            .                                                           .
                       ·20           ·OF THE SUBDIVISION OF THE RANCHO LA CANADA, IN THE CITY OF LA
                        21             CANADA FLINTRIDGE, COUNTY QF LOS ANGELES, STATE OF CALIFORNIA,
                         22            AS PER MAP RECORDED IN BOOK 4, PAGE(S) 351 OF MISCELLANEOUS
                                                                                                '··
                         23           RECORDS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY,
                         24           DESCRIBED AS FOLLOWS; BEGINNING AT A POINT IN THE SOUTH LINE OF
                         25            TRACT NO. 5584, AS PER MAP RECORDED IN BOOK 63, PAGE(S) 42 AND 43 OF
                         26            MAPS, IN THE OFFICE OF THE COUNTY RECORDER OF SAID COUNTY,
                         27            DISTANT NORTH 89° 39' 56'' WEST THEREON Z25.00 FEET FROM THE
                         28
                                                                                                                                                      -2 -
                                                                                                                                              COMPLAINT
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                    .
             1• SOUTI-IBAST CORNER OF SAID TRACT NO. 5584; THENCE NORTH 89° 39' 56"
             2    WEST ALONG SAID SOUTH LINE 160.00 FEET; THENCE SOUTH 0° 20' 04 11 WEST
             3    140. 12 FEET TO THE NOR'TH LINE OF LOMBARDY DRIVE, 50 FEET WIDE;
             4.   THENCE SOUTH 89° 391 56 11 EAST ALONG SAID LOMBARDY DRlVE, A
             5    DISTANCE OF 45 .00 FEET TO THE TRUE POINT OF BEGINNING OF THIS
             6    DESCRIPTION; THENCE CONTINUING ALONG SAlD LOMBARDY DRIVE,
             7    SOUTH 89° 39 1 56 11 EAST 42;05 FEET TO THE BEGINNING OF A TANGENT
             8    CURVE CONCAVE TO THE SOUTHWEST AND HAVING A RADIUS OF 229.33
             9    FEET; THENCE EASTERLY ALONG SAID CURVE 74.24 FEET TO THE EAST
            10    LINE OF THE LAND DESCRIBED IN THE DEED TO MENZO W1LLIAMS
  0.. .~
            11    RECORDED IN BOOK 10531PAGE277 OF OFFICIAL RECORDS; THENCE
  ~~
  ~~        12    NORTH 0° 20 1 04 11 BASTA.LONG SAID EAST LINE 119.81 FEET TO THE MOST
                                                                                     ..

  ~1        13    EASTERLY SOUTHEAST CORNER OF THE LAND DESCIUBED lN PARCEL 1 IN
  ~ 13      14    THE DEED TO LOZELLE J. HATCH AND WIFE RECORDED NOVEMBER 12, .1965
  ~~
  ClZ
            15    IN BOOK D-3112 PAGE 506 OF OFFICIAL RECORDS; THENCE ALONG THE
            16    SOiJTHERLY AND EASTERLY LINE OF SAID LAND OF HATCH NORTH 89°
            17    39'56 11 WEST 115.00 FEET AND SOUTH 0° 20' 04 11 WESt 107.90 FEET TO THE
            18    TRUE POINT OF BEGINNING. EXCEPTING THEREFROM THAT PORTION OF
            19    LdT 21 OF THE) SUBDIVISION OF THE RANCHO LA CANADA AS PER MAP
            20    RECOR.OED lN BOOK 4 PAGE 351 OF MISCELLANEOUS RECORDS IN THE
                                                 \


            21 · . OFFICE OF THE COUNTY RECORDER OF SAID COUNTY, DESCRIBED AS
           · 22   FOLLOWS: BEGINNING AT A POINT IN THE SOUTH LINE. OF TRACT NO. 5584,
            23    AS· PBR MAP RECORDED IN BOOK 63 PACES 42 AND 43·0F MAPS 1 IN THE
            24    OFFICE OF THE COUNTY RECORDER OF SAID COVNTY, DISTANT NORTH 89°
            25    39 1 56 11 WEST THEREON 225.00 FEET FROM THE SOUTHEAST CORNER OF SAID
            26.   TRACT NO. 5584; THENCE NORtH 89° 39' 56 11 WEST ALONG SAID SOUTH LINE
           ' 27   160 FEET; THENCE SOUTH 0° 20 1 04 11 , WEST 140.12 FEET TO THE NORTH LINE
            28
                                                       -3 -
                                                     COMPLAINT
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           1    OF LOMBARDY DRJVE; THENCE EAST ALONG THE NORTH LINE OF
           2    LOMBARDY DRIVE, A DISTANCE OF 45 FEET; THENCE NORTH 0° 20 1 04 11 EAST
           3    94.90 FEET TO THE TRUE POINT OF BEGINNING; THENCE SOUTH 89° 39 1 56 11
           4    EAST 6 FEET; THENCE NORTH 22° 201 04 11 EAST 14.02 FEET THENCE NORTH 89°
           5    391 56 11 WEST 11.25 FEET; THENCE SOUTH 0° 20 1 04 11 WEST 13 FEET TO THE.
           6    TRUE POINT OF BEGJNNING. SAID LAND IS DESCR1BED lN THE CERTIFICATE
           7    OF COMPLIANCE RECORDED MARCH 23, 2000 AS INSTRUMENT NO. 00-
           8    429804, OF OFFICIAL RECORDS."
           9                                       FIRST CAUSE OF ACTION
          10                                              For Negligence
 ~ ·!§    ll                             (Against Defendant Peter Kim and DOES 1-50) ·
 -1 <2
 :z ·-
 <!'.;;   12           11.        Plaintiffs re-allege and incorporate by referencei as though fully set forth
 5·.g           herein, all of the preceding paragraphs herein.
 <l'. £   13
                                            . .
 ~ 'g                 . 12.     In their capacities as owner, architect, builder, general contractor,
          14
 ~~
 oz
          1.5   contractor, subcontract, material supplier, manufacturei and/or other third party inyolved
          1-6   in the Project, Plaintiffs are informed, believe, and based thereon allege that the Mr. Kim
          17    and Does 1-50 each owed Plaintiffs duties of care regarding the P1·oject.
          18           13.      · Plaintiffs are informed, believe~ and based thereon allege that the Mr. Kim
          19    and Does      1~50   failed to exercise proper care and used subs.tandard workmanship and
          20    materials in connection with the Project, resulting in deficient and/or defective
          21    construction.
          22           ·14.       Plaintiffs are informed, believe, and based thereon allege that Plaintiffs have
          23    suffered damages in excess of the Court's jurisdfotional limits, in an amount according to
          24    proof at trial.
          25            15.       Plaintiffs are informed, believe, and based thereon allege that Mr. Kim and
          26    Does t'~so negligence were substantial factors in causing Plaintiffs' damages.
          27
          28
                                                              COMPLAINT
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 117 of 126 Page ID #:117

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              7                .? •      Fbr· reasonable {nvestlgative c0sts"t1rtd 'e.xpert fe'es;.
              8                3.        For contN10tual attorneys' fees. a'Jid exp'enses;
              9                4.        I<'o.r :~o$t$ ·of~$u'f~
            10                 5.        Fqi· inter~st at ~h.~ l~·gal . T:at~r:and
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       Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 118 of 126 Page ID #:118

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Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 119 of 126 Page ID #:119




                 EXHIBIT C
                   Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 120 of 126 Page ID #:120
Electronically FILED by Superior Court of California, County of Los Angeles on 05/02/2019 03:27 PM Sherri R. Carter, Executive Officer/Clerk of Court, by V. Delgadillo,Deputy Clerk




                    1      MARC S. HINES (SBN 140065)
                    2
                           mhines@hineshamptonllp.com
                           BRIAN PELANDA (SBN 278453)
                    3      bpelanda@hineshamptonllp.com
                    4
                           HINES HAMPTON LLP
                           34 Executive Park, Suite 260
                    5      Irvine, California 92614
                    6      Tel.: (714) 513-1122
                           Fax: (714) 242-9529
                    7
                    8      Attorneys for Defendant AMCO Insurance Company

                    9                          SUPERIOR COURT OF THE STATE OF CALIFORNIA
                  10
                                                      IN AND FOR THE COUNTY OF LOS ANGELES
                  11
                  12       PETER KIM, an individual; and HELEN Case No.: 19STCV12211
                           KIM, an individual,
                  13
                  14                                          Plaintiffs,                                AMCO INSURANCE COMPANY’S
                                                                                                         ANSWER TO PLAINTIFFS’
                  15       vs.                                                                           COMPLAINT AND DEMAND FOR
                  16                                                                                     TRIAL BY JURY
                           AMCO INSURANCE COMPANY; an
                  17       Iowa corporation; and DOES 1 through
                  18       50, inclusive,

                  19                                          Defendants.
                  20
                  21                  Defendant AMCO Insurance Company (“AMCO”) answers Plaintiffs’
                  22       unverified Complaint, and alleges affirmative defenses as follows:
                  23                                                               GENERAL DENIAL
                  24                  1.          Pursuant to the provisions of Code of Civil Procedure § 431.30, AMCO
                  25       denies, generally and specifically, each and every allegation contained in each cause
                  26       of action of the Complaint and further denies that Plaintiffs were damaged in the
                  27       sums alleged, or in any other manner, or in any sum whatsoever.
                  28
                                                                                   1
                                                                    AMCO’S ANSWER TO THE COMPLAINT
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 121 of 126 Page ID #:121




 1                              AFFIRMATIVE DEFENSES
 2                           FIRST AFFIRMATIVE DEFENSE
 3                           [The “Owned Property” Exclusion]
 4         2.     Plaintiffs’ claims are barred in whole or in part because the Liability
 5   Claim and the Liability Action are excluded from coverage under the insurance
 6   policy that AMCO issued to Plaintiffs based on the “owned property” exclusion in
 7   the policy, which states: “We do not pay for property damage to property owned
 8   by, occupied by, rented to, used by, or in the care, custody or control of an Insured.”
 9         3.     Plaintiffs owned the property at issue in the complaint before Alan
10   Jackson and Lisa Kassabian purchased it from them in November 2017.
11                         SECOND AFFIRMATIVE DEFENSE
12                         [The “Professional Service” Exclusion]
13         4.     Plaintiffs’ claims are barred in whole or in part because the Liability
14   Claim and the Liability Action are excluded from coverage under the insurance
15   policy that AMCO issued to Plaintiffs based on the “professional services”
16   exclusion in the policy, which states: “We do not pay for bodily injury or property
17   damage that arises out of the rendering of or the failing to render a professional
18   service.”
19         5.     The property damage at issue in the Liability Claim and in the Liability
20   Action arose out of Plaintiffs’ rendering and/or failure to render a professional
21   service.
22                          THIRD AFFIRMATIVE DEFENSE
23                          [The “Business Activity” Exclusions]
24         6.     Plaintiffs’ claims are barred in whole or in part because the Liability
25   Claim and the Liability Action are excluded from coverage under the insurance
26   policy that AMCO issued to Plaintiffs based on the “business activity” exclusion in
27   the policy, which states: “We do not pay for bodily injury or property damage that
28   arises out of a business activity conducted on the insured premises.”
                                           2
                            AMCO’S ANSWER TO THE COMPLAINT
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 122 of 126 Page ID #:122




 1          7.     The property damage at issue in the Liability Claim and in the Liability
 2   Action arose out of a business activity conducted by Plaintiffs on the insured
 3   premises.
 4                           FOURTH AFFIRMATIVE DEFENSE
 5                          [Contractual Suit Limitation Provision]
 6          8.     Plaintiffs’ claims are barred in whole or in part because Plaintiffs did
 7   not timely file this suit.
 8          9.     The insurance policy that AMCO issued to Plaintiffs includes a
 9   contractual suit limitation provision that states as follows:
10          Suit Against Us. No Action shall be brought unless there has been
11          compliance with the policy provisions and the action is started within
12          one year after the loss.
13          10.    Plaintiffs were aware of the property damage at issue in their
14   Complaint as of November 2017.
15          11.    Plaintiffs did not bring this suit against AMCO until April 9, 2019.
16          12.    Thus, Plaintiffs did not bring this suit against AMCO within the one-
17   year suit limitation period set forth in the policy.
18          13.    As a result of the forgoing, Plaintiffs are barred from asserting any of
19   the claims set forth in their Complaint against AMCO.
20   ///
21   ///
22   ///
23   ///
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26   ///
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                                             3
                              AMCO’S ANSWER TO THE COMPLAINT
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 123 of 126 Page ID #:123




 1        WHEREFORE, AMCO prays for judgment as follows:
 2        1.    That Plaintiffs take nothing by way of their Complaint;
 3        2.    That the Court enter judgment for AMCO;
 4        3.    For costs incurred in defense of this action; and
 5        4.    For such other and further relief as the Court may deem proper.
 6
 7   Dated: May 2, 2019                   HINES HAMPTON LLP
 8
 9                                 By:    ______________________
10                                        Marc S. Hines
                                          Brian Pelanda
11                                        Attorneys for Defendant
12                                        AMCO INSURANCE COMPANY

13
14
                             DEMAND FOR JURY TRIAL
15
16        PLEASE TAKE NOTICE that AMCO hereby demands a trial by jury.

17
18   Dated: May 2, 2019                   HINES HAMPTON LLP

19
20                                 By:    ______________________
                                          Marc S. Hines
21                                        Brian Pelanda
22                                        Attorneys for Defendant
                                          AMCO INSURANCE COMPANY
23
24
25
26
27
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                                         4
                          AMCO’S ANSWER TO THE COMPLAINT
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 124 of 126 Page ID #:124




 1                                 PROOF OF SERVICE
 2
           I am employed in the County of Orange, State of California. I am over the
 3   age of 18 and not a party to the within action. My business address is 34 Executive
 4
     Park, Suite 260, Irvine, CA 92614.

 5         On May 2, 2019, I served the foregoing document described as:
 6
           AMCO INSURANCE COMPANY’S ANSWER TO PLAINTIFFS’
 7            COMPLAINT AND DEMAND FOR TRIAL BY JURY
 8
           By sending a copy thereof enclosed in a sealed envelope, addressed as
 9   follows:
10
                                  George Chuang, Esq.
11                      GEORGE CHUANG & ASSOCIATES, APC
12                       898 N. Pacific Coast Highway, Suite 325
                              El Segundo, California 90245
13
14                                 Attorney for Plaintiffs

15   [X]   BY MAIL: I deposited such envelope(s) in the mail at Irvine, California. I
16         am “readily familiar” with the firm's practice of collection and processing
           correspondence for mailing. Under that practice it would be deposited with
17         U.S. Postal Service on that same day with postage thereon fully prepaid the
18         ordinary course of business. I am aware that on motion of the party served,
           services is presumed invalid if postal cancellation date or postage meter date
19         is more than one day after date of deposit for mailing in affidavit.
20
     [X]   (State) I declare under penalty of perjury under the laws of the State of
21         California that the foregoing is true and correct.
22
23         Executed May 2, 2019 in Irvine, California.
24
25
26                                                Brian Pelanda, Esq.

27
28
                                          5
                           AMCO’S ANSWER TO THE COMPLAINT
Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 125 of 126 Page ID #:125




                 EXHIBIT D
      Case 2:19-cv-03856-R-SS Document 1 Filed 05/03/19 Page 126 of 126 Page ID #:126

                                                                                                                                             CM-180
 ATTORNEY OR PARTY WITHOUT AHORNEY (Name,       State Bar number, and address):
                                                                                                                FOR COURT USE ONLY
- Marc S. Hines [SBN 140065]
    Brian L. Pelanda [SBN 278453]
    Hines Hampton, LLP, 34 Executive Park, Suite 260, Irvine, California 92614
               TELEPHONE NO.: (714) 513-1122   FAXNO.{Optiona/): (714) 242-9529
     E-MAILADDREss 1optionatJ: bpelanda@hineshamptonllp.com
        ATTORNEY FOR (Name): Defendant AMCO Insurance Company
  SUPERIOR COURT OF CALIFORNIA, COUNTY OF Los Angeles
   STREET ADDRESS: 111 North Hill Street
  MAILING ADDRESS: 111 North Hill Street
 c1TY AND ZIP CODE: Los Angeles 90012
     BRANCH NAME: Stanley Mosk Courthouse

     PLAINTIFF/PETITIONER: Shirley Gonsalves

     DEFENDANTIRESPONDENT AMCO Insurance Company

                                                                                                       CASE NUMBER:
                                                                                                                   19STCV12211
                                   NOTICE OF STAY OF PROCEEDINGS
                                                                                                       JUDGE:   Hon. William Fahey
                                                                                                       DEPT.:   69
To the court and to all parties:
1.     Declarant (name): Brian L. Pelanda
       a. [LJ        is   D        the party   [LJ the attorney for the party who requested or caused the stay.
       b.   D        is D     the plaintiff or petitioner D    the attorney for the plaintiff or petitioner. The party who requested the stay
                     has not appeared in this case or is not subject to the jurisdiction of this court.

2. This case is stayed as follows:
       a.   W         With regard to all parties.        .
       b.   D         With regard to the following parties (specify by name and party designation):

3.     Reason for the stay:
      a.    D         Automatic stay caused by a filing in another court. (Attach a copy of the Notice of Commencement of Case, the
                      bankruptcy petition, or other document showing that the stay is in effect, and showing the court, case number,
                      debtor, and petitioners.)
       b.   D         Order of a federal court or of a higher California court. (Attach a copy of the court order.)
      c.    D         Contractual arbitration under Code of Civil Procedure section 1281.4. (Attach a copy of the order directing
                      arbitration.)
      d.    D         Arbitration of attorney fees and costs under Business and Professions Code section 6201. (Attach a copy of the
                      client's request for arbitration showing filing and service.) .
      e.    [LJ Other: AMCO Insurance Company removed this case to federal court.

I declare under penalty of perjury under the laws of the State of California that the foregoing is true and correct.

Date: May 3, 2019

 Brian L. Pelanda
                          (TYPE OR PRINT NAME OF DECLARANT)                                                 (SIGNATURE)




                                                                                                                                              Page 1of1
Fonn Adopted for Mandatory Use                                                                                              Cal. Rules of Court, rule 3.650
  Judicial Council of California                    NOTICE OF STAY OF PROCEEDINGS                                                    www.courtinfo.ca.gov
CM-180 [Rev. January 1, 2007]




                                                                             Exhibit D
